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APPENDIX A
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                              Mountain West
                               Handbook
                                2024-25
 United States Air Force Academy               Boise State University

 California State University, Fresno           Colorado College (Women’s Soccer)

 Colorado State University                     University of Hawai`i, Manoa (Football)

 University of Nevada, Reno                    University of New Mexico

 San Diego State University                    San José State University

 University of Nevada, Las Vegas               Utah State University

 University of Wyoming                         Washington State University (Baseball
                                               and Women’s Swimming and Diving)
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                       PHILOSOPHY OF THE MOUNTAIN WEST
   The Mountain West is an association of universities dedicated to excellence in their primary missions in
   teaching, research and service to their publics. The Mountain West has identified with the following goals:

           1.      To foster intercollegiate athletics programs in a manner that will enhance the academic
                   advancement, character development, athletics potential and well-being of student-
                   athletes;
           2.      To commit to integrity and equity in intercollegiate athletics;
           3.      To contend for national championships in all conference-sanctioned sports;
           4.      To enhance the financial position of the Conference;
           5.      To strengthen the participation and commitment of fans and friends of Mountain West
                   institutions;
           6.      To be a leading voice in national governance; and
           7.      To be innovative and visionary in the approach to intercollegiate athletics.

   The Mountain West will actively monitor progress toward the stated goals, evaluating the Conference and
   its member institutions by using numerous categories of assessment and various measuring mechanisms.
   The results will shape the activities and direction of the Conference relative to its philosophy and goals.
   (Revised June 2007)


                MOUNTAIN WEST GENDER EQUITY STATEMENT
   The Mountain West affirms the value of gender equity in its intercollegiate athletics programs. Gender
   equity is the fair distribution of overall athletics opportunities, supported by equitable benefits and
   resources available to all men’s and women’s teams. (Adopted April 2005, Editorial Revision, December
   2023)


                MOUNTAIN WEST COMMITMENT TO DIVERSITY
   In a sincere and committed effort to diversify the coaching and athletics departments leadership ranks,
   each institution’s chief executive officer will annually certify that any head coach, director of athletics or
   senior athletics department leadership search processes that took place during the previous academic
   year were conducted with an intentional and deliberate effort to include a diverse pool of candidates.
   Diversity shall be defined by the institution’s state law and in compliance with the federal definitions set
   forth by the Department of Education. Recognizing the importance of confidentiality, the demographics
   of candidates (gender, race, ethnicity) will be required to be retained and may be subject to review by the
   Conference. (Adopted July 2021)
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   Rule 1
   CONFERENCE GOVERNANCE
   1.1 Governance. The Mountain West has three governance components: The Board of Directors, the Joint
   Council and the Conference Commissioner.

   1.2 Board of Directors.

         1.2.1 Composition. The Board of Directors shall consist of fourteen representatives: one
         representative from each member institution and two non-voting, ex officio student-athlete
         representatives from the Mountain West Student-Athlete Advisory Committee. The Board of
         Directors representative of each member institution shall be the chief executive officer of the
         institution. (Revised June 2014; Clarified September 2017)

         1.2.2 Duties. The authority and responsibility of managing the business and affairs of the Mountain
         West shall rest with the Board of Directors and it shall decide all policy.

         1.2.3 Terms. A member of the Board of Directors shall hold office until such time that he or she no
         longer is the chief executive officer of the respective institution.

         1.2.4 Board of Directors Executive Committee.

               1.2.4.1 Composition. The Board of Directors Executive Committee shall consist of four
               members: the current chair, the incoming chair, the preceding year’s chair and the
               Conference representative to the NCAA Board of Directors. (Revised June 2003)

               1.2.4.2 Terms. Unless otherwise stated, three representatives shall rotate every two years in
               accordance with the rotation of the chair, while the fourth representative shall be determined
               by the term of the Conference representative to the NCAA Board of Directors. In the event a
               member’s rotation onto the Executive Committee coincides with his or her term(s) on the
               NCAA Board of Directors, the next person in the chair rotation shall serve on the Executive
               Committee to ensure a four-person composition is maintained. (Revised June 2003, Revised
               March 2022)

               1.2.4.3 Duties. Except for major policy issues, the Board of Directors Executive Committee
               shall act on behalf of the Board of Directors, in the interim between meetings of the Board of
               Directors, on issues normally addressed by the Board of Directors. The committee also shall
               hear appeals of Mountain West institutions related to penalties assessed following the
               violation of a Mountain West rule(s). The committee shall communicate throughout the year
               as appropriate and serve as frequent counsel to the Commissioner, particularly the current
               chair. (Revised June 2003, January 2009)

         1.2.5 Chair of the Board of Directors and Board of Directors Executive Committee. The President
         of a Mountain West institution shall serve as the chair of the Board of Directors and Board of
         Directors Executive Committee each academic year and shall rotate as set forth in Appendix B. A
         president new to the Mountain West shall not serve as chair of the Board of Directors until his or
         her respective institution has been a member of the Mountain West for at least one academic year.
         A president newly appointed to their institution shall not serve as chair of the Board of Directors
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         until at least one academic year has passed since the beginning of his or her tenure at their
         institution. If a new president’s tenure begins during a year in which the former president of that
         institution was scheduled to rotate onto the Board of Directors Executive Committee (and
         ultimately into the Board of Directors chair position), the Board of Directors shall adjust the rotation
         accordingly to allow the new president sufficient time to acclimate. In the event the current chair is
         unable to complete his or her term as chair, the incoming chair shall move into the chair position
         and the remainder of the rotation shall be moved upward for that academic year. At the conclusion
         of that academic year, the Board of Directors shall review the Board of Directors Executive
         Committee composition and the chair position to determine the Board of Directors Executive
         Committee and chair rotation for the next and subsequent academic years. (Adopted June 2011,
         revised March 2022)

        1.2.6 Board of Directors Legal and Finance Committee.

               1.2.6.1 Composition. The Board of Directors Legal and Finance Committee shall consist of
               four Board members. (Adopted June 2014, Revised March 2022)

               1.2.6.2 Duties. The Board of Directors Legal and Finance Committee shall have direct
               oversight on all matters related to the evolving legal environment, lawsuits, Mountain West
               Operating Budget and Reserve Fund, and annual audits. The Committee also shall manage
               issues involving television contracts and the Mountain West Network. The Committee will
               report to the Board of Directors. (Adopted September 2014)

        1.2.7 Board of Directors Strategic Vision Committee.

               1.2.7.1 Composition. The Board of Directors Vision Committee shall consist of four Board
               members. (Adopted March 2022)

               1.2.7.2 Duties. The Board of Directors Strategic Vision Committee shall develop strategic
               initiatives for the Conference in areas specified by the Board of Directors. The committee will
               report to the Board of Directors. (Adopted March 2022)

   1.3 Joint Council. The Joint Council shall develop recommendations and policy initiatives that shall be
   presented to the Board of Directors for action.

        1.3.1 Composition. The Joint Council shall consist of three representatives from each member
        institution: a director of athletics, senior woman administrator, and faculty athletics representative;
        and three student-athlete representatives from the Mountain West Student-Athlete Advisory
        Committee who shall serve in a nonvoting, ex officio capacity. (Revised May 2015)

        1.3.2 Designation of Representatives. Representatives shall be named by the chief executive officer
        of each member institution. Each chief executive officer shall provide to the Conference office a
        written statement containing the names of the individuals who shall represent the institution.

        1.3.3 Substitute Representatives. A chief executive officer may appoint substitutes for his or her
        representatives on the Joint Council without revoking the appointment of the representative. The
        chief executive office shall give written or telephonic notification of the substitution to the
        Commissioner prior to the Joint Council meeting. The substitute shall then act as the institutional
        representative only at the designated meeting.
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       1.3.4 Organization. The Joint Council shall conduct its business through four designated governance
       groups: the Joint Council Executive Committee, Faculty Athletics Representatives, Directors of
       Athletics and Senior Woman Administrators and, when necessary, ad hoc committees formed of
       members of the Joint Council. The chair of the Joint Council shall be a faculty athletics representative
       and the chair shall name a parliamentarian. (Revised April 2006)

       1.3.5 Purpose and Functions. The primary function of the Joint Council shall be to consider matters
       of significance to the Conference and its members and to make recommendations as to the
       resolution of those matters to the Mountain West Board of Directors. The four designated
       governance groups and ad hoc committees shall have defined functions and shall bring
       recommendations to the Joint Council for its deliberation (a description of the designated
       governance groups and their functions is contained in Rule 1.3.7 – Designated Governance Groups).
       Questions within the purview of the groups shall constitute the business of the Joint Council. The
       membership of the ad hoc committees shall be recommended by the Joint Council Executive
       Committee and approved by the Joint Council. Conference staff and individuals who are not
       members of the Joint Council may be appointed as ex officio members of the standing and ad hoc
       committees as approved by the Joint Council Executive Committee. The Mountain West
       commitment to the principle of academic integrity in all of its activities, as stated in the Conference
       Statement of Philosophy, will be supported by its governance structure. (Revised April 2006)

       1.3.6 Joint Council Meeting Protocol. Meetings of the Joint Council shall be conducted as
       follows:

             1.3.6.1 Roberts Rules of Order. Conference meetings shall be conducted under the
             parliamentary rules contained in the current edition of Robert’s Rules of Order, Newly
             Revised.

                   1.3.6.1.1 Conference Calls. To reconsider an issue determined on a conference call, six
                   affirmative votes (including the institution seeking reconsideration) are required to
                   present the issue for reconsideration. The institution seeking reconsideration shall
                   obtain and present (in writing) to the Conference office the six affirmative votes.
                   (Adopted April 2007)

             1.3.6.2 Quorum. Seventy-five percent or more of the member institutions constitutes a
             quorum. If a quorum is not present, no official business shall be conducted.

             1.3.6.3 Voting. Each member institution shall have one vote. The chief executive officer of
             each member institution shall determine the individual who casts the vote on behalf of the
             institution. If no institutional representatives are present, the institution forfeits its vote.

             1.3.6.4 Regular Meeting. The Joint Council shall hold a minimum of one regular meeting each
             year. At each regular meeting, the Joint Council shall establish a time and place for the next
             regular meeting(s).

             1.3.6.5 Notice of Meeting. Notice of a regular meeting shall be given to each member in
             writing at least forty-five days prior to the meeting. Notice of special meetings shall be given
             in writing at least ten days prior to the meeting or with forty-eight hours of notice by
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             telephone. Notice of any meeting, regular or special, may be waived by unanimous consent
             of the member institutions.

             1.3.6.6 Special Meeting. Special meetings or telephone conferences may be called by the
             chair of the Joint Council or the Commissioner.

             1.3.6.7 Agenda.

                   1.3.6.7.1 Date for Agenda Items. The chair of the Joint Council, in consultation with
                   the Commissioner, shall set the agenda. All agenda items (with the appropriate
                   rationale and intent) for a regular meeting shall be submitted to the Commissioner at
                   least 30 days prior to the meeting.

                   1.3.6.7.2 Alteration of Agenda. Additions or changes to the meeting agenda shall be
                   permitted at the beginning of meetings. If an objection to an addition or change is
                   raised, a vote of 75 percent of the member institutions present is required to make the
                   addition or change.

                   1.3.6.7.3 Classification of Agenda Items. Items forwarded to the Joint Council for action
                   shall be classified into three groups: information items, consent package action items,
                   and action items for separate consideration. Any Joint Council member may request
                   that an item be removed from the consent package and placed on the agenda with
                   items for separate consideration. No discussion of items remaining in the consent
                   package shall be permitted. A single vote shall be taken on all items remaining in the
                   consent package.

             1.3.6.8 Changes to Conference Rules. Amended or newly adopted Conference rules shall
             remain in place for a minimum of two years. If new information becomes available or changes
             to NCAA rules impact the original determination on the issue, the rule could be changed prior
             to the two-year time period. (Adopted April 2007)

       1.3.7 Designated Governance Groups. The Joint Council shall consist of four designated governance
       groups: Joint Council Executive Committee, Faculty Athletics Representatives, Directors of Athletics
       and Senior Woman Administrators. Each group shall have duties as specified below. (Revised April
       2006)

             1.3.7.1 Joint Council Executive Committee.

                   1.3.7.1.1 Composition. The Joint Council Executive Committee shall consist of five
                   members: a faculty athletics representative (chair), director of athletics, senior woman
                   administrator, and two non-voting, ex officio members – the incoming chair and the
                   Conference Commissioner (or designee). (See Appendix C.)

                   1.3.7.1.2 Terms. Unless otherwise stated, the representative of each group shall rotate
                   annually in alphabetical order of the member institutions (see Appendix C). The chair of
                   the Joint Council also shall serve as chair of the Joint Council Executive Committee.

                   1.3.7.1.3 Duties. The Joint Council Executive Committee voting members shall present
                   the recommendations of the Joint Council to the Board of Directors at its annual
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                 meeting. The Joint Council Executive Committee also shall recommend to the Joint
                 Council individuals for membership on Joint Council ad hoc committees and task forces
                 to address specific issues not assigned to one of the other designated governance
                 groups. The Joint Council Executive Committee shall act on behalf of the Joint Council,
                 in the interim between Joint Council meetings, on issues normally addressed by the
                 Joint Council (the Joint Council retains authority to approve all actions of the Joint
                 Council Executive Committee) and communicate throughout the year as appropriate.
                 (Revised April 2006)

                       1.3.7.1.3.1 Mountain West Sportsmanship. The Joint Council Executive
                       Committee shall recommend to the Joint Council a code of conduct for student-
                       athletes, coaches and athletics department personnel. The committee shall
                       pursue alleged violations and implement procedures and penalties. The
                       committee also shall hear appeals of sportsmanship decisions. (Revised April
                       2006)

           1.3.7.2 Faculty Athletics Representatives.

                 1.3.7.2.1 Composition. The faculty athletics representatives’ designated governance
                 group shall consist of each institution’s faculty athletics representative and one
                 student-athlete representative from the Mountain West Student-Athlete Advisory
                 Committee who shall serve in a nonvoting, ex officio capacity. The chair of the Joint
                 Council (and Joint Council Executive Committee) shall be the chair of the faculty
                 athletics representatives’ designated governance group. (Revised April 2006, May 2015)

                 1.3.7.2.2 Terms. A member of the faculty athletics representatives’ designated
                 governance group shall hold office until such time that he or she no longer is the faculty
                 athletics representative of the respective institution. (Revised April 2006)

                 1.3.7.2.3 Core Tasks. The primary duties of the faculty athletics representatives are in
                 the areas of academics, eligibility, Conference and NCAA legislation, compliance,
                 coaches’ certification (recruiting) examination and maintaining the Mountain West
                 Handbook. (Revised April 2006, April 2017)

                       1.3.7.2.3.1 Academics and Eligibility. The faculty athletics representatives shall
                       review all matters affecting the academic eligibility status of Conference student-
                       athletes, including waivers of Mountain West eligibility rules and NCAA waivers
                       administered by the Conference (e.g., hardship waivers, medical absence waivers
                       and international competition waivers). (Revised April 2006)

                       1.3.7.2.3.2 Conference and NCAA Legislation. The faculty athletics
                       representatives shall review proposed NCAA legislation and Conference rule
                       changes and forward recommendations to the Joint Council. In the case of NCAA
                       legislation, institutional legislative positions shall be forwarded to the Conference
                       Division I governance representative(s). (Revised April 2006)

                       1.3.7.2.3.3 Compliance. The faculty athletics representatives shall monitor
                       Conference and NCAA rules violations. Such violations shall be reviewed quarterly
                       and findings shall be reported to the Joint Council. When necessary, the faculty
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                       athletics representatives shall review requests for appeals to rulings on specified
                       Handbook provisions. (Revised April 2006)

                       1.3.7.2.3.4 Mountain West Handbook. The faculty athletics representatives shall
                       update and revise Conference rules consistent with Conference and NCAA
                       actions. (Revised April 2006)

                 1.3.7.2.4 Shared Tasks. The faculty athletics representatives shall have shared tasks in
                 the areas of championships and sports administration, gender/minority equity,
                 sportsmanship and student-athlete well-being. (Revised April 2006)

                       1.3.7.2.4.1 Championships and Sports Administration. The faculty athletics
                       representatives shall review recommendations on regular season and
                       championship management when such recommendations affect a student-
                       athlete’s academic progress/eligibility. (Revised April 2006)

                       1.3.7.2.4.2 Gender/Minority Equity. All designated governance groups shall
                       monitor and review matters pertaining to issues related to the gender and
                       minority equity efforts of the Conference and the Conference office. These may
                       include, but are not limited to, an annual review of access, diversity and
                       inclusiveness of minorities and women at all levels of the athletics programs of
                       member institutions. The designated governance groups also shall advocate
                       processes and proposals to foster equity in the athletics programs of the
                       Conference. (Revised April 2006)

                       1.3.7.2.4.3 Sportsmanship. All designated governance groups shall monitor
                       sportsmanship issues that affect the Conference and the respective institutions.

                       1.3.7.2.4.4 Student-Athlete Well-Being. All designated governance groups shall
                       examine problems and issues that affect the academic, athletics and campus life
                       environments of all student-athletes. (Revised April 2006)

           1.3.7.3 Directors of Athletics.

                 1.3.7.3.1 Composition. The directors of athletics’ designated governance group shall
                 consist of each institution’s director of athletics and one student-athlete representative
                 from the Mountain West Student-Athlete Advisory Committee who shall serve in a
                 nonvoting, ex officio capacity. The directors of athletics representative to the Joint
                 Council Executive Committee shall be the chair of the director of athletics’ designated
                 governance group. (Revised April 2006, May 2015)

                 1.3.7.3.2 Terms. A member of the directors of athletics’ designated governance group
                 shall hold office until such time that he or she no longer is the director of athletics of
                 the respective institution. (Revised April 2006)

                 1.3.7.3.3 Core Tasks. The primary duties of the directors of athletics are in the areas of
                 College Football Playoff (CFP) and postseason football bowl games, television, revenue
                 and championships and sports administration. (Revised April 2006)
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                      1.3.7.3.3.1 CFP/Postseason Football Bowl Games. The directors of athletics shall
                      be responsible for all decisions related to the CFP and postseason football bowl
                      games. (Revised April 2006)

                      1.3.7.3.3.2 Television. The directors of athletics shall evaluate Conference
                      television contracts, policies and operations and provide leadership in the
                      development of new television contracts and policies. (Revised April 2006)

                      1.3.7.3.3.3 Revenue. The directors of athletics shall be responsible for
                      formulating revenue distribution formulas for review by the Board of Directors.
                      (Revised April 2006)

                      1.3.7.3.3.4 Championships and Sports Administration. The directors of athletics
                      shall review recommendations on regular season and championship
                      management issues in the sports of football and men’s and women’s basketball.
                      The directors of athletics also shall review proposals to amend Conference and/or
                      NCAA legislation relative to the administration of regular season and
                      championship competition in men’s and women’s basketball and regular season
                      and postseason competition in football. (Revised April 2006)

                1.3.7.3.4 Shared Tasks. The directors of athletics shall have shared responsibilities in
                the areas of student-athlete well-being, gender/minority equity and sportsmanship.
                (Revised April 2006)

                      1.3.7.3.4.1 Gender/Minority Equity. All designated governance groups shall
                      monitor and review matters pertaining to issues related to the gender and
                      minority equity efforts of the Conference and the Conference office. These may
                      include, but are not limited to, an annual review of access, diversity and
                      inclusiveness of minorities and women at all levels of the athletics programs of
                      member institutions. The designated governance groups also shall advocate
                      processes and proposals to foster equity in the athletics programs of the
                      Conference. (Revised April 2006)

                      1.3.7.3.4.2 Sportsmanship. All designated governance groups shall monitor
                      sportsmanship issues that affect the Conference and the respective institutions.
                      (Revised April 2006)

                      1.3.7.3.4.3 Student-Athlete Well-Being. All designated governance groups shall
                      examine problems and issues that affect the academic, athletics and campus life
                      environments of all student-athletes. (Revised April 2006)

                1.3.7.3.5 Directors of Athletics Competition Committee.

                      1.3.7.3.5.1 Composition. The Competition Committee shall consist of six
                      directors of athletics. (Adopted January 2014)

                      1.3.7.3.5.2 Duties. The Competition Committee shall address competitive
                      concerns of the Mountain West while focusing on maximizing postseason
                      participation opportunities in all sports. (Adopted January 2014)
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                     1.3.7.3.6 Directors of Athletics Media Rights Committee.

                           1.3.7.3.6.1 Composition. The Media Rights Committee shall consist of six
                           directors of athletics. (Adopted January 2014)

                           1.3.7.3.6.2 Duties. The Media Rights Committee shall address all matters related
                           to media rights for the Mountain West. The Committee shall function as a
                           sounding board for the Commissioner, legal counsel and television
                           consultants/partners, providing necessary feedback from the membership and
                           generating recommendations on pertinent matters. The Committee also shall
                           monitor contractual matters related to the Mountain West’s media rights
                           agreements with its national, regional and digital network partners. (Adopted
                           January 2014)

   1.3.7.4 Senior Woman Administrators.

                     1.3.7.4.1 Composition. The senior woman administrators’ designated governance
                     group shall consist of each institution’s senior woman administrator and one student-
                     athlete representative from the Mountain West Student-Athlete Advisory Committee
                     who shall serve in a nonvoting, ex officio capacity. The senior woman administrator
                     representative to the Joint Council Executive Committee shall be the chair of the senior
                     woman administrators’ designated governance group. (Revised April 2006, May 2015)

                     1.3.7.4.2 Terms. A member of the senior woman administrators’ designated
                     governance group shall hold office until such time that she no longer is the senior
                     woman administrator of the respective institution. (Revised April 2006)

   1.3.7.4.3 Core Tasks. The primary duties of the senior woman administrators are in the areas of
                     championships and sports administration and television. (Revised April 2006)

   1.3.7.4.3.1 Championships and Sports Administration. The senior woman administrators shall review
                         recommendations on regular season and championship management issues for
                         all sports except football and men’s and women’s basketball. The senior woman
                         administrators also shall review proposals to amend Conference and/or NCAA
                         legislation relative to the administration of regular season and championship
                         competition in all sports except football and men’s and women’s basketball.
                         (Revised April 2006)

                           1.3.7.4.3.2 Television. The senior woman administrators shall have
                           responsibilities in matters related to the televising of sports other than football
                           and men’s and women’s basketball. (Revised April 2006)

                     1.3.7.4.4 Shared Tasks. The senior woman administrators shall have shared
                     responsibilities in the areas of student-athlete well-being, gender/minority equity and
                     sportsmanship. (Revised April 2006)

                           1.3.7.4.4.1 Gender/Minority Equity. All designated governance groups shall
                           monitor and review matters pertaining to issues related to the gender and
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                      minority equity efforts of the Conference and the Conference office. These may
                      include, but are not limited to, an annual review of access, diversity and
                      inclusiveness of minorities and women at all levels of the athletics programs of
                      member institutions. The designated governance groups also shall advocate
                      processes and proposals to foster equity in the athletics programs of the
                      Conference. (Revised April 2006)

                      1.3.7.4.4.2 Sportsmanship. All designated governance groups shall monitor
                      sportsmanship issues that affect the Conference and the respective institutions.
                      (Revised April 2006)

                      1.3.7.4.4.3 Student-Athlete Well-Being. All designated governance groups shall
                      examine problems and issues that affect the academic, athletics and campus life
                      environments of all student-athletes. (Revised April 2006)

           1.3.7.5 Nomination Committee.

                1.3.7.5.1 Composition. The Nominating Committee shall consist of six representatives:
                the current Joint Council Executive Committee (four members) and the incoming chair
                of the director of athletics and incoming chair of the senior woman administrators.
                (Adopted January 2019)

                1.3.7.5.2 Duties. The Nominating Committee, in consultation with the Commissioner,
                shall recommend to the Joint Council the representatives to the Division I governance
                councils and cabinets, Division I sport committees and association-wide committees.
                (Adopted January 2019)

           1.3.7.6 Recognition Committee.

                1.3.7.6.1 Composition. The Recognition Committee shall consist of six representatives:
                two faculty athletics representatives, two directors of athletics and two senior woman
                administrators. (See Appendix E for committee terms and rotation.) (Revised April 2006)

                1.3.7.6.2 Duties. The Recognition Committee shall review applications and recommend
                award recipients for the Albert C. Yates, Commissioner’s, Scholar-Athlete of the Year,
                Sportsmanship and Student-Athlete of the Year awards. Additionally, the committee is
                charged with reviewing applications and recommending Conference nominees for the
                NCAA Woman of the Year and Sportsmanship awards. (Revised April 2006)

           1.3.7.7 Student-Athlete Advisory Committee.

                1.3.7.7.1 Composition. The Student-Athlete Advisory Committee shall consist of
                twenty-four members: two student-athlete representatives from each member
                institution, the Mountain West representative to the Division I National SAAC and one
                faculty athletics representative. (Revised April 2006, May 2008; Clarified September
                2017)

                1.3.7.7.2 Duties. The Student-Athlete Advisory Committee shall review and react to
                legislation and other topics referred to it from Conference governance groups or
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                     committees related to the student-athlete experience. The recommendations of the
                     committee shall be forwarded to the appropriate governance group. (Revised April
                     2006)

               1.3.7.8 Student-Athlete Health and Safety Committee.

                     1.3.7.8.1 Composition. The Student-Athlete Health and Safety Committee shall consist
                     of thirteen members: one athletic trainer from each member institution and one team
                     physician (with a Sports Medicine Fellowship) who serves in an advisory capacity.
                     (Adopted May 2014)

                     1.3.7.8.2 Duties. The Student-Athlete Health and Safety Committee shall research,
                     compile data, and present data/recommendations on topics under the purview of
                     institutional athletic training programs. The committee shall report to the senior
                     woman administrators’ designated governance group. If topics or recommendations
                     involve the sports of football or men’s or women’s basketball, those items shall be
                     forwarded to the directors of athletics’ designated governance group. (Adopted May
                     2014)

               1.3.7.9 Mountain West Committee Service. Mountain West members selected for service on
               Conference committees shall abide by Mountain West and NCAA rules and policies related to
               the Conference committee service. The Mountain West may require the resignation of
               Mountain West representatives to Conference committees for violations of Mountain West
               and/or NCAA rules/policies or when a Conference member provides notice to the Mountain
               West of its intent to resign from the Conference. An institution that delivers a notice of their
               intent to resign from the Conference shall forfeit all seats and representation on all
               Conference committees. (See Mountain West Bylaw 1.04, Appendix A.) (Revised August 2012)

   1.4 Commissioner. The Commissioner is the chief administrative officer of the Conference and shall report
   directly to the Board of Directors. The Commissioner shall have the responsibility and authority to execute
   Conference policy, shall facilitate communication between the Joint Council, the Joint Council Executive
   Committee, Board of Directors and Board of Directors Executive Committee and shall serve as an ex officio
   member of the Joint Council Executive Committee.

   1.5 Revenue Sharing. Revenue sharing documentation shall be retained in the Conference office.
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   Rule 2
   NCAA GOVERNANCE
   2.1 NCAA Governance Issues. The Mountain West shall adhere to the following principles related to the
   NCAA Division I Board of Directors, related NCAA governance committees and NCAA Association-Wide
   committees. Diversity shall be considered when selecting persons to nominate for NCAA positions.

         2.1.1 Division I Board of Directors. The Mountain West Board of Directors will select the Conference
         representative to the Division I Board of Directors.

   2.1.2 NCAA Committee Service. Select Mountain West Conference staff, in consultation with the
         Commissioner, shall submit nominations to the NCAA for consideration for vacancies on NCAA
         association-wide and Division I committees. Nominees may be a member of the Joint Council, other
         institutional or coaching staff members or Conference office staff members. (Revised May 2008,
         January 2019, May 2022)

              2.1.2.1 Committee Service Requirements. Mountain West members selected for service on
              NCAA committees shall abide by Mountain West and NCAA rules and policies related to the
              NCAA committee service. The Mountain West may require the resignation of Mountain West
              representatives to NCAA committees for violations of Mountain West and/or NCAA
              rules/policies or when a Mountain West member provides notice to the Mountain West of its
              intent to resign from the Conference. [See Mountain West Rule 1.04, Appendix A.] (Revised
              August 2012)

   2.1.3 Voting. Each institution shall determine a process to review and arrive at a position on NCAA
   legislation. Thereafter, each institution’s president (or designee) shall submit to the Conference office, by
   a specified date, its position on legislation to be considered by the Division I Council. A majority vote of
   the institutions shall determine the Conference voting position by the Division I Council representative. In
   the case of a tie, the Commissioner shall cast the deciding vote. (Revised April 2006, May 2008)

         2.1.4 Communication. Mountain West representatives to NCAA governance committees shall
         update the Conference office and the MW Joint Council on issues being discussed in the respective
         councils, cabinets and committees. (Adopted May 2008)

   2.2 Legislative Review Process. The Conference shall review NCAA legislative proposals, Division I
   governance committee meeting material and Board of Directors meeting material as follows: (Adopted
   April 2006; Revised April 2006, May 2008)

         a. Each institution’s faculty athletics representative shall communicate with institutional
            personnel on NCAA legislative issues.

         b. The Conference office shall inform each institution’s faculty athletics representative of NCAA
            legislative mailings and, when necessary, forward NCAA legislative packages to the faculty
            athletics representative.

         c.    A series of conference calls shall be conducted to review NCAA legislative proposals prior to
              the legislative and Board of Directors meetings.
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        d. Prior to each Division I legislative/Board of Directors meeting, the Conference office shall provide
        the faculty athletics representative with electronic vote/comment forms to submit the institution’s
        position on legislative/Board of Directors agenda items.

        e. The faculty athletics representative shall review the legislative material and applicable
           governance meeting material with the appropriate individuals on campus (e.g., President,
           Director of Athletics, Senior Woman Administrator, compliance coordinator, coaches, etc.).

        f.   Each institution shall submit electronically its votes and comments to the Conference office by
             specified dates. The Conference staff shall compile the information and forward it to Mountain
             West representatives to NCAA governance committees.

        g. In the event of close votes on certain legislative proposals/issues, a conference call shall be
           conducted to discuss the proposals/issues.

      2.3 Mountain Pacific Sports Federation. Select Mountain West Conference staff, in consultation with
      the Commissioner, shall identify the MW liaison to the Mountain Pacific Sports Federation. The liaison
      may be a member of the Joint Council, a representative from an institution that participates in the
      Mountain Pacific Sports Federation or Conference office staff member. The costs associated with
      participation in Mountain Pacific Sports Federation meetings shall be incurred by the institution of
      the representative or, in the case of a Conference staff member, the Conference office. Diversity shall
      be considered when making the selection. The term shall be for one year and a representative may
      be re-appointed. (Revised January 2019, May 2022)
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   Rule 3
   ELIGIBILITY
   3.1 Student-Athlete. The term “student-athlete” is the same as defined by NCAA Bylaw 12.02.14.

   3.2 Eligibility for Regular Season Competition and NCAA Championships. Except where this Handbook
   establishes additional requirements or standards, Mountain West rules governing financial aid, recruiting,
   and transfers are consistent with those of NCAA Bylaws 13-15.

         3.2.1 Nonqualifiers. The provisions in this section shall apply to Mountain West and non-Mountain
         West sports. A nonqualifier, as defined by the NCAA, whose initial full-time enrollment occurs at a
         Mountain West institution shall be permanently ineligible for practice and competition at any
         Mountain West institution. Exceptions within NCAA Bylaw 14 regulations do not take precedent
         over Mountain West Rule 3 regulations. (Adopted June 2002; Revised November 2002, June 2003,
         June 2019; Clarified September 2016)

               3.2.1.1 NCAA Academic Redshirts. A student-athlete who is classified as an academic redshirt
               in accordance with NCAA rules shall not be subject to the Mountain West nonqualifier rule.
               (Adopted January 2013)

               3.2.1.2 Partial Approval of NCAA Initial-Eligibility Waivers. A student-athlete who is granted
               partial approval of an NCAA initial-eligibility waiver shall be permitted to compete for a
               Mountain West institution after all NCAA initial-eligibility waiver requirements and applicable
               progress-toward-degree requirements are met. (Adopted October 2007)

               3.2.1.3 Male Practice Player Exception. Male students may engage in practice sessions with
               women’s teams pursuant to NCAA Bylaw 12.7.5 (Eligibility Requirements for Male Students
               to Practice with Women’s Teams) and are not subject to Rule 3.2.1 (Nonqualifiers). (Adopted
               November 2016)

   3.3 Eligibility Forms and Procedures.

         3.3.1 Historical Information. Historical information shall be prepared by each member institution
         for every first-time freshman, transfer or re-entering student-athlete prior to the time the student-
         athlete first reports for practice. The following information must be completed and on file: (Revised
         April 2017)

               a. Educational history from ninth grade year of high school, or equivalent grade level for
                  international student-athletes, to initial full-time enrollment at the certifying institution
                  (including collegiate enrollment status of each collegiate semester or quarter);

               b. Amateurism information since the date of final NCAA amateurism certification;

               c. Athletics history since high school graduation date (as determined by the NCAA Eligibility
                  Center);
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               d. Eligibility for athletics aid, practice and competition during each collegiate semester or
                  quarter;

               e. National Letter of Intent information;

               f.   All scholarship information;

               g. Employment information at the time of initial full-time enrollment at the certifying
                  institution; and

               h. For transfers, transfer information used to determine satisfaction of transfer
                  requirements.

         Required information shall be retained by the member institution and shall be available to the
         Conference upon request.

         3.3.2 Squad List. A squad list shall be compiled prior to the first date of competition for each team
         the member institution sponsors as a part of its intercollegiate athletics program and shall be signed
         by the director of athletics (or his or her designee, who may not be a coaching staff member) and
         the head coach of the applicable sport. Squad lists shall be revised to cover any changes made to a
         squad prior to the competition of any student-athlete whose eligibility status changed or any
         student-athlete added to the list and shall be signed by the aforementioned institutional officials.
         Squad lists shall be forwarded to the Conference office twice a year: once prior to a team’s first
         competition and once at the end of the academic year or the completion of the season, whichever
         is later. (Clarified September 2016, August 2017)

   3.4 Minimum Grade-Point Average for Competition. To be eligible for competition, a Mountain West
   student-athlete shall meet the grade-point average requirements set forth by the NCAA. (Revised June
   2005)

         3.4.1 Eligibility Between Terms. Certification of a student-athlete’s eligibility between terms shall
         take place in accordance with applicable NCAA rules. Student-athletes participating in football bowl
         contests between terms must be certified in accordance with applicable NCAA rules prior to being
         permitted to compete on behalf of the institution in the football bowl contest. (Revised July 2003,
         August 2003, June 2005)

   3.5 Medical Hardship Waivers. A student-athlete may request and be granted an additional season of
   competition by the Conference for injury or illness in accordance with NCAA Bylaw 12.8.4. The request for
   a medical hardship waiver shall be submitted to the Conference office by a staff member (i.e., faculty
   athletics representative, director of athletics, senior woman administrator, compliance administrator) of
   the member institution at which the illness or injury occurred. In the case of a transfer, if the member
   institution the student-athlete was attending at the time of the injury or illness refuses to pursue a medical
   hardship waiver, the institution to which the student-athlete transferred may submit the medical hardship
   waiver and all supporting documentation to the Conference office. The Conference office shall review the
   request and make a determination based on legislated NCAA criteria. The Conference office shall report
   to the faculty athletics representatives’ designated governance group the outcome on all medical
   hardship waiver requests on a bi-annual basis. The faculty athletics representatives’ designated
   governance group shall report the actions taken to the Joint Council on a bi-annual basis. (Revised April
   2006)
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       3.5.1 Appeals. Appeals of Conference medical hardship waiver decisions shall be reviewed by the
       NCAA Committee on Student-Athlete Reinstatement. All such appeals shall be submitted by
       member institutions. A member institution that would like to submit an appeal of a medical
       hardship waiver decision to the NCAA shall submit such a request to the faculty athletics
       representatives’ designated governance group. The faculty athletics representatives shall review
       the request and make a determination as to whether it should be submitted to the NCAA. (Revised
       April 2006; Clarified August 2018)
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   Rule 4
   SPORTSMANSHIP
   4.1 Conference Statement on Sportsmanship. All aspects of intercollegiate athletics contests shall be
   conducted in a sporting manner. It is the responsibility of each member institution in the Mountain West
   to ensure that all individuals associated with its athletics program conduct themselves in an appropriate
   fashion. All members of the Conference shall exhibit ethical behavior at all NCAA competition, Conference
   competition, and competition with institutions outside of the conference. Conference members shall
   conduct themselves in accordance with the rules of the NCAA and Conference and the playing rules of the
   respective sports. Each member institution shall create a healthy environment for competition.
   Administrators, coaches, student-athletes and spectators, as well as others involved in intercollegiate
   athletics in the Conference, share this responsibility. (Revised October 2004, October 2006)

         4.1.1 Annual Institutional Meeting. Annually, each institution shall conduct a meeting at the
         beginning of the academic year to discuss ethics and sportsmanship. The meeting shall include all
         athletics administrators and staff, all coaches, all spirit group advisors, the band director and other
         appropriate individuals. The institution’s president shall deliver a message outlining the Conference
         and institutional philosophy on ethics and sportsmanship. (Revised October 2006)

   4.2 Acts in Violation of Sportsmanship Policy. Athletes, coaches and other institutional athletics
   personnel who act in an unsporting manner will be subject to sanction. Violations of the Conference
   sportsmanship policy shall include, but are not limited to, the following: (Revised October 2006, August
   2021)

         a. Striking, attempting to strike or otherwise physically abusing an official, coach, spectator or
            student-athlete;

         b. Intentionally inciting participants or spectators to inappropriate action;

         c. Using obscene gestures or unduly provocative language or action toward a game official,
            Conference personnel, another institution, a student-athlete or personnel of another
            institution, coach or spectator;

         d. Ejection from a contest; and

         e. Publicly criticizing or disparaging a game official, the Conference or its personnel, another
            institution, a student-athlete or personnel of another institution.

         f.   A student-athlete feigning injury in a football contest.

   4.3 Processing Alleged Violations. Allegations of misconduct generally shall be reported to the
   Commissioner (or designee) within 24 hours of the incident. Within 72 hours of learning of an alleged
   violation of this section, the Commissioner (or designee), in consultation with the institution, shall
   establish a timetable and investigate the alleged violation. Within the same 72-hour period, unless
   extenuating circumstances exist and/or the involved parties agree to an adjusted timeframe, the
   Commissioner (or designee) shall determine an appropriate penalty, which may be the acceptance of the
   institution’s action. (Revised October 2006)
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   The institution may appeal the Commissioner’s (or designee)’s findings and decision to the Joint Council
   Executive Committee (JCEC). All decisions to appeal must have the written approval of the institution’s
   president. The decision to appeal shall be made immediately and in no case shall the time to make such
   decision exceed 24 hours. The JCEC then shall hear the appeal as expeditiously as possible. Telephone
   conference calls are an acceptable means for the parties involved to process the alleged violations. The
   decision of the JCEC may be appealed to the full Joint Council. The decision of the full Joint Council may
   be appealed to the Board of Directors, which shall be the final authority on all such matters. All such
   appeals shall be processed as expeditiously as possible, and the enforcement of any penalties shall be
   held in abeyance until a final resolution to the case is achieved. (Revised October 2006, May 2009)

   4.4 Penalties. Below are the penalties for acts in violation of the Mountain West sportsmanship policy.
   The Commissioner or their designee, at their discretion, may impose alternatives to the sanctions listed
   below if he deems it warranted. (Revised October 2004, October 2006, April 2007)

         4.4.1 Physical Abuse. An individual who strikes, attempts to strike or otherwise physically abuses
         an official, coach, spectator or student-athlete shall be subject to the following penalties:

               4.4.1.1 First Offense. Suspension for at least one contest and public announcement through
               standard Conference channels. The penalty shall not exceed one season of competition.

               4.4.1.2 Subsequent Offenses. Suspension for at least two contests and public announcement
               through standard Conference channels. The penalty shall not exceed one season of
               competition.

               4.4.1.3 Statute of Limitations. An individual penalized for physical abuse shall have that
               offense retained on the permanent record for the duration of their time in the Mountain
               West, thus subjecting that individual to cumulative penalties for future offenses.

         4.4.2 Incitement to Inappropriate Action. An individual who intentionally incites participants or
         spectators to inappropriate action shall be subject to the following penalties:

               4.4.2.1 First Offense. Suspension for at least one contest and public announcement through
               standard Conference channels. The penalty shall not exceed one season of competition.

               4.4.2.2 Subsequent Offenses. Suspension for one season of competition and public
               announcement through standard Conference channels.

               4.4.2.3 Statute of Limitations. An individual penalized for incitement to inappropriate action
               shall have that offense retained on the permanent record for the duration of their time in
               the Mountain West, thus subjecting that individual to cumulative penalties for future
               offenses.

         4.4.3 Obscene Gestures and Language. An individual who uses obscene gestures or unduly
         provocative language or action toward a game official, Conference personnel, another institution,
         a student-athlete or personnel of another institution, coach or spectator shall be subject to the
         following penalties:

               4.4.3.1 First Offense. Public reprimand.
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             4.4.3.2 Subsequent Offenses. Suspension for at least two contests and public announcement
             through standard Conference channels. The penalty shall not exceed one season of
             competition.

             4.4.3.3 Statute of Limitations. An individual penalized for obscene gestures or language
             shall have their record expunged one calendar year from the date of the latest offense,
             provided that individual has no further offenses during that time period.

       4.4.4 Ejection from a Contest. An individual who is ejected from a contest shall be subject to the
       following penalties: (Adopted October 2006; Revised April 2007, June 2007)

             4.4.4.1 First Offense. Private reprimand, unless aggravating circumstances require a more
             stringent penalty. (Adopted October 2006)

             4.4.4.2 Second Offense. Suspension for at least one contest and public announcement
             through standard Conference channels. The penalty shall not exceed one season of
             competition. (Revised June 2007)

             4.4.4.3 Subsequent Offenses. Suspension for at least two contests and public announcement
             through standard Conference channels. The penalty shall not exceed one season of
             competition. (Adopted October 2006; Revised April 2007, June 2007)

             4.4.4.4 Baseball and Softball Ejections. In baseball and softball, the Commissioner, or
             designee, has the sole discretion in determining if an offense is a standard or unsporting
             ejection, and shall consider the umpire’s report, box score, video evidence, coach
             submission, and any other relevant information available when making that determination.
             Once the determination is made, the individual is subjected to the following penalties:
             (Adopted November 2019)

                     4.4.4.4.1 Standard Ejection. In standard ejections, the ejection will be recorded, but
                     will not trigger a private reprimand, nor will the ejection start the individual’s
                     statute of limitations clock (as defined in 4.4.4.5 below). (Adopted November 2019)

                     4.4.4.4.2 Unsporting Ejection. In unsporting ejections, the ejection will generate a
                     private reprimand and start the individual’s statute of limitations clock (as defined in
                     4.4.4.5 below). If the individual is subjected to another standard or unsporting
                     ejection before the statute of limitations has completely run, the individual may be
                     suspended. (Adopted November 2019)

             4.4.4.5 Statute of Limitations. An individual penalized for an ejection from a contest shall
             have their record expunged one calendar year from the date of the latest offense, provided
             that individual has no further offenses during that time period. (Adopted October 2006;
             Revised June 2007)

                   4.4.4.5.1 Exception – Baseball and Softball. In baseball and softball, a head coach
                   penalized for an ejection from a contest shall have their record expunged at the end
                   of the playing season. (Adopted December 2018)
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                   4.4.4.5.2 Exception – Women’s Soccer. In women’s soccer, an individual ejected from
                   a contest for a non-violent denial of goal-scoring opportunity (per NCAA Soccer Rules
                   12.7.4.4, 12.7.4.5 and 12.7.4.6) penalty will not be subject to the one calendar year
                   statute of limitations. Similarly, ejections due to a second caution in a match shall not
                   be subject to the one calendar year statute of limitations. (Adopted December 2013;
                   Revised December 2014, June 2018)

       4.4.5 Public Criticism. An individual affiliated with (e.g., over whom the institution and/or
       Conference has jurisdiction) a member institution or the Mountain West who publicly criticizes or
       disparages a game official, the Conference or its personnel, another institution, student-athlete or
       personnel of another institution shall be subject to the following penalties:

             4.4.5.1 First Offense. Private reprimand for student-athletes and public reprimand for all
             others. (Revised June 2018)

             4.4.5.2 Second Offense. Suspension for at least one contest and public announcement
             through standard Conference channels. The penalty shall not exceed one season of
             competition.

             4.4.5.3 Subsequent Offenses. Suspension for at least two contests and public
             announcement through standard Conference channels. The penalty shall not exceed one
             season of competition.

             4.4.5.4 Statute of Limitations. An individual penalized for public criticism shall have they
             record expunged one calendar year from the date of the latest offense, provided that
             individual has no further offenses during that time period.

       4.4.6 Suspension from a Contest. Suspension from a contest(s) shall be imposed beginning with the
       next regular or postseason contest(s), shall be served in consecutive contests, and may be carried
       over from one season to the next, to include postseason competition. The individual suspended
       may be banned from attending a contest(s) during the period of the suspension. In the case of a
       student-athlete or coach, if the individual is permitted to attend a contest, he or she shall not be
       permitted to travel with the team to the contest and must make (and pay for) their own
       transportation and admission arrangements. A suspended coach or player may not be in the team
       bench area, may not participate in pre-game warm-ups or other game-related on-court/on-field
       activities and must stay at least 100 feet away from the team locker room. A suspended coach may
       participate in practice activities at home or on a road trip while suspended. A suspended student-
       athlete may participate in practice activities with the team for a home contest and while the team
       is at home prior to its departure for an away-from-home contest, but may not participate in practice
       activities on a road trip. In cases involving a multiple-contest road trip that exceeds the length of
       the suspension, parameters for the suspended individual’s travel and activities shall be determined
       on a case-by-case basis, considering the unique circumstances involved and prior precedent (if
       applicable). (Revised October 2006, February 2008)

       4.4.7 Feigning Injuries in a Football Contest. Following a review by the Conference office of
       all available evidence, should it be determined that an injury was feigned by a student-athlete
       during a football contest, the head football coach will be subject to the following penalties (Adopted
       August 2021):
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           4.4.7.1 First Offense. Public reprimand for the head football coach and football program.

           4.4.7.2 Second Offense. Suspension for at least one contest and public announcement
           through standard Conference channels. The penalty shall not exceed one season of
           competition.

           4.4.7.3 Subsequent Offenses. Suspension for at least two contests and public announcement
           through standard Conference channels. The penalty shall not exceed one season of
           competition.
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   Rule 5
   COMPLIANCE PROCEDURES
   5.1 Institutional Responsibility. Each member institution shall enforce eligibility rules and regulations of
   the NCAA and the Conference. Each member institution shall inform student-athletes, coaches, staff,
   institutional personnel, fans, spectators and all other individuals associated with or working on behalf of
   the athletics program of current rules, regulations and policies. The institution shall have the primary
   responsibility for the conduct of its intercollegiate athletics program. This responsibility shall include
   institutional control, budget control, institutional staff-member control, student-athlete control, and
   control of representatives of the institution’s athletics interests. Each member institution shall investigate,
   document and self-report any institutional infractions. Each institution shall act on inquiries and
   cooperate fully with the NCAA and the Conference on issues related to alleged rules infractions. Member
   institutions also shall follow compliance procedures and guarantee due process to those persons affected.
   Last, member institutions shall enforce the rulings imposed upon the institution by the NCAA or the
   Mountain West Board of Directors.

   5.2 Administration of Conference Enforcement Procedures. The Commissioner shall be responsible for
   the administration of Conference enforcement procedures.

         5.2.1 Infractions of Conference Rules. If a member institution fails to apply the provisions of the
         Conference Handbook, the institution is deemed to be in violation of the Conference rules and shall
         be subject to the Conference enforcement procedures.

               5.2.1.1 Allegations of Infractions. The Commissioner (or designee) shall inform the institution
               of any information indicating alleged infractions of Conference rules. The institution shall
               investigate the matter and inform the Commissioner (or designee) of its findings.

               5.2.1.2 Self-Reported Infractions of the Conference Handbook. An institution shall self-
               report any infraction of the Conference Handbook to the Commissioner (or designee). The
               self-report shall be in writing and shall specify the rule that was violated, the circumstances
               surrounding the infraction and the corrective action taken by the institution to ensure that
               such an infraction will not occur in the future. The Commissioner shall apply any pre-approved
               penalties. The Mountain West Board of Directors Executive Committee shall determine all
               other penalties.

               5.2.1.3 Modified Decisions and Penalties. The Mountain West Board of Directors Executive
               Committee may, if it so chooses, modify the decision or penalty but may not increase the
               penalty.

          5.2.2 Appeals. The decision of the Commissioner may be appealed to the Board of Directors
          Executive Committee. Such an appeal shall be made by the involved institution within 14 days after
          receiving the notice of the Commissioner’s decision.

               5.2.2.1 Scope of Appeal. The scope of an appeal shall be limited to a review of the record.
               The decision shall be rendered only after affording an institution an opportunity to present
               oral or written arguments concerning the record. All decisions on appeal are final and are not
               subject to further review except under the provisions of Rule 5.2.2.2.
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                5.2.2.2 New Evidence or Prejudicial Error. The Board of Directors Executive Committee shall
                consider a request to reopen a case upon receipt of new evidence of fact or of prejudicial
                error in the hearing or appeals procedure. A decision not to reopen a case is not subject to
                further appeal.

   5.3 Infractions of NCAA Rules. The investigation of alleged infractions and the reporting of infractions are
   an institutional obligation. Once it has been determined that an infraction occurred, the institution shall
   be subject to NCAA enforcement procedures. The Commissioner (or designee) may assist the institution
   in processing infractions of NCAA rules by assisting the institution in:

         a. Determining whether the infraction will be viewed as secondary or major by the NCAA
            Enforcement staff;

         b. Identifying any mitigating circumstances;

         c. Determining the appropriate institutional action that should be taken;

         d. Determining appropriate penalties that would likely be accepted by the Enforcement staff, the
            NCAA Committee on Infractions, the NCAA Student-Athlete Reinstatement staff or the NCAA
            Student-Athlete Reinstatement Committee;

         e. Processing major infractions through summary disposition or the Committee on Infractions; or

         f.   Processing any eligibility appeals through the NCAA Student-Athlete Reinstatement staff or the
              NCAA Student-Athlete Reinstatement Committee.

         5.3.1 Self-Reported Infractions – Levels I-III. An institution shall report all Level I (severe breach of
         conduct), Level II (significant breach of conduct) and Level III (breach of conduct) infractions to the
         Commissioner (or designee). The self-report shall be in writing and shall specify the rule that was
         violated, the circumstances surrounding the infraction and the corrective action taken by the
         institution to ensure that such an infraction will not occur in the future. Once reviewed by the
         Conference office, the institution shall report the infraction(s) to the NCAA Enforcement staff via
         the NCAA’s online self-reporting program. The institution shall list the Conference office as an
         additional contact so the Conference may receive follow-up correspondence from the NCAA on the
         infraction(s) reported to the Enforcement staff. (Revised August 2013, August 2014)

         5.3.2 Level I or Level II Infractions. An institution involved in a Level I or Level II infractions case
         shall inform the Commissioner on the actions of the NCAA and shall provide the Commissioner with
         copies of all written correspondence forwarded to and received from the NCAA. (Revised April 2006,
         August 2013)

                5.3.2.1 Reporting of Level I and Level II Infractions. The Commissioner shall inform the chair
                of the Board of Directors of all Level I and Level II infractions involving a member institution.
                (Revised August 2013)

         5.3.3 Repeated Infractions. The Commissioner (or designee) shall receive copies of all self-reports
         to the NCAA. If there is a pattern of repeated infractions, the Commissioner shall inform the chair
         of the Board of Directors. (See NCAA Bylaw 19.1 for additional information on NCAA Level I-Level III
         infractions.) (Revised August 2013)
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   5.4 Communication and Correspondence. Communication with the Conference office by member
   institutions, or between member institutions, regarding possible infractions of the Conference Handbook
   or NCAA rules shall be initiated by the director of athletics or designated representative. In the event a
   Conference member discovers a potential infraction of the Handbook or NCAA rules and wishes to make
   allegations against that member to the Conference, the director of athletics must present such charges in
   a written statement to the Conference office with a copy to the President of his/her institution. This report
   must be accompanied by any letters or newspaper accounts, videotapes or other supporting documents.
   Any written charges of alleged infractions shall be stated with such particularity as the circumstances may
   permit. The Conference office shall forward the report to the director of athletics and the President of the
   institution accused of the infractions.

   5.5 Annual Report – Commissioner. The Commissioner shall present an annual report to the Board of
   Directors during its spring meeting. The report shall include a summary, by institution, of all infractions
   of NCAA legislation and/or Conference rules and any action taken by the NCAA or the Commissioner (in
   Conference matters) as well as any other information relevant to compliance.
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   Rule 6
   INTERPRETIVE POLICIES
   6.1 Interpretations. Interpretations of any rule or provision of the Mountain West Handbook or the NCAA
   Manual may be requested by any member institution’s chief executive officer, director of athletics, senior
   woman administrator, faculty athletics representative, compliance administrator or the Conference
   Commissioner. Interpretations shall include a determination of applicability of a rule to an actual or
   hypothetical situation. All authorized institutional representatives must seek interpretations in all cases
   for which they are in doubt.

         6.1.1 Verbal Requests. The Commissioner (or designee) shall make verbal interpretations in
         response to verbal requests for interpretation. In response to a verbal request, the Commissioner
         (or designee) may require that the request be submitted in writing.

         6.1.2 Written Requests. The following procedures must be followed when written requests are
         received by the Conference office.

               6.1.2.1 Requests Initiated by the Commissioner. If the Commissioner (or designee)
               determines that a ruling or provision of the Handbook needs clarification, he or she may make
               written explanation for the need for the clarification on his or her own initiative. It will then
               be handled as any other written request.

               6.1.2.2 Requests Initiated by an Institution. Written requests initiated by member
               institutions shall be signed by either the chief executive officer, director of athletics, senior
               woman administrator, faculty athletics representative or compliance administrator.

               6.1.2.3 Responses to Written Requests. Within five working days of receipt of a written
               request, the Commissioner (or designee) shall issue a written response. A copy will be
               retained in the Conference office to be available upon request.

   6.2 Appeals of Mountain West Handbook Interpretations and Rulings.

           6.2.1 Appeal of the Commissioner’s (or Designee’s) Interpretation or Ruling. Appeals of
           interpretations or rulings made by the Commissioner (or designee) may be made in the
           following situations: (Revised April 2006)

               a.    For matters of student-athlete eligibility, the Commissioner’s (or designee’s) rulings and
                     interpretations may be appealed. The appeal must be presented in writing to the faculty
                     athletics representatives’ designated governance group within five working days of
                     receipt of the written interpretation or ruling. The appeal must include the original
                     written request and the Commissioner’s (or designee’s) response and must be
                     forwarded to the chair of the faculty athletics representatives’ designated governance
                     group. The committee shall meet either by telephone conference or in person and issue
                     a written ruling on the appeal within 30 days;

               b.    For other rules and interpretations, the Commissioner’s (or designee’s) rulings and
                     interpretations may be appealed in writing to the faculty athletics representatives’
                     designated governance group within five working days of receipt of the written
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                  interpretation or ruling. The appeal must include the original written request and the
                  Commissioner’s (or designee’s) response and must be forwarded to the chair of the
                  faculty athletics representatives’ designated governance group. The group shall meet
                  either by telephone conference or in person and issue a written ruling on the appeal
                  within 30 days;

            c.    The ruling of the Commissioner (or designee) shall stand until such time as the faculty
                  athletics representatives’ designated governance group has ruled on the appeal; and

            d.    The decision of the faculty athletics representatives’ designated governance group shall
                  become effective immediately and shall not be retroactive. If, however, an institution
                  appeals the decision of the group, the decision of the Commissioner (or designee) shall
                  stand until such time as the Joint Council renders a decision on the matter under the
                  provisions of Rule 6.2.2.

       6.2.2 Appeal of Committee Decisions. The following procedures must be followed when appealing
       the decision of a designated governance group: (Revised April 2006)

            a.    An appeal of a governance group decision may be made to the Joint Council. The appeal
                  must be in writing and received by the Joint Council within five working days of receipt
                  of the governance group’s decision. The appeal must include the original request, the
                  Commissioner’s (or designee’s) response, the appeal to the governance group, and the
                  group’s decision. This information shall be forwarded to the chair of the Joint Council
                  for consideration at its next meeting or conference call. All members of the Joint Council
                  shall receive all information related to the appeal prior to the next meeting or
                  conference call of the Joint Council.

            b.    No representative of an appellant institution may vote on the appeal.

            c.    Votes shall be by secret ballot. A majority vote of those present is required for each
                  finding.

            d.    The decision of the Joint Council shall become effective immediately or at a time
                  specified by the Joint Council. The decision shall not be retroactive.
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   Rule 7
   AWARDS
   7.1 Mountain West Scholar-Athlete Award. Student-athletes who participate in a Mountain West-
   sponsored sport shall be named Mountain West Scholar-Athletes provided they meet the following
   criteria:

         a. Completed at least two semesters or three quarters at the certifying institution; and

         b. Earned at least a 3.5 cumulative grade-point average at the certifying institution (including
            graduate and undergraduate work).

   The institution’s faculty athletics representative shall be responsible for informing the Conference office
   of the student-athletes who qualify for the award. Scholar-Athlete Award recipients shall receive an
   engraved award from the Conference office. Those who participate in multiple sports (e.g., cross country
   and track and field) shall receive a single award. (Revised August 2022)

   7.2 Mountain West Academic All-Conference. Student-athletes who participate in a Mountain West-
   sponsored sport shall be named Mountain West Academic All-Conference provided they meet the
   following criteria:

         a. Participated significantly in at least 50 percent of their team’s contests (25 percent for
            baseball and softball pitchers); and

         b. Earned a cumulative grade-point average of 3.0 at the certifying institution.

   The institution’s faculty athletics representative, after consultation with coaches to ascertain “significant”
   participation, shall be responsible for informing the Conference office of the students who qualify for the
   award. Academic All-Conference honorees shall receive a certificate from the Conference office. Those
   who participate in both indoor and outdoor track shall receive a single award. (Revised May 2013)

   7.3 Mountain West Scholar-Athlete of the Year Award. Two awards shall be presented annually to the
   male and female student-athletes who best exemplify the term “scholar-athlete” by achieving excellence
   in academics, athletics and community/campus service over the course of their career. (Revised May
   2010)

         7.3.1 Criteria. The awards shall be presented to one male and one female student-athlete who meet
         the following criteria: (Revised May 2013)

             a. Participated in a Mountain West-sponsored sport(s);

             b. Exhausted athletics eligibility in all varsity sports in which they participated;

             c. Academic Achievement: All nominees shall have earned at least a 3.5 cumulative GPA at the
                recommending institution (including undergraduate and graduate work);

             d. Athletics Achievement: All nominees shall have demonstrated athletics achievement and
                brought recognition to his/her institution; and
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            e. Community/Campus Service: All nominees shall have demonstrated significant
               contributions to the campus or community through service opportunities.

        7.3.2 Procedures. (Revised April 2006, July 2011)

            a. The faculty athletics representative at each member institution shall serve as the point
               person for receiving and completing the nomination packets.

            b. The nominee shall complete applicable forms.

            c. The nominee shall submit an official academic transcript with his or her nomination form.

            d. The Conference office shall distribute the nomination packet to the faculty athletics
               representative at each member institution in April of each year. Nominations shall be
               forwarded to the Conference office no later than June 30. (Revised June 2023)

            e. The Recognition Committee shall review all nominations and select the award winners.
               Recognition Committee members may vote for their own student-athletes. The award shall
               be presented on campus the following fall. (Revised July 2021)

   7.4 Mountain West Athlete of the Year Award. Two awards shall be presented annually to the male and
   female student-athletes who achieved athletics excellence during the current academic year. (Adopted
   May 2010)

        7.4.1 Criteria. The awards shall be presented to one male and one female student-athlete who meet
        the following criteria: (Revised July 2011, May 2013)

            a. Participated in a Mountain West-sponsored sport(s);

            b. Athletics Achievement: All nominees shall have demonstrated superior athletics
               achievement and brought significant recognition to his/her team, institution and the
               Conference;

            c. Academic Achievement: All nominees shall be in good academic standing with the
               nominating institution and meet all NCAA, Mountain West and institutional academic
               eligibility requirements through the completion of their season of competition; and

            d. Character/Conduct: All nominees shall demonstrate good character and conduct on and off
               the playing field.

        7.4.2 Procedures. (Revised July 2011)

            a. The sports information director at each member institution shall serve as the point person
               for receiving and completing the nomination packets.

            b. The nominee shall complete applicable forms.
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             c. The Conference office shall distribute the nomination packet to the sports information
                director at each member institution in April of each year. Nominations shall be forwarded
                to the Conference office no later than June 30. (Revised June 2023)

             d. Award winners shall be selected by a majority vote of the member institutions. Each
                institution will submit one vote per award. Institutions shall not vote for their own
                school/nominee. The award shall be presented on campus the following fall. (Revised July
                2021)

   7.5 Mountain West Hal Rothman Sportsmanship Award. Two awards may be presented annually to the
   male and female student-athletes who best exemplify the term “sportsmanship” as defined in the
   nomination criteria for the annual NCAA Sportsmanship Award. (Adopted April 2005)

       7.5.1 Procedures.

             a. The faculty athletics representative at each member institution shall serve as the point
                person for receiving and completing the nomination packets.

             b. Although the Committee on Sportsmanship and Ethical Conduct eliminated its requirement
                for a “demonstrative sportsmanship act,” in order to maximize the recognition of student-
                athletes who are outstanding contributors to their sports, teams and institutions, such acts
                shall be weighted more heavily when evaluating candidates.

             c. The Recognition Committee shall select one male and female winner from nominations
                submitted by the membership to represent the Conference among a national pool of
                candidates for the national and divisional awards, which are chosen by the Committee on
                Sportsmanship and Ethical Conduct. The award shall be presented on campus the following
                fall.

   7.6 Albert C. Yates Distinguished Service Award. The Albert C. Yates Distinguished Service Award shall be
   presented to an individual who has performed significant service in support of the Mountain West.

         7.6.1 Criteria. The award shall be presented in the spring to the individual who meets the following
         criteria:

             a. The award recipient shall be a current or former athletics administrator, faculty athletics
                representative, other institutional staff member, or another individual who has supported
                and promoted the Mountain West; and

             b. The award recipient shall be an individual who has served, supported, and promoted the
                goals and ideals of the Mountain West or member institution and who, through personal
                effort and dedication, has enhanced the ability of the Conference and/or its member
                institutions to provide a positive experience for the student-athletes enrolled at any
                member institution.
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        7.6.2 Procedures. (Revised April 2006, June 2007)

            a. Each Joint Council member may nominate one individual each year with a maximum of
               three nominations per institution each year. Any individual who meets the criteria may be
               nominated regardless of their affiliation.

            b. The Conference office shall send nomination forms to Joint Council members during the
               first week in February. Nominations shall be forwarded to the Conference office and
               postmarked no later than April 1.

            c. Nomination forms shall be signed by the president/chancellor of the nominating institution
               BEFORE the nominees are submitted for consideration. In the event one or more nominees
               are presented by a Mountain West institution other than their own, the
               president/chancellor of the nominating institution(s) shall contact the president/chancellor
               of the nominees’ institutions for their approval prior to submitting the application.

            d. The Recognition Committee shall annually review the nominations and make the selection.

            e. The award recipient shall be recognized at the spring meeting of the Joint Council.

            f.   In an effort to recognize only one award winner per academic year, nominees not selected
                 for that year’s award may be submitted in subsequent years, provided they continue to
                 meet the criteria for selection.

            g. The award recipient shall receive an appropriate award to recognize receipt of this award.

            h. It shall not be mandatory that the award be presented each year.

   7.7 Commissioner’s Award. The Commissioner’s Award shall be presented to an individual who achieved
   a singularly distinguished accomplishment that significantly enhanced the Mountain West or a member
   institution.

        7.7.1 Criteria. The award shall be presented in the spring to the individual who meets the following
        criteria:

            a. The award recipient may be any person associated with the Mountain West and may be a
               current or former athletics administrator, faculty athletics representative, coach,
               Conference office staff member or an individual not associated directly with any institution
               or the Conference office; and

            b. The award recipient shall be an individual who, through dedicated effort and service,
               achieved a singularly distinguished accomplishment during the current academic year that
               significantly enhanced the Mountain West or a member institution.

        7.7.2 Procedures. (Revised April 2006)

            a. Each Joint Council member may nominate one individual each year with a maximum of
               three nominations per institution each year. Any individual who meets the criteria may be
               nominated regardless of their affiliation.
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            b. The Conference office shall send nomination forms to Joint Council members during the
               first week in February. Nominations shall be forwarded to the Conference office and
               postmarked no later than April 1.

            c. The Recognition Committee shall annually review the nominations and make the selection.

            d. The award recipient shall receive an appropriate award to recognize receipt of this award.

            e. It shall not be mandatory that the award be presented each year.

            f.   This award shall not generally be given to coaches solely for achieving an outstanding record
                 or having a very successful year since the “Coach-of-the-Year” award in each sport is
                 designed to recognize these achievements. This award shall be given to a coach for
                 achievements other than team success or in very unusual circumstances (i.e., a national
                 championship) for team-related accomplishments.

   7.8 Sport Awards. Official Conference awards shall be presented in all sports. The awards for each sport
   are set forth in the sport regulations section of this Handbook.
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   Rule 8
   HANDBOOK AMENDMENT PROCESS
   8.1 Amendment Process. A proposed amendment to the rules of the Handbook shall be submitted in
   writing to the faculty athletics representatives’ designated governance group. All proposals shall be
   referred to the faculty athletics representatives’ designated governance group to develop appropriate
   language. (Revised April 2006)


        8.1.1 Amendment to Amendment. A proposed amendment to a provision of the Articles, Bylaws or
        Handbook may be amended at any annual or called meeting. A proposed amendment requires a 75
        percent vote of Conference member institutions in good standing.

        8.1.2 Effective Date. Amendments approved by the Board of Directors shall become effective
        immediately unless otherwise specified.
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   Rule 9
   BROADCAST POLICIES
   9.1 Broadcasts. Mountain West policies and procedures relative to the broadcasting of Conference
   championships or regular-season competition involving member institutions shall be under the
   jurisdiction of the director of athletics’ designated governance group. The senior woman administrators’
   designated governance group shall have responsibilities in matters related to the broadcasting of sports
   it oversees. Actions of both groups shall be subject to the oversight of the Joint Council. Television policies
   adopted by the Joint Council shall be considered as regulations guiding the conduct of Conference
   broadcast operations. Significant policy issues and contract ratification decisions shall be forwarded to
   the Board of Directors as necessary and appropriate. (Revised April 2006, October 2017)

   9.2 Conference Broadcast Contracts. Broadcast rights to all Conference championships and all
   institutional events involving sports sponsored by the Conference are the exclusive property of the
   Mountain West. Entities that have not purchased the rights to broadcast Mountain West content shall
   not air, either live or delayed, description of any game action. Broadcast rights encompass linear
   television, radio and digital rights. The Mountain West has contractual agreements with various linear and
   digital networks which grant these entities rights for Mountain West programming. The agreements are
   legally binding with regard to the rights and responsibilities of the parties. The policies and procedures for
   implementation of these agreements shall be coordinated by the Conference office in accordance with
   the respective contractual provisions. Conference members shall not enter into agreements that conflict
   with the contractual rights of the parties and/or existing Conference policies. (Revised April 2006, August
   2013, October 2017)

   9.3 Disputes Involving Broadcast Rights. Any disputes involving broadcast rights of member institutions
   and potential conflicts with the Mountain West contractual agreements shall be resolved through
   appropriate Conference channels. (Revised April 2006, August 2013, October 2017)

   9.4 Non-Conference Game Contract Requirements. Conference institutions shall include a clause in non-
   conference game contracts which states that “the television, digital and radio rights shall reside with the
   host conference and institution in accordance with their contractual agreements in effect at the time.”
   (Revised August 2013, October 2017)

   9.5 Visiting Radio Broadcast Rights. Broadcasting rights shall be jointly granted by the directors of
   athletics of the host and visiting Conference institutions for Conference contests. Neither party shall
   permit its radio entity to broadcast into the home area of the other party without approval of the other
   party. This in no way precludes the broadcasting of events by stations in the same market or the
   overlapping of radio signals from different markets. Granting of broadcasting rights to a visiting non-
   conference institution shall be at the discretion of the host institution’s director of athletics. (Revised
   August 2013)

       9.5.1 Broadcast Facilities. A visiting Conference team shall be provided normal facilities for one
         official flagship radio outlet by the home institution at no charge. For Conference contests, member
         institutions may provide available press box space to a second official non-institution radio outlet,
         provided the outlet is a non-English speaking station. Provision of facilities for visiting non-
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        conference institutions shall be at the discretion of the host institution’s director of athletics.
        (Revised August 2013, October 2017)

        9.5.2 Rights Fees. The host Conference institution shall determine the rights fees to be charged to
        visiting broadcasting entities (both primary and secondary/unofficial), but the philosophy shall be
        not to charge a rights fee to the flagship station of a visiting Conference institution.

   9.6 National Radio Broadcast Rights – All Sports. The following shall govern Mountain West national and
   satellite radio broadcasts in all sports: (Revised April 2002, April 2006, August 2013)

        a. The Mountain West owns the exclusive rights (subject to existing contractual provisions with
           television rights holders) to distribute all Mountain West events via national and international
           over-the-air and satellite radio;

        b. The Conference office shall serve as the contact for national radio broadcast arrangements. All
           agreements for national radio broadcasts shall be negotiated and coordinated through the
           Conference office. There shall be no agreements for national radio broadcasts in basketball
           and/or football entered into at the institutional level; and

        c. Revenues generated from such agreements shall accrue to the Conference office.
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   Regulation 1
   GENERAL REGULATIONS
   1.1 General. The Administrative Sport Regulations shall become effective upon the adoption by an
   affirmative vote of three-fourths of the Board of Directors to become effective on the date provided in
   the vote adopting the amendment. A proposed amendment may be initiated and submitted in writing to
   the Board of Directors by any member of the Board of Directors or by action of the Joint Council. If action
   favorable to an amendment is taken by an affirmative vote of a majority of the members of the Joint
   Council, the same shall be adopted only after it has been confirmed at the following regular meeting of
   the Joint Council or approved by the Board of Directors. Unless otherwise stated, actions of governance
   groups and committees shall be determined by a majority vote. (Clarified September 2017)

         1.1.1 Governing Playing Rules and Regulations. All regular-season competition and Conference
         championships shall be conducted under NCAA rules, regulations, and format except when
         specifically modified by Joint Council action. Any additional rules or regulations made by the Joint
         Council shall be more stringent than those of the NCAA.

   1.2 Minimum Sports Sponsorship. Each full member institution shall field varsity teams in football,
   women’s volleyball, men’s and women’s basketball, one women’s team sport and additional men’s and
   women’s sports as prescribed by the NCAA to maintain Football Bowl Subdivision (FBS) membership.

   1.3 Adding or Discontinuing a Conference Championship Sport. A member institution must notify the
   Commissioner no later than one year prior to the start of the applicable sports season if the institution
   intends to begin a Conference-sponsored sport during the ensuing academic year. A member institution
   must notify the Commissioner no later than February 1 if the institution intends to discontinue a
   Conference-sponsored sport. (Revised January 2013, effective July 1, 2013, for institutions adding or
   discontinuing a Conference championship sport on or after July 1, 2013)

   1.4 Sport Committees. Each Conference sport shall have a sport committee consisting of the head coach
   from each Conference institution. Each sport committee shall have an administrative liaison who is a
   member of the Joint Council. Administrative liaisons shall attend the respective mandatory coaches
   meetings. The Conference office shall pay (in accordance with established policies) the travel expenses of
   the administrative liaison to travel to coaches meetings. (Revised April 2006)

         1.4.1 Institutional Voting. Voting during coaches meetings is governed by the “one vote per sport
         per institution” premise. If an issue relates only to women’s programs, those institutions with
         women’s programs may vote. Conversely, if an issue relates only to men’s programs, those
         institutions with men’s programs may vote. If an issue impacts both the men’s and women’s
         programs, those institutions with both programs may cast two votes.

         1.4.2 Reintroduction of Issues. Sport committees shall not reintroduce issues that previously have
         been resolved for a minimum of two years. If new information becomes available or if changes to
         NCAA rules impact the original decision, the issue may be reviewed prior to the end of the two-year
         period. (Adopted April 2007)

   1.5 Artificial Noisemakers. Artificial noisemakers are prohibited during athletics competition in all sports
   (except women’s soccer, which defers to NCAA always playing rules); this includes non-conference as well
   as Conference competition. An institution shall not distribute or cause to be distributed artificial
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   noisemakers. Reasonable efforts shall be made by the institution to confiscate artificial noisemakers
   brought into athletics competitions. Institutions shall submit to the Conference office for review items
   with noisemaking implications prior to purchasing or entering into an agreement for purchase of such
   items. An institution that violates this provision shall be subject to the following: (Revised October 2003,
   April 2004, December 2012, August 2018)

         a. First offense: Warning from the Conference office.

         b. Second and subsequent offenses: A financial penalty determined by the Conference
            Commissioner.

   1.6 Meeting of Coaches. All head coaches in all Conference sports shall attend/participate in one annual
   mandatory Conference coaches meeting unless prior approval for being absent is granted by the
   Commissioner. A head coach who fails to attend a mandatory meeting/conference call shall have written
   notification sent to their director of athletics and institutional sport administrator. In the case of an
   excused absence, an assistant coach may represent the head coach as an approved substitute. Additional
   information regarding the meeting of coaches can be found in the respective sport-specific regulation and
   handbook. (Revised April 2006, June 2017)

         1.6.1 Mandatory Participation in Pre-Championship Meetings/Conference Calls. A head coach
         who fails to attend a mandatory pre-championship meeting/conference call shall have written
         notification sent to their director of athletics and institutional sport administrator. If a head coach
         provides the Conference office advanced notification of their absence at the meeting, the
         Commissioner (or designee) may approve of a substitute. Conference office staff and an institutional
         representative also shall attend the meeting. Additional information regarding mandatory
         participation in pre-championship meeting and conference calls can be found in the respective
         sport-specific regulation and handbook. (Adopted October 2006; Revised June 2017)

         1.6.2 Institutional Votes from Members not in Attendance at Meetings or on Conference Calls.
         Coaches and administrators, or designees, must be present at the meeting or on the conference call
         when voting commences to be included in the recorded action. (Adopted October 2006)

   1.7 Interrupted Contest Procedures. All personnel, including game officials, coaches, players, athletics
   directors, game management personnel and Conference office staff, are required to use their best efforts
   to see that each Conference regular-season or championship contest is played to its conclusion. The
   Conference recognizes, however, that emergencies may arise which make a contest’s start or completion
   impossible or inadvisable. Such circumstances may include, but are not limited to, severely inclement
   weather, natural or man-made disasters, power failure and spectator interference. In all instances, only
   the Commissioner or their designee, has the sole authority to declare a game cancelled, postponed,
   rescheduled or terminated.

   Subject to the applicable NCAA playing rules of the particular sport, the procedures shall be as follows:

         1.7.1 Definitions.

             1.7.1.1 Suspend. To suspend a contest is to temporarily halt play for a short duration or to delay
             the start of a contest temporarily.
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             1.7.1.2 Cancel. To cancel a contest is to nullify it either before or after it begins and to make no
             provision for rescheduling it or for including its score or other performance statistics in
             Conference records.

             1.7.1.3 Postpone. To postpone a contest is to (a) defer it to a later date, or (b) suspend it after
             play has begun and make provision to resume it at a later date with all scores and other
             performance statistics up to the point of postponement added to those achieved in the
             resumed portion of the contest. (Revised February 2005)

             1.7.1.4 Reschedule. To reschedule a contest is to start the contest on another date or time that
             is mutually agreed upon by the institutions or determined by the Commissioner or their
             designee.

             1.7.1.5 Terminate. To terminate a contest is to end it short of completion, officially record it as
             a completed contest, and make no provision to resume it later.

         1.7.2 Suspension, Cancellation, Postponement, Reschedule or Termination. Contests should be
         suspended, cancelled, postponed, rescheduled or terminated when circumstances exist such that
         commencement or continuation of play would pose a threat to the safety of the constituent groups
         involved with the contest (e.g., student-athletes, coaches, officials, trainers, managers, facility
         personnel, staff, band, cheerleaders, mascots and fans). In the event a contest is suspended, the
         athletics directors of both participating institutions, game management personnel and the
         Conference office representative shall consult with the head official. The Conference office
         representative shall be responsible for communicating with the Commissioner or their designee,
         who has the sole authority to declare a contest cancelled, postponed, rescheduled or terminated.
         If a Conference office representative is not on-site, the host institution’s athletics director (or
         designee) shall communicate with the Commissioner or their designee prior to any final decisions.
         The home team game management, in consultation with the Conference office representative, shall
         be responsible for disseminating information regarding such a decision to the teams, media and
         general public. (Revised November 2003 and February 2005)

         1.7.3 Authority. The authority to cancel, postpone or terminate a contest is vested only in the
         Commissioner or their designee. Authority to suspend a contest is vested in the head official.

   1.7.4 Guidelines.

               1.7.4.1 Contest Suspended Prior to Start. If a contest is suspended prior to its start for any
               reason, every effort shall be made to begin and complete the contest within the existing
               circumstances and in accordance with the guidelines of this section. (Revised February 2005)

               1.7.4.2 Contest Suspended After Play Has Begun. If a contest is suspended for any reason
               after play has begun, it should be resumed as soon as conditions are deemed safe by the head
               official (referee) in consultation with the home team game management personnel, the
               Conference office and the athletics directors from the participating institutions (as prescribed
               above). (Revised February 2005)

               1.7.4.3 Contest Suspended Prior to Start – Resumed. A contest that is suspended prior to the
               start shall not be resumed after midnight local time. A contest that is suspended after play
               has begun shall not be resumed beyond two hours following the point of suspension and no
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              later than midnight local time, unless otherwise deemed necessary by the Commissioner, in
              consultation with the two participating institutions. (Revised February 2005)

              1.7.4.4 Contest Suspended Prior to Start – Not Resumed. If a contest is suspended prior to
              the start for any reason and cannot resume under the applicable guidelines, the participating
              institutions, in consultation with the Commissioner or their designee, shall attempt to declare
              the contest postponed and reschedule the contest at a later date. If the Commissioner
              determines the game cannot be rescheduled, it will be considered a cancelled game. (Revised
              February 2005)

              1.7.4.5 Contest Suspended After Play Has Begun – Resumed. If a contest is suspended after
              play has begun and cannot resume under applicable guidelines, the two institutions, in
              consultation with the Commissioner or their designee, shall attempt to declare the contest
              postponed and resume it at a later date. (Revised February 2005)

              1.7.4.6 Rescheduling. If a game needs to be rescheduled, the institutions involved should
              attempt to determine the next available, mutually-agreeable date and time. If a decision
              cannot be reached between the participating institutions, the Commissioner or their designee
              shall be empowered to designate a new competition date and communicate that to the
              participating institutions.

   1.8 Inclement Weather. All weather-related decisions during a game shall be made by the head official.
   The host institution shall be responsible for tracking lightning and other weather-related factors and
   communicating those to the head game official (Referee). (Revised February 2005)

        a. The officials shall inform both teams that ALL constituent groups involved with the contest (e.g.,
           student-athletes, coaches, officials, trainers, managers, facility personnel, staff, band,
           cheerleaders, mascots and fans) will go immediately to the designated safe structure or
           location.

        b. Play will be resumed only when the head official has been notified that at least 30 minutes have
           passed after the last flash of lightning or sound of thunder.

        c. Suspended play beyond this point is covered by NCAA and Conference rules.

        1.8.1 Lightning Safety – NCAA Guidelines. In collaboration with its television partners and other
        FBS conferences, the Mountain West has adopted a common threshold for the stoppage of play and
        the implementation of fan safety measures. Immediate action should be taken when lightning is
        determined to be eight miles away (or greater depending on institutional protocol). All personnel
        should be in a safe shelter when the lightning is six miles away or less. The primary detection
        mechanism for contest controlled by the Mountain West shall be Weather Sentry/DTN which is the
        official weather tracking service of the Conference. Each institution has been provided licenses and
        logins that must be utilized on game day to monitor atmospheric conditions. Institutions shall
        communicate with the televising entity to confirm detection and communication protocols before
        and during the contest.

        When lightning strikes are not detected for a 30-minute continuous period within this range, the
        “all clear” notification can be given. Additional information regarding lightning safety can be found
        on the NCAA website: www.ncaa.org
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        1.8.2 Air Quality Thresholds for Mountain West Competition – Recommended Guidelines.
        Information regarding air quality thresholds for competition in Mountain West venues can be found
        in the respective sport-specific game management handbook and real-time Air Quality Index site-
        specific data at PurpleAir.com. (Adopted July 2016, Revised July 2019)

   1.9 Conference Championship Sports. Conference championships shall be held in the following varsity
   sports. (Revised March 2007, June 2008, December 2010, January 2013, July 2021, December 2021)


        WOMEN’S TEAM SPORTS                                 MEN’S TEAM SPORTS
        Basketball                                          Baseball
        Soccer                                              Basketball
        Volleyball                                          Football
        Softball

        WOMEN’S INDIVIDUAL SPORTS                           MEN’S INDIVIDUAL SPORTS
        Cross Country                                       Cross Country
        Golf                                                Golf
        Swimming & Diving                                   Tennis
        Gymnastics
        Tennis                                              Indoor Track & Field
        Indoor Track & Field                                Outdoor Track & Field
        Outdoor Track & Field


   1.10 Championship Regulations.

        1.10.1 Teams Subject to Postseason Competition Restrictions. Teams subject to postseason
        competition restrictions (NCAA or Conference) shall not be eligible to participate in Conference
        championship competition until the restriction expires. In sports where the automatic qualifier is
        determined by regular-season Conference competition, if the regular-season champion is subject
        to postseason competition restrictions, the second-place team in the regular-season Conference
        standings will be the league's automatic qualifier. If tie-breaking is necessary to determine the
        second-place team, existing procedures will be applied. The Board of Directors will determine the
        revenue distribution formula for all member institutions in all sports, including those with teams
        subject to postseason restrictions. (Codified March 2012)

        1.10.2 Awards Selection. Awards shall be selected and purchased by the Conference office. Awards
        shall be shipped by the awards supplier directly to the host institution or championship site. Only
        official Conference awards may be presented at the site of the championship.

        1.10.3 Broadcast Rights. All radio, television and digital media broadcast rights to championships
        shall be negotiated by the Conference office. Radio rights are to be on a non-exclusive, stated fee
        basis. Television and digital media broadcast rights are to be on a competitive bid basis.

        1.10.4 Budgeting to Host a Conference Championship. Expenses for hosting a Conference
        championship shall be funded through the Conference office budget. The host institution shall
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       prepare a proposed budget for approval, and once approved, the expenses shall be paid by the
       Conference office.

       1.10.5 Dates and Sites. Dates and sites for championships shall be determined by the Joint Council.
       In the event an institution has inadequate facilities to properly conduct a championship, or for other
       acceptable reasons, it may pass its scheduled turn in the rotation. In that event, the institution next
       in the rotation shall be the host institution. (Revised July 2021)

       1.10.6 Championship Participation. Member institutions participating in a recognized sport during
       the regular season must compete in the Conference championship and take the minimum number
       of participants to the respective championship. Institutions that do not meet the minimum number
       of participants requirement shall be assessed a fine of $5,000 plus the costs associated with the
       team traveling to the championship site. The Conference office shall determine the cost of traveling
       to the championship site. If failure of the member institution to bring the minimum number of
       participants to the Conference championship results in a loss to the host institution, the fine shall
       be used to cover the expenses incurred by the host institution. If the failure to bring the minimum
       number of participants to the Conference championship does not result in a loss to the host
       institution, the fine shall be included in the Conference championships budget. Waivers of the
       minimum numbers of participants rule may be granted by the Commissioner.

       1.10.7 Championship Sponsorship. The Conference shall initiate a championship only when at least
       fifty percent of the member institutions participate in a sport.

       1.10.8 Championship Management. The director of athletics, senior woman administrator or the
       designated representative of the host institution shall be the championship manager. This individual
       shall be responsible for conducting the business details according to the adopted administrative
       policies and any additional directions provided by the Conference office.

       1.10.9 Championship Meeting. A meeting of the institutional representatives and officials shall be
       held to review championship procedures, local rules and policies.

       1.10.10 Equipment. The host institution shall be responsible for providing all necessary equipment
       for the championship. Equipment shall follow all NCAA regulations.

       1.10.11 Game Management. The championship shall be properly staffed with appropriate officials,
       administration, timers, scorers, ticket managers, maintenance and security personnel.

       1.10.12 Hospitality. A hospitality room for contest administration and selected officials and judges
       shall be provided as appropriate.

       1.10.13 Media Relations/Promotions. Media relations staff, trained statistical crews and sports
       information services shall be provided. Results are to be distributed to the Conference office and
       each participating institution.

       1.10.14 Medical, Physician, Certified Athletics Trainer. Adequate medical and training facilities
       shall be provided. A certified athletics trainer shall be available at all championship competitions.
       Training facilities shall be made available to visiting teams. Each competing institution shall be
       informed as to the availability of training equipment and responsible for its own training supplies.
       There shall be planned access to a physician and a medical facility, including communication and
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         transportation between the championship site and the medical facility, so that prompt medical
         service shall be available.

         1.10.15 Practice. Participants shall be allowed to practice at the championship site, if possible.

         1.10.16 Pre-Championship Information. Prior to the championship, each competing institution
         shall be provided with information on location and times of meetings, publicity needs, key contacts,
         deadline for entries, practice areas and parking availability.

         1.10.17 Photographers. All photographers in the competition area must be approved by the host
         institution and/or the Conference office.

         1.10.18 Public Address System. A public address system shall be provided for each championship.

         1.10.19 Records. Records for championships shall be kept on file in the Conference office.

         1.10.20 Starting Times. Starting times for each championship shall be determined by the
         Conference office.

         1.10.21 Travel Arrangements. All teams are responsible for their own reservations for hotel and air
         and ground transportation, using the Conference travel service where appropriate.

   1.11 Regular-Season Regulations.

         1.11.1 Crowd Control. Officials in team sports shall use all the rules and authority vested in them
         and enforce the following crowd control procedures in the event of stadium or arena disorder:

               1.11.1.1 Football. When the referee calls a time out due to any disruptive activity, the public
               address announcer shall read a prepared statement requesting that the disruptive activity
               cease immediately. While the public address announcement is being made, the head coach
               and team captains shall provide visual sideline support for the announcement.

               1.11.1.2 Basketball. When the referee calls a time out due to any disruptive activity, the head
               coach and/or director of athletics and/or captain shall appeal to the crowd for the activity to
               cease.

               1.11.1.3 Special Notes. Once the contest is under way, the referee/head official has the
               responsibility to determine if the situation is too detrimental to continue play and has the
               authority to stop the contest. If a contest has been terminated by the referee, the decision to
               continue the contest is solely the authority of the director of athletics or his/her designee.

   1.12 Refusal to Play. At no time is either the home or visiting coach vested with the authority to stop or
   discontinue play. A coach unilaterally taking his/her team from the playing area or refusing to play may
   be subject to Conference sanctions and possible forfeiture of the contest.

   1.13 Game Contracts. Game contracts shall not be exchanged for any Conference contest in any sport.
   Changes to a regularly scheduled contest date, time or location shall be submitted to the Conference
   office for approval by the Commissioner or their designee via the Master Schedule Change Form (more
   information can be found in sport-specific game management handbooks).
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   1.14 Competition Rosters. (Revised, August 2023)

          1.14.1 Regular Season Competition Rosters – Home Teams. There shall be no competition
          roster-size limit on the home team and no limit on the number of student-athletes who may sit
          in the bench area.

                  1.14.1.1 Baseball. In baseball home team competition rosters shall consist of 27 eligible
                  student-athletes for a Conference series and shall remain the same for the duration of
                  the series regardless of the number of games played. See MW Baseball Game
                  Management Handbook for rule implementation.

          1.14.2 Regular Season Competition Roster – Visiting Teams. A competition roster shall be
          defined as the maximum number of student-athletes who shall be allowed to participate in
          regular season Conference competition.

                Sport                          Regular Season
    Baseball                                         27
    Men’s Basketball                                 15
    Women’s Basketball                               15
    Football                                         74
    Women’s Soccer                                   22
    Softball                                         22
    Men’s Tennis                                     9
    Women’s Tennis                                   9
    Volleyball                                       16

          1.14.2.1 Eligibility. Only eligible (pursuant to applicable NCAA, Conference, and institutional
          rules) student-athletes designated as a part of an institution’s competition roster (home and
          visiting team) shall be permitted to compete in Conference competition.

          1.14.3 Nonconference Competition. There shall be no competition roster limitations for
          nonconference competition.

          1.14.4 Championship Competition Roster and Travel Party. Championship competition rosters
          shall be applicable to championship competition. Sports shall adhere to Travel Party Size
          Limitations at MW championships, but there shall be no limit on the number of student-athletes
          that make up the travel party list.

                 Sport                       Competition Roster                      Travel Party
    Baseball                                        27                                    38
    Men’s Basketball                                15                                    25
    Women’s Basketball                              15                                    25
    Cross Country                                   10                                    15
    Football                                        74                                   130
    Men’s Golf                                       6                                    10
    Women’s Golf                                     6                                    10
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    Women’s Gymnastics                                 15                                    25
    Women’s Soccer                                     22                                    30
    Softball                                           22                                    30
    Swimming & Diving                             Maximum 30                                 35
                                          24 competitors (divers count ½)
    Men’s Tennis                                        9                                    15
    Women’s Tennis                                      9                                    15
    Indoor Track and Field                             28                      42 for single gender programs
                                                                                  38 per gender for dual
                                                                                  programs (76 max per
                                                                                        institution)

    Outdoor Track and Field                              30                   44 for single gender programs
                                                                                  40 per gender for dual
                                                                                  programs (80 max per
                                                                                        institution)
    Volleyball                                           16                                  26


                 1.14.4.1 Eligibility. Only eligible (pursuant to applicable NCAA, Conference, and institutional
                 rules) student-athletes shall be permitted to travel to a Conference Championship.

                     1.14.4.2 Travel Party Size. A travel party size shall be defined as the total number of
                     individuals, including student-athletes, coaches and administrators, who receive
                     credentials for a Conference championship event. Credentials shall not be provided to
                     boosters or donors.

                 1.14.4.2.1 Travel Party Size – Football, Men’s Basketball and Women’s Basketball. See
                 Mountain West championships handbooks for travel party size regulations for football, men’s
                 basketball and women’s basketball.

                 1.14.4.3 Process. Institutions shall submit their competition roster and travel part list to the
                 Conference office by the designated deadline (dates varies per sport). Sports with separate
                 entry deadlines or final declarations (e.g., cross country, indoor and outdoor track and field,
                 swimming and diving) shall use those dates as the deadlines to submit competition rosters.
                 Once the championship begins, no changes shall be made to the competition roster for any
                 reason.

                 1.14.4.4 Non-Participating Student-Athletes. See Mountain West championships
                 handbooks for sport-specific regulations for non-participating student-athletes.

          1.14.4.5 Host Institution. There shall be no limit to the travel party size for the host institution.
          However, the host institutions shall follow the competition roster limits.

          1.14.4.6 Championships Awards. Institutions shall be provided championships awards equal to
          the maximum number of student-athletes permitted on a competition roster. Additional awards
          may be purchased by institutions.
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   1.15 Ticket Policy.

         1.15.1 Conference Championships. Complimentary tickets shall not be issued for championship
         events. Admission prices for championship events shall be set by the Conference office. Students
         shall be admitted at no less than one-half the general admission price.

         1.15.2 Regular Season. The number of complimentary tickets for visiting teams for regular-season
         contests is as follows: (Revised January 2012; June 2023)

    SPORT                                                   COMPLIMENTARY TICKETS
    Baseball                                                50
    Men’s and Women’s Basketball                            75 (24 of which are located directly behind
                                                            the visiting team bench)
    Football                                                300
    Women’s Soccer                                          44
    Softball                                                36
    Men’s and Women’s Tennis                                20
    Volleyball                                              24
    Women’s Gymnastics                                      60

         1.15.3 Game Officials. Institutions shall provide officials with two complimentary tickets to the
         contest he or she is working, provided the tickets are available.
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   Regulation 2
   BASEBALL
   2.1 General Rules. Baseball Conference competition shall be conducted in accordance with the rules of
   the NCAA, the Mountain West Handbook, and the Mountain West Baseball Game Management
   Handbook.

   2.2 Format. The Conference regular-season champion shall be determined by a modified double-round-
   robin schedule (double round robin against three Conference opponents plus a single round-robin against
   four Conference opponents). (Revised February 2013, November 2018, March 2021; August 2024)

   2.3 Non-Conference Schedule. In order to continue to improve the institutional and Conference Rating
   Percentage Index (RPI), each team shall schedule and play no more than four regular season non-Division
   I contests per season. (Revised September 2014)

           2.3.1 Penalty – Exceeding Maximum Number of Non-Conference Opponents. If a team schedules
           and plays more than four regular-season, non-Division I contests (defined as opponents that count
           in the determination of NCAA RPI) in a given year, the institution shall be assessed a penalty of
           $50,000 per occurrence. (Revised April 2003, October 2003)

   2.4 Regular-Season Champion. The regular-season champion shall be determined based on Conference
   winning percentage. In the event of a tie between two or more teams, such teams shall be considered co-
   champions. However, the tie shall be broken for purposes of determining the seeding for the
   Championship. (Revised October 2016, February 2018)

   2.5 Playing Rules. All Conference baseball contests shall be conducted according to NCAA Baseball Rules
   except as modified by Conference regulations.

   2.6 Competition Roster. Regulations for competition rosters are set forth in Regulation 1.14.

   2.7 Video/Scouting Report Exchange. A coach shall not send film, video, or give a written or verbal
   scouting report on a Conference team to any institution outside the Conference.

           2.7.1 Violations of Video/Scouting Report Exchange Policy. A member institution that exchanges
           video or scouting reports in the sport of baseball with institutions outside the Conference shall be
           subject to the following:

               a. First Offense. Private reprimand of the head coach and the individual who sent the
                  video/report to the institution outside the Conference.

               b. Second Offense. Written notice to the Conference of the second offense. A copy of the
                  notice shall be kept in the personnel file of the individual in the office of the institution’s
                  director of athletics.

               c. Third Offense. The Commissioner shall suspend the head coach for one contest. Such
                  suspension shall occur immediately following receipt of notice by the Commissioner.
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   2.8 Championship Tournament. A six-team, modified double-elimination Conference tournament shall
   be conducted to determine the automatic representative to the NCAA Division I Baseball Championship.
   (Revised October 2016; August 2024)

        2.8.1 Minimum Number of Participants. Member institutions that sponsor the sport of baseball
        shall take a minimum of nine participants to the Conference Baseball Championship. Institutions
        that do not meet the minimum number of participants requirement shall be assessed a fine of
        $5,000 plus the costs associated with the team traveling to the Championship site. The Conference
        office shall determine the cost of traveling to the Championship site. If failure of the member
        institution to bring the minimum number of participants to the Conference Baseball Championship
        results in a loss to the host institution, the fine shall be used to cover the expenses incurred by the
        host institution. If failure to bring the minimum number of participants to the Conference Baseball
        Championship does not result in a loss to the host institution, the fine shall be included in the
        Conference championships budget. Waivers of the minimum number of participants rule may be
        granted by the Commissioner.

   2.9 Automatic Qualifier. The Conference tournament champion shall be the automatic representative to
   the NCAA Division I Men’s Baseball Championship. Other Conference teams may accept invitations to
   participate in postseason tournaments only when conducted or approved by the NCAA.

   2.10 Tournament Date. The Conference Baseball Championship shall be held the Wednesday through
   Saturday of the week immediately preceding the day of selection for the NCAA Division I Baseball
   Championship. (Revised August 2024)

   2.11 Tournament Seeding. The tournament seeding shall be based on regular-season winning percentage
   in Conference competition with the top six teams advancing to the Championship. (Revised August 2024)

          2.11.1 Two-Way Ties. In the case of a two-way tie in the final standings, seeding in the
          tournament bracket shall be determined in the following order: (Revised September 2005)

              a. Comparison of head-to-head competition in regular season Conference play.

              b. Evaluation of results from contests of those teams tied during regular season Conference
                 play against those teams finishing ahead of the tied position (utilizing winning percentage,
                 if necessary, when evaluating results against those teams), beginning at first place and
                 working down the standings to the tied position or until the tie is broken (when comparing
                 tied teams against positions higher in the standings that are also tied, those tied positions
                 shall be considered a single position for the purposes of comparison).

              c. Evaluation of results from contests of those teams tied during regular season Conference
                 play against those teams finishing below the tied position (utilizing winning percentage,
                 if necessary, when evaluating results against those teams), beginning at the tied position
                 and working through last place, until the tie is broken (when comparing tied teams against
                 positions lower in the standings that are also tied, those tied positions shall be considered
                 a single position for the purposes of comparison).

              d. A drawing by the Commissioner.
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           2.11.2 Multiple-Team Ties. In the case of a multiple-team tie in the final standings, position in the
           tournament bracket shall be determined in the following order: (Revised September 2005)

               a. Comparison of head-to-head competition in regular season Conference play.

               b. If a tie still exists between three or more teams, evaluation of results from contests of
                  those teams tied during regular season Conference play against those teams finishing
                  ahead of the tied position (utilizing winning percentage, if necessary, when evaluating
                  results against those teams), beginning at first place and working down the standings to
                  the tied position or until the tie is broken (when comparing tied teams against positions
                  higher in the standings that are also tied, those tied positions shall be considered a single
                  position for the purposes of comparison).

               c. Evaluation of results from contests of those teams tied during regular season Conference
                  play against those teams finishing below the tied position (utilizing winning percentage,
                  if necessary, when evaluating results against those teams), beginning at the tied position
                  and working through last place, until the tie is broken (when comparing tied teams against
                  positions lower in the standings that are also tied, those tied positions shall be considered
                  a single position for the purposes of comparison).

               d. A drawing by the Commissioner.

           2.11.3 Guidelines. If at any time during this analysis, any team(s) should have an advantage over
           the other team(s) tied at that position, the team(s) holding the advantage shall assume a position
           higher than the other team(s). If it is reduced to a two-team tie at any point, the process shall
           then revert to the beginning of the tie-breaking procedures and shall be applied (in order) until
           the two-team tie is broken.

   2.12 Cancellation of Championship. In the event any contest of the Conference championship is
   postponed as a result of inclement weather, it shall be made up or completed on the following day in
   addition to the regularly-scheduled contest(s). A day-night doubleheader may be scheduled, if possible.
   Additional information and exceptions regarding the cancellation of the Championship can be found in
   the Mountain West Baseball Championship Handbook. (Revised October 2015, October 2016)

   2.13 Championship Game Ball. The official game ball for all Championship contests shall be determined
   by the Conference office.

   2.14 Pre-Championship Meeting. A pre-championship meeting shall be held the day prior to the start of
   the Championship. The head coaches of all participating institutions shall attend the meeting. A head
   coach who fails to attend the mandatory pre-championship meeting shall have written notification sent
   to their director of athletics and institutional sport administrator. If a head coach provides the Conference
   office advanced notification of their absence at the meeting, the Commissioner (or designee) may approve
   of a substitute. Conference office staff and an institutional representative also shall be in attendance at
   the meeting. (Adopted October 2006; Revised February 2018)

   2.15 Awards. The Conference baseball head coaches shall select recipients for all awards. Head coaches
   shall not vote for themselves or for their own student-athletes for any of the awards. Should a coach fail
   to complete the entire ballot, the student-athletes from that team shall not be eligible to receive an
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   award. Policies and procedures governing awards selection are outlined in the Mountain West Baseball
   Championship Handbook.

        2.15.1 All-Conference Team. The All-Conference team shall consist of 26 players: 13 first-team and
        13 second-team members. All positions should be represented with the following minimums:
        (Revised October 2015, October 2016)

              §   Nine by Position
              §   Four pitchers

        Note: The head coaches will discuss the composition and select the All-Conference team at their in-
        person meeting at the Mountain West Baseball Championship and make sure deserving student-
        athletes are represented. The three (3) head coaches not participating in the Championship are
        welcome to attend the meeting in person or shall participate in the selection process via phone.

        2.15.2 Individual Awards. Individual awards shall be provided to the Coach of the Year, Tony Gwynn
        Player of the Year, Freshman of the Year and Pitcher of the Year. Head coaches shall be the only
        viable coach of the year candidates. There may not be a tie for MW Coach of the Year. In the event
        of a tie, coaches shall re-vote between the two (or more) highest vote receivers. Co-awards for the
        individual student-athlete awards are permitted, but there must not be more than two. In the event
        of a three-way tie for an “Of the Year” award, the coaches shall re-vote amongst the three to get to
        one or two recipients. To be considered for the Tony Gwynn Player of the Year and the Pitcher of
        the Year, the recipient shall have been a first-team All-Conference selection. To be considered for
        the Freshman of the Year, the recipient shall have been the highest-ranking freshman on any All-
        Conference team. (Revised October 2006; Clarified August 2017)

        2.15.3 All-Tournament Team. The All-Tournament team shall consist of 11 players regardless of
        position. (Revised October 2015)

        2.15.4 Individual Tournament Award. An individual award shall be provided to the Most Valuable
        Player. To be considered for Most Valuable Player, the recipient shall have been a member of the
        All-Tournament team.

   2.16 Meeting of Coaches. There shall be an annual meeting of the baseball coaches to be held each year.
   Any changes shall be subject to approval by the Joint Council. Attendance by each head coach is
   mandatory.
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   Regulation 3
   MEN’S BASKETBALL
   3.1 General Rules. Men’s basketball Conference competition shall be conducted in accordance with the
   rules of the NCAA, the Mountain West Handbook, the Mountain West Basketball Game Management
   Handbook and the Mountain West Basketball Championship Handbook.

   3.2 Format. A regular-season champion shall be determined through a 20-game conference schedule in
   which each team plays 10 Conference opponents twice (one home, one away). (Revised May 2013, April
   2024)

   3.3 Regular-Season Champion. The regular-season champion shall be determined based on Conference
   winning percentage. In the event of a tie between two or more teams, such teams shall be considered co-
   champions.

   3.4 Championship Tournament. An 11 team, single-elimination Conference tournament shall be
   conducted to determine the automatic representative to the NCAA Division I Men’s Basketball
   Championship. (Revised 2011, 2012, May 2013)

        3.4.1 Minimum Number of Participants. Member institutions that sponsor the sport of men’s
        basketball shall take a minimum of five participants to the Conference Men’s Basketball
        Championship. Institutions that do not meet the minimum number of participants requirement shall
        be assessed a fine of $5,000 plus the costs associated with the team traveling to the Championship
        site. The Conference office shall determine the cost of traveling to the Championship site. If failure
        of the member institution to bring the minimum number of participants to the Conference Men’s
        Basketball Championship results in a loss to the Conference, the fine shall be used to cover the
        expenses incurred by the Conference. If failure to bring the minimum number of participants to the
        Conference Men’s Basketball Championship does not result in a loss to the Conference, the fine
        shall be included in the Conference championships budget. Waivers of the minimum number of
        participants rule may be granted by the Commissioner.

        3.4.2 Open Practice/Media Session. Institutions participating in the Men’s Basketball Conference
        Championship may participate in the open practice session and the media session that occurs prior
        to the Championship. The Conference office shall determine the time and location of the open
        practice and media session.

        3.4.3 Arrival at Championship Site. Time of arrival for institutions participating in the Men’s
        Basketball Conference Championship shall be left to the discretion of the institution. However, a
        team shall arrive no earlier than after classes two days prior to the team’s first contest (i.e., Tuesday
        evening for a Thursday contest). Institutional oversight shall be provided by each director of
        athletics, senior woman administrator and faculty athletics representative. The intent is for all
        student-athletes to complete classes on the day prior to departure to the Championship site.
        (Revised April 2004, May 2006)

   3.5 Automatic Qualifier. The Conference tournament champion shall be the automatic representative to
   the NCAA Division I Men’s Basketball Championship. Other Conference teams may accept invitations to
   participate in postseason tournaments only when conducted or approved by the NCAA.
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   3.6 Cancellation of Championship. In the event the Conference championship cannot be started or, if
   started, cannot be completed, the Conference regular-season champion shall represent the Conference
   as the automatic bid representative to the NCAA Division I Men’s Basketball Championship. In the event
   two or more teams tied for the regular-season championship, Tournament Seeding will be used to
   determine the Conference’s automatic bid representative to the NCAA Division I Men’s Basketball
   Championship. (Revised October 2001)

   3.7 Tournament Seeding. Tournament Seeding shall be based on regular-season winning percentage in
   Conference competition. Additional information regarding seeding policies can be found in the Mountain
   West Basketball Championship Handbook.

   3.8 Arrival at Contest Site - Conference Competition. The visiting team shall arrive at the contest site
   prepared to compete at the scheduled start time. A visiting team that does not arrive at the contest site
   prepared to compete at the scheduled time shall incur the following penalties: (Revised October 2002,
   October 2003)

         a. Forfeiture of the contest at the moment the scheduled start time is reached, subject to the
            approval of the Conference office.

         b. A financial penalty equal to the amount of documented losses incurred by the host institution
            and the Conference, including but not limited to, ticket refunds, concession losses, facility
            rental, personnel expenses, television contract rebates, officiating fees and game operations
            costs.

   3.9 Scheduling.

         3.9.1 Conference Schedules. Scheduling of regular-season Conference contests shall begin no later
         than May 1. The Conference office shall determine the date on which the schedule is released to
         the institutions and media. (Revised April 2006, July 2013, July 2021, May 2022)

         3.9.2 Non-Conference Schedule. Each team shall schedule and play no more than one regular
         season non-Division I contest per season. (Revised May 2017, July 2021)

               3.9.2.1 Penalty – Exceeding Maximum Number of Non-Conference Opponents. If a team
               schedules and plays more than one regular-season non-Division I contest (defined as
               opponents that count in the determination of the NET ranking) in a given year, the institution
               shall be assessed a penalty of $50,000 per occurrence. (Revised October 2003, May 2017, July
               2021)

           3.9.3 Guarantee Games. Institutions shall commit sufficient resources to enable teams to secure
           at least four Division I regular-season home guarantee games annually. At a minimum one of the
           four guarantee games shall be against a team with a three-year NET average of at least 250. Teams
           shall share their schedules with the Conference office which will serve as schedule clearinghouse.
           Institutions should consult with the Conference office during the development of their non-
           conference schedules. This legislation will serve as a recommendation for the 2023-24 season but
           will become mandatory for the 2024-25 season and beyond. (Adopted, June 2023)
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   3.10 Starting Times for Contests. Host institutions shall determine start times for all contests, except
   those selected for television, and report the times to the Conference office no less than three weeks prior
   to the first game date of the basketball season. (Revised September 2023)

         3.10.1 Contest Time for Doubleheaders – Broadcast. The first contest of a doubleheader shall begin
         three hours prior to the second contest if the second contest is to be broadcast. If the second
         contest is not broadcast, the first contest shall begin no less than two and one-half hours prior to
         the second contest. If the first contest is broadcast, the second contest may begin immediately
         thereafter at the discretion of the institution. Institutions shall work with broadcast entities to allow
         for unobtrusive setup of broadcast requirements during the first contest of a doubleheader, should
         the second contest be the contest being broadcast.

   3.11 Playing Rules. All Conference men’s basketball contests shall be conducted according to the NCAA
   Men’s Basketball Rules except as modified by Conference regulations.

   3.12 Scouting Reports. A basketball coach shall not send film, video, or give a written or verbal scouting
   report on a Conference member to any institution outside the Conference.

   3.13 Competition Roster. Regulations for competition rosters are set forth in Regulation 1.14.

   3.14 Tickets.

         3.14.1 Complimentary Tickets. The visiting institution shall be provided 75 complimentary tickets
         by the host institution, 24 of which shall be located in the area directly behind the visiting team
         bench. (Revised June 2023)

         3.14.2 Student Ticket Exchange. There shall be no student exchange ticket arrangement between
         institutions in the Conference.

   3.15 Video/Scouting Report Exchange. The dissemination of game video and/or scouting information on
   member institutions to non-conference institutions is prohibited. Video, film, or motion pictures shall not
   be taken for scouting purposes unless the team recording is one of the competing teams. Exchanging
   video among Conference teams shall be governed by the policies outlined in the Mountain West
   Basketball Game Management Handbook.

         3.15.1 Violations of Video/Scouting Report Exchange Policy. A member institution that exchanges
         video or scouting reports in the sport of men’s basketball with institutions outside the Conference
         shall be subject to the following:

               a. First Offense. Private reprimand of the head coach and the individual who sent the
                  video/report to the institution outside the Conference.

               b. Second Offense. Written notice from the Conference of the second offense. A copy of the
                  notice shall be kept in the personnel file of the individual in the office of the institution’s
                  director of athletics.

               c. Third Offense. The Commissioner shall suspend the head coach for one contest. Such
                  suspension shall occur immediately following receipt of notice by the Commissioner.
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   3.16 Video. Video, film, or motion pictures shall not be taken for scouting purposes unless the team
   recording is one of the competing teams. Recording shall occur from a center perspective and shall follow
   the policies outlined in the Mountain West Basketball Game Management Handbook.

   3.17 Awards. The Mountain West will recognize two separate postseason All-Conference teams and
   individual selections. Recipients for the postseason All-Conference teams and individual awards shall be
   selected by two separate groups – the Conference head men’s basketball coaches and a select media
   panel. Honorees of both groups will be recognized publicly by the Conference; however, plaques and
   certificates will only be presented to the individuals selected by the coaches. The Conference office will
   manage the coaches’ selection process, while the media selections will be managed by members of the
   media who cover the league.

   Coaches shall not vote for themselves or for their own student-athletes. Should a coach fail to complete
   the entire ballot, the student-athletes from that team shall not be eligible to receive an award. Complete
   policies and procedures governing selection of the All-Conference and All-Defensive teams, as well as the
   individual awards, are outlined in the Mountain West Basketball Game Management Handbook. Policies
   and procedures governing selection of the All-Tournament team are outlined in the Mountain West
   Basketball Championship Handbook. (Revised May 2015)

         3.17.1 All-Conference Team. The All-Conference team shall consist of five first-team, five second-
         team, five third-team student-athletes and select honorable mention. A five-member All-Defensive
         team is also recognized. Each individual selected by the coaches’ panel shall be provided an award
         from the Conference except honorable mention. (Revised May 2008, May 2015, June 2017)

         3.17.2 Individual Awards. Individual awards shall be provided to the Steve Fisher Coach of the Year,
         Player of the Year, Newcomer of the Year, Freshman of the Year, Defensive Player of the Year and
         Sixth Man of the Year. (Revised December 2001, May 2008, June 2017)

         Only head coaches are viable coach of the year candidates. There shall not be a tie for Mountain
         West Coach of the Year. In the event of a tie, coaches shall re-vote between the two (or more)
         highest vote receivers. Co-awards for the individual student-athlete awards are permitted, but there
         shall not be more than two. In the event of a three-way tie for an “Of the Year” award, the coaches
         shall re-vote amongst the three to get to one or two recipients.

         To be considered for the Player of the Year, the recipient shall have been a first-team All-Conference
         selection. To be considered for the Defensive Player of the Year, the recipient shall have been a
         first-team All-Defensive team selection. To be considered for Freshman and/or Newcomer of the
         Year, the recipient shall have been the highest-ranking freshman and/or newcomer on any All-
         Conference team. Additionally, to be considered for Freshman of the Year, the recipient shall be on
         the All-Freshman team. (Clarified August 2015)


         3.17.3 Tournament Awards. An All-Tournament team shall consist of five student-athletes. A
         tournament Most Valuable Player shall be chosen from among the five individuals named to the All-
         Tournament team.

   3.18 Meeting of Coaches. There shall be an annual meeting of the men’s basketball coaches on a date to
   be determined. Attendance by each head coach at the meeting as well as media day is mandatory.
   (Revised July 2021)
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   Regulation 4
   WOMEN’S BASKETBALL
   4.1 General Rules. Women’s basketball Conference competition shall be conducted in accordance with
   the rules of the NCAA, the Mountain West Handbook, the Mountain West Basketball Game Management
   Handbook and the Mountain West Basketball Championship Handbook.

   4.2 Format. A regular season champion shall be determined through a 20-game conference schedule in
   which each team plays 10 Conference opponents twice (one home, one away). (Revised May 2013, April
   2024)

   4.3 Regular-Season Champion. The regular-season champion shall be determined based on Conference
   winning percentage. In the event of a tie between two or more teams, such teams shall be considered co-
   champions.

   4.4 Championship Tournament. An 11 team single elimination Conference tournament shall be
   conducted to determine the automatic representative to the NCAA Division I Women’s Basketball
   Championship. (Revised, 2011, 2012, May 2013)

        4.4.1 Minimum Number of Participants. Member institutions that sponsor the sport of women’s
        basketball shall take a minimum of five participants to the Conference Women’s Basketball
        Championship. Institutions that do not meet the minimum number of participants requirement shall
        be assessed a fine of $5,000 plus the costs associated with the team traveling to the Championship
        site. The Conference office shall determine the cost of traveling to the Championship site. If failure
        of the member institution to bring the minimum number of participants to the Conference
        Women’s Basketball Championship results in a loss to the host institution, the fine shall be used to
        cover the expenses incurred by the host institution. If failure to bring the minimum number of
        participants to the Conference Women’s Basketball Championship does not result in a loss to the
        host institution, the fine shall be included in the Conference championships budget. Waivers of the
        minimum number of participants rule may be granted by the Commissioner.

        4.4.2 Open Practice/Media Session. Institutions participating in the Women’s Basketball
        Conference Championship may participate in the open practice session and the media session that
        occurs prior to the Championship. The Conference office shall determine the time and location of
        the open practice and media session.

        4.4.3 Arrival at Championship Site. Time of arrival for institutions participating in the Women’s
        Basketball Conference Championship shall be left to the discretion of the institution. However, a
        team shall arrive no earlier than after classes two days prior to the team’s first contest (i.e., Tuesday
        evening for a Thursday contest). Institutional oversight shall be provided by each director of
        athletics, senior woman administrator and faculty athletics representative. The intent is for all
        student-athletes to complete classes on the day prior to departure to the Championship site.
        (Revised April 2004, May 2006)

   4.5 Automatic Qualifier. The Conference tournament champion shall be the automatic representative to
   the NCAA Division I Women’s Basketball Championship. Other Conference teams may accept invitations
   to participate in postseason tournaments only when conducted or approved by the NCAA.
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   4.6 Cancellation of Championship. In the event the Conference championship cannot be started or, if
   started, cannot be completed, the Conference regular season champion shall represent the Conference
   as the automatic bid representative to the NCAA Division I Women’s Basketball Championship. In the
   event two or more teams tied for the regular-season championship, Tournament Seeding will be used to
   determine the Conference’s automatic bid representative to the NCAA Division I Women’s Basketball
   Championship. (Revised October 2001)

   4.7 Tournament Seeding. Tournament Seeding shall be based on regular season winning percentage in
   Conference competition. Additional information regarding seeding policies can be found in the Mountain
   West Basketball Championship Handbook.

   4.8 Arrival at Contest Site - Conference Competition. The visiting team shall arrive at the contest site
   prepared to compete at the scheduled start time. A visiting team that does not arrive at the contest site
   prepared to compete at the scheduled time shall incur the following penalties: (Revised October 2002,
   October 2003)

         a. Forfeiture of the contest at the moment the scheduled start time is reached, subject to the
            approval of the Conference office.

         b. A financial penalty equal to the amount of documented losses incurred by the host institution
            and the Conference, including but not limited to, ticket refunds, concession losses, facility
            rental, personnel expenses, television contract rebates, officiating fees and game operations
            costs.

   4.9 Scheduling.

         4.9.1 Conference Schedules. Scheduling of regular season Conference contests shall begin no later
         than May 1. The Conference office shall determine the date on which the schedule is released to
         the institutions and media. (Revised April 2006, July 2013, May 2022)

         4.9.2 Non-Conference Schedule. In order to continue to improve institutional and Conference NET
         rankings, each team shall schedule and play no more than one regular season non-Division I contest
         per season. (Revised July 2021, April 2024)

               4.9.2.1 Penalty – Exceeding Maximum Number of Non-Conference Opponents. If a team
               schedules and plays more than one regular-season non-Division I contest (defined as
               opponents that count in the determination of the NET rankings) in a given year, the institution
               shall be assessed a penalty of $50,000 per occurrence. (Revised October 2003, July 2021, April
               2024)

   4.9.2.3 Non-Conference Scheduling Parameters. Head Coaches and Athletics Directors will
   meet with the Conference by August 1st of each year to review the upcoming season's non-conference
   schedule, align on postseason goals using the nonconference scheduling parameters, and collaborate on
   the development of the schedule. Subsequent sections to be renumbered.]

   Tier 1 Resume (Two-year average NET 1-75)
   Teams competing for an at-large NCAA Tournament Bid:
   Schedule 4-6 games in the Top 50 of the NET.
   Schedule 3-4 games in the Top 51-100 of the NET.
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   Schedule 3-5 games in NET 101+
   Tier 2 Resume (Two-year average NET 76-150)
   Teams competing for WBIT postseason play:
   Schedule 1-3 games in the Top 50 of the NET.
   Schedule 3-5 games in the Top 51-100 of the NET.
   Schedule 4-6 games in NET 101+

   Tier 3 Resume (Two-year average NET 151+)
   Teams competing for other postseason play:
   Schedule 0-2 games in the Top 50 of the NET.
   Schedule 2-4 games in the Top 51-100 of the NET.
   Schedule 6-8 games in NET 101+

   It is advised that each team play in a quality MTE and/or neutral site games annually.
   Each team should schedule quality home and home series’.

   *Tier assignments are subject to change due to roster changes and other factors.

   4.10 Starting Times for Contests. Host institutions shall determine starting times for all contests, except
   those selected for television, and report the times to the Conference office no less than three weeks prior
   to the first game date of the basketball season. (Revised September 2023)

           4.10.1 Contest Time for Doubleheaders – Broadcast. The first contest of a doubleheader shall
           begin three hours prior to the second contest if the second contest is to be broadcast. If the
           second contest is not broadcast, the first contest shall begin no less than two and one-half hours
           prior to the second contest. If the first contest is broadcast, the second contest may begin
           immediately thereafter at the discretion of the institution. Institutions shall work with media
           entities to allow for unobtrusive setup of broadcast requirements during the first contest of a
           doubleheader, should the second contest be the contest being broadcast.

   4.11 Playing Rules. All Conference women’s basketball contests shall be conducted according to the NCAA
   Women’s Basketball Rules except as modified by Conference regulations.

   4.12 Scouting Reports. A basketball coaching staff member shall not send film, video, or give a written or
   verbal scouting report on a Conference team to any institution outside the Conference.

   4.13 Competition Roster. Regulations for competition rosters are set forth in Regulation 1.14.

   4.14 Tickets.

         4.14.1 Complimentary Tickets. The visiting institution shall be provided 75 complimentary tickets
         by the host institution, 24 of which shall be in the area directly behind the visiting team bench.
         (Revised June 2023)

         4.14.2 Student Ticket Exchange. There shall be no student exchange ticket arrangement between
         institutions in the Conference.

   4.15 Video/Scouting Report Exchange. The dissemination of game video and/or scouting information on
   member institutions to non-conference institutions is prohibited. Video, film, or motion pictures shall not
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   be taken for scouting purposes unless the team recording is one of the competing teams. Exchanging
   video among Conference teams shall be governed by the policies outlined in the Mountain West
   Basketball Game Management Handbook.

         4.15.1 Violations of Video/Scouting Report Exchange Policy. A member institution that exchanges
         video or scouting reports in the sport of women’s basketball with institutions outside the
         Conference shall be subject to the following:

               a. First Offense. Private reprimand of the head coach and the individual who sent the
                  video/report to the institution outside the Conference.

               b. Second Offense. Written notice from the Conference of the second offense. A copy of the
                  notice shall be kept in the personnel file of the individual in the office of the institution’s
                  director of athletics.

               c. Third Offense. The Commissioner shall suspend the head coach for one contest. Such
                  suspension shall occur immediately following receipt of notice by the Commissioner.

   4.16 Video. Video, film, or motion pictures shall not be taken for scouting purposes unless the team
   recording is one of the competing teams. Recording shall occur from a center perspective and shall follow
   the policies outlined in the Mountain West Basketball Game Management Handbook.

   4.17 Awards. The Conference women’s basketball coaches shall select recipients for all regular-season
   awards. Coaches shall not vote for themselves or for their own student-athletes. Should a coach fail to
   complete the entire ballot, the student-athletes from that team shall not be eligible to receive an award.
   Policies and procedures governing selection of the All-Conference and All-Defensive teams, as well as the
   individual awards, are outlined in the Mountain West Basketball Game Management Handbook. Policies
   and procedures governing selection of the All-Tournament team are also outlined in the Mountain West
   Basketball Championship Handbook.

         4.17.1 All-Conference Team. The All-Conference team shall consist of 10 first team student-athletes
         and select honorable mention. A five-member All-Freshman team and a five-member All-Defensive
         team also are recognized. Each shall be provided an award from the Conference except honorable
         mention. (Revised May 2008, April 2013, June 2017)

         4.17.2 Individual Awards. Individual awards shall be provided to the Coach of the Year, Player of
         the Year, Newcomer of the Year, Freshman of the Year, Defensive Player of the Year and Sixth Player
         of the Year. (Revised May 2008)

         Head coaches shall be the only viable coach of the year candidates. There shall not be a tie for
         Mountain West Coach of the Year. In the event of a tie, coaches shall re-vote between the two (or
         more) highest vote receivers. Co-awards for the individual student-athlete awards are permitted,
         but there shall not be more than two. In the event of a three-way tie for an “Of the Year” award,
         the coaches shall re-vote amongst the three to get to one or two recipients.

         To be considered for the Player of the Year, the recipient shall have been a first-team All-Conference
         selection. To be considered for the Defensive Player of the Year, the recipient shall have been a
         first-team All-Defensive team selection. To be considered for Freshman and/or Newcomer of the
         Year, the recipient shall have been the highest-ranking freshman and/or newcomer on any All-
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        Conference team. Additionally, to be considered for Freshman of the Year, the recipient shall be on
        the All-Freshman team. (Clarified August 2017)

        4.17.3 Tournament Awards. An All-Tournament team shall consist of five players. A tournament
        Most Valuable Player shall be chosen from among the five individuals named to the All-Tournament
        team.

   4.18 Meeting of Coaches. There shall be an annual in-person or virtual meeting of the women’s basketball
   coaches on a date to be determined. Attendance by each head coach at the meeting as well as media day
   is mandatory. (Revised November 2003, July 2021)
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   Regulation 5
   MEN’S AND WOMEN’S CROSS COUNTRY
   5.1 General Rules. Cross country Conference competition shall be conducted in accordance with the rules
   of the NCAA, the Mountain West Handbook and the Mountain West Cross Country Championships
   Handbook.

   5.2 Championship Determination. The team and individual Conference champions in men’s and women’s
   cross country shall be determined at a Conference championship meet.

   5.3 Conference Schedule. There shall be no required regular-season Conference schedule in the sport of
   cross country. Mountain West institutions shall be responsible for scheduling their own regular season
   competitions.

   5.4 Cross Country Conference Championships.

        5.4.1 Date and Site. The Mountain West Cross Country Championships shall be conducted the
        Friday two weeks prior to the NCAA regional meets. Host institutions are allowed to change the
        date to the Friday before the originally scheduled date, should there be a conflict with a home
        football contest. (Revised April 2010, January 2013)

        5.4.2 Championships Site. The Mountain West Cross Country Championships shall be conducted
        either at a golf course, a permanently dedicated cross country course, or a course that is run on a
        regular basis at a high level of competition. The site shall rotate among member institutions with
        facilities of sufficient quality to host the Conference championships as outlined in the Men’s and
        Women’s Cross Country Hosting Guidelines. (Revised January 2013)

        5.4.3 Minimum Number of Participants. Member institutions that sponsor the sport of cross
        country shall take a minimum of five participants to the Conference Cross Country Championships.
        Institutions that do not meet the minimum number of participants requirement shall be assessed a
        fine of $5,000 plus the costs associated with the team traveling to the Championships site. The
        Conference office shall determine the cost of traveling to the Championships site. If failure of the
        member institution to bring the minimum number of participants to the Conference Cross Country
        Championships results in a loss to the host institution, the fine shall be used to cover the expenses
        incurred by the host institution. If failure to bring the minimum number of participants to the
        Conference Cross Country Championships does not result in a loss to the host institution, the fine
        shall be included in the Conference championships budget. Waivers of the minimum number of
        participants rule may be granted by the Commissioner.

        5.4.4 Pre-Championships Meeting. A pre-championships meeting shall be held the day prior to the
        Championships in conjunction with final declarations. The head coaches of all participating
        institutions are required to attend the meeting. A head coach who fails to attend the mandatory
        pre-championships meeting shall have written notification sent to their director of athletics and
        institutional sport administrator. If a head coach provides the Conference office advanced
        notification of their absence at the meeting, the Commissioner (or designee) may approve of a
        substitute. Conference office staff and an institutional representative also shall attend the meeting.
        (Adopted October 2006; Revised December 2008, May 2017)
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   5.5 Playing Rules. The Conference championships shall be conducted according to the NCAA Men’s and
   Women’s Track & Field/Cross Country Rules except as modified by Conference regulations.

   5.6 Competition Roster. Regulations for competition rosters are set forth in Regulation 1.14.

   5.7 Awards.

         5.7.1 All-Conference Team. The All-Conference first team shall be the top seven finishers per gender
         at the Conference championships. The All-Conference second team shall be finishers 8-14 per
         gender at the Conference championships.

         5.7.2 Individual Awards. Individual awards shall be provided to the Coach of the Year, Athlete of
         the Year and Freshman of the Year. The Athlete and Freshman of the Year shall be awarded to the
         top finisher and top freshman finisher, respectively, per gender at the Championships. For the
         Freshman of the Year award, a freshman shall be a student-athlete competing in their first year (12
         calendar months) after the completion of high school. The Coach of the Year shall be voted on by
         the coaches at the conclusion of the Championships and a coach shall not vote for himself or herself.
         (Revised December 2006, January 2010)

         Only head coaches are viable coach of the year candidates. There may not be a tie for Mountain
         West Coach of the Year. In the event of a tie, coaches shall re-vote between the two (or more)
         highest vote receivers. (Clarified August 2017)

   5.8 Voting Procedure. Each institution that sponsors both men’s and women’s teams shall have two votes,
   one each for the men’s and women’s programs. Institutions sponsoring either men’s or women’s but not
   both shall have one vote.

   5.9 Meeting of Coaches. There shall be an annual conference call of the men’s and women’s cross country
   coaches conducted in December of each year. Participation by each head coach is mandatory. (Revised
   December 2008)
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   Regulation 6
   FOOTBALL
   6.1 General Rules. Football Conference competition shall be conducted in accordance with the rules of
   the NCAA, the Mountain West Handbook, the Mountain West Football Game Management Handbook,
   and the Mountain West Football Championship Game Manual.

   6.2 Championship Game Participants & Hosts Determination. The two teams that complete the
   Conference season with the highest winning percentages will be the Mountain West Football
   Championship Game participants. The team with the highest winning percentage outright shall be
   declared the host for the Championship Game. The host site shall be determined no later than the Sunday
   following the conclusion of the regular season. Additional information regarding host determination and
   host tie-breaking procedures can be found in the Mountain West Football Championship Game Manual.
   (Adopted January 2013; Revised October 2014, April 2018; August 2023)

           6.2.1 Incomplete Championship Policy. In the event the Football Championship Game cannot be
           started or cannot be completed as a result of inclement weather, COVID-19 or other unforeseen
           circumstances, the championship game participant with the highest College Football Playoff (CFP)
           Ranking (or a composite average of selected computer rankings if no MW teams are ranked in the
           final CFP Top 25) between the two participants shall be declared the Conference champion for
           CFP purposes only. Otherwise, the two teams will be recognized as co-champions. (Adopted
           January 2013; Modified November 2020)

   6.3 Scheduling. Each institution shall play eight Conference games (total of four home and four road
   opponents annually) using an approved three-year rotation. Over the course of a three-year schedule
   rotation, all teams face nine (9) of 11 opponents twice (one home/one away). All teams face two (2) of
   11 opponents three times (Adopted June 2022)

       6.3.1 Scheduling Parameters. Specific football scheduling parameters are distributed to the
       membership on an annual basis as the schedule is being constructed.

   6.4 Arrival at Contest Site – Conference Competition. The visiting team shall arrive at the contest site
   prepared to compete at the scheduled start time. A visiting team that does not arrive at the contest site
   prepared to compete at the scheduled time shall incur the following penalties: (Revised October 2002,
   October 2003, July 2021)

         a. Forfeiture of the contest at the moment the scheduled start time is reached, subject to the
            approval of the Conference office. (Note: Approval by the Conference office shall consider
            extenuating circumstances beyond the control of a visiting team that has made an appropriate
            effort to arrive at the game site at the scheduled start time. Involved institutions should try to
            communicate as early as possible any concerns in this regard. “Extenuating circumstances”
            could be affected by whether or not contracted television is involved.)

         b. A financial penalty equal to the amount of documented losses incurred by the host institution
            and the Conference, including, but not limited to, ticket refunds, concession losses, facility
            rental, personnel expenses, television contract rebates, officiating fees, and game operations
            costs.
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         c. Inability by a team/teams to compete, or cancellations due to COVID-19, will not be considered
            extenuating circumstances. (Adopted July 2021)

   6.5 Artificial Noisemakers. The use of artificial noisemakers or other similar devices is prohibited during
   game action, particularly at a time that could disrupt the performance of a player. More detailed
   information regarding the definition and elimination of artificial noisemakers can be found in the
   Mountain West Football Championship Game Management Handbook.

   The prohibition against artificial noisemakers does not preclude the use of institutionally-controlled
   traditions (e.g., cannons, train whistle). Such items, however, must not be activated during game action
   or at a time that could disrupt the performance of a team or player. For example, it would be
   permissible to fire a cannon as the ball was kicked off, but not permissible to fire a cannon as the
   receiver was attempting to receive the kick.

   Cheerleader megaphones and amplified sound systems are also permissible, provided they are utilized
   in a positive and sporting fashion. Cheerleaders are not permitted to direct amplified sound toward the
   field and are required to discontinue use of the system when the team(s) breaks the huddle for the next
   play. Amplified sound may not be utilized during game action or at any time that is disruptive to the
   competitors.

   6.6 Competition Roster. Regulations for competition rosters are set forth in Regulation 1.14.

   6.7 Complimentary Tickets. The host institution shall provide 400 complimentary, maximum-priced
   tickets to the visiting institution. (Revised June 2022)

   6.8 Video Exchange Policies and Procedures. Each Conference game shall be recorded and exchanged
   electronically according to Mountain West standards and procedures and the National Football Open
   Video Exchange program. The video crews from visiting institutions (especially those in the Mountain
   West) shall be afforded every possible courtesy and professional assistance with regard to moving
   equipment, camera positions, etc.

   Each institution will be responsible for uploading the TV copy of their home game each week for scouting
   purposes. The home institution/video coordinator will need to capture, mark and upload the TV copy to
   the open exchange platform by NO LATER than 10 p.m. local time the day after your game as outlined in
   the Co-Op rules. If the home team fails to upload the copy, your institution’s access to all other TV copies
   in the system will be disabled, and the visitor will be responsible for uploading the game.

   For specifics on the video exchange process, please refer to Appendix D of the Mountain West Football
   Game Management Handbook. (Revised April 2007; August 2022)

         6.8.1 Video/Scouting Report Exchange. An athletics department representative shall not send a
         film, video, or scouting report or give a written scouting report on a Conference team to any non-
         conference institution.

         6.8.2 Violations of Exchange Policy. A member institution that exchanges video or scouting reports
         in the sport of football with institutions outside the Conference shall be subject to the following:

               a. First Offense. Private reprimand of the head coach and the individual who sent the items
                  to the institution outside the Conference.
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               b. Second Offense. Written notice from the Conference of the second offense. A copy of the
                  notice shall be kept in the personnel file of the individual in the office of the institution’s
                  director of athletics.

               c. Third Offense. The Commissioner shall suspend the head coach for one contest. Such
                  suspension shall occur immediately following receipt of notice by the Commissioner.

   6.9 Visiting Bands and Spirit Squads. A visiting band and/or spirit squad (e.g., cheerleaders) shall notify
   its opponent no later than July 1 of its intent to perform at the football contest. Upon timely receipt of
   such notice, the band/spirit squad shall be admitted to the contest at no cost and shall be permitted to
   perform. The tickets for the band/spirit squad shall come from the visiting team’s allotment of 400
   complimentary tickets. Performance on the playing field shall be determined by the home team’s game
   management. The host institution should endeavor to provide adequate seating for visiting band
   members, including flag and dance lines.

         6.9.1 Homecoming. Visiting bands and spirit squads shall be permitted to perform at halftime of an
         opponent’s Homecoming contest, only if the visiting team was invited by its opponent to participate
         in the Homecoming activities. A visiting band shall not participate in Homecoming activities if it was
         not invited to do so.

   6.10 Band Performances. Bands are prohibited from playing during game action or at any time that is
   disruptive to the competitors. Pregame, postgame, timeouts, halftime, between quarters, or other breaks
   in the action are permissible times for band activities. In the sport of football, bands must discontinue
   playing when the team with the ball breaks the huddle until the completion of the play. If a team plays a
   no-huddle offense, the band shall not play at any time during the offensive possession.

   6.11 Public Address Announcers. Public address announcers shall NOT be cheerleaders for the home
   team, exhorting the crowd, or engaging in activities outside their responsibilities in reporting the pertinent
   facts of the game. Traditional inflections are permissible, but the PA announcers (as outlined in the
   Mountain West Championship Game Management Handbook) must be cognizant of not “crossing the
   line.” Sound from the public address system must cease when the team with the ball breaks the huddle.
   If a team plays a no-huddle offense, the public address announcer shall ensure his/her announcements
   are not disruptive to the offensive team.

   6.12 Coaches Television Shows – Video Reciprocity. Institutions may use highlight footage from
   Conference contests for their respective coaches shows, subject to the provisions agreed upon with the
   Conference broadcast partners. Institutions shall be responsible for making such arrangements with non-
   conference opponents.

   6.13 Selection/Placement Procedures for Bowl Games. The Conference office shall coordinate the
   process for the selection and placement of bowl-eligible institutions in bowl games – either those with
   which the Mountain West is contracted or for at-large opportunities. The parameters for a member
   institution’s participation in a bowl shall be negotiated and confirmed by the Conference (in accordance
   with existing agreements for those games with which the Mountain West is contracted).

           6.13.1 Bowl Promotions. The Conference should not promote one institution over another.
           Institutions are responsible for promoting themselves and exchanges of telephone calls, emails,
           written materials, promotional items, videos, etc., between bowl officials and Mountain West
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        institutional representatives are not limited. However, in-person, on-site (site of bowl officials)
        meetings by institutional staff members with officials of bowl games with which the Conference
        has a guaranteed relationship is prohibited. This does not preclude visits by the bowls to the
        institutions or to contests involving the institutions. Member institutions may also interact with
        bowl representatives away from their campus if they happen to be in the bowl’s location for a
        regular-season contest or are involved in a function at some location in which a bowl
        representative is also in attendance.

                6.13.1.1 Restrictions. Mountain West institutions shall not attempt to “outbid” fellow
                Conference members for potential bowl slots by offering financial bonuses, ticket
                guarantees, or other incentives to bowl officials. (Revised April 2000, November 2005, and
                April 2006)

        6.13.2 Bowl Partners Selection. Mountain West institutions shall be required to compete in the
        post-season if selected. The Mountain West bowl partners are not bound by the final standings
        and may select participants at their discretion, except as specified in the contractual agreements,
        in consultation with the Conference office. Every effort shall be made to protect the league
        champion(s) in the bowl selection process. Co-champions and other ties in the standings shall
        remain unchanged for Conference awards, records, and revenue distribution purposes. Eligible
        Mountain West teams selected for a bowl or CFP game will be expected to travel and compete in
        the designated post-season game. Should an institution choose not to be or be unable to
        participate, they may be subject to penalties. (Revised April 2006, July 2021)

        6.13.3 Alternate Bowl Teams (5-7 Regular-Season Record). A Mountain West football team
        which finishes with a 5-7 record may participate in a postseason bowl game at the discretion of
        the institution -- should the NCAA system have an insufficient number of deserving (6-6) teams
        and need to utilize the established alternate criteria. However, said institution must fund its
        team’s participation at its own expense unless it requests a bowl reimbursement subsidy from the
        Conference. Any such request requires approval by the Mountain West Board of Directors.
        (Adopted June 2016)

        6.13.4 Additional Bowl Selection Process. Mountain West Bowl Placement Protection for
        championship game participants. The participants in the MW Football Championship Game shall
        receive consideration for bowl placement over the remaining bowl-eligible teams, regardless of
        record. While not a prescribed selection for any bowl partner, these two teams must be placed
        and consideration given to destination/match-up.

        Mountain West Bowl Eligibility Guidelines. The following criteria will be utilized to
        determine which teams in the bowl eligibility pool shall have priority to be placed in bowl
        games in the event the number of bowl-eligible teams in a given year exceeds the number
        of available bowl slots. Said criteria will be applied in order, until the necessary separation
        is achieved, to distinguish between eligible teams in a given year.
        (Revised August 2014, July 23)

            a. Regular-season Conference record (with the stipulation that Mountain West records shall
               be considered directly comparable, even though teams may have played different
               opponents depending upon the crossover match-ups for that season).
            b. Head-to-head results.
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               c. Common opponents (including all Mountain West and non-conference games for that
                  season).

               6.13.4.1 Exception. The bowl partners may select a team other than that identified via the
               above process, so long as the team distinguished by the criteria is placed in a bowl.

               6.13.4.2 Exception. These guidelines shall be subject to review on an annual basis to facilitate
               the identification of any unintended consequences and/or to discuss necessary adjustments.

   6.14 Awards. The Conference football coaches and media as selected by the Conference office shall select
   recipients for all awards.

         6.14.1 All-Conference Team. The All-Conference team shall consist of 25 first-team and 25 second-
         team players. There shall be 11 offensive players by position, 11 defensive players by position, one
         place kicker, one punter and one special teams player on the first team and second team. Select
         players shall be named honorable mention. Each shall be provided an award from the Conference
         except honorable mention.

         6.14.2 Individual Awards. Individual awards shall be provided to the Coach of the Year, the
         Offensive Player of the Year, the Defensive Player of the Year, the Special Teams Player of the Year,
         and the Freshman of the Year.

         Only head coaches are viable coach of the year candidates. There shall not be a tie for Mountain
         West Coach of the Year. In the event of a tie, coaches shall re-vote between the two (or more)
         highest vote receivers. Co-awards for the individual student-athlete awards are permitted, but there
         must not be more than two. In the event of a three-way tie for an “Of the Year” award, the coaches
         shall re-vote amongst the three to get to one or two recipients.

         To be considered for the Offensive Player of the Year, Defensive Player of the Year, and/or the
         Special Teams Player of the year, the recipient shall have been a first-team All-Conference selection.
         To be considered for Freshman of the Year, the recipient shall have been the highest-ranking
         freshman on any All-Conference team. (Clarified August 2017)

         6.14.3 Championship Game Most Valuable Players. The outstanding offensive and defensive
         players from the Mountain West Football Championship Game shall be provided an award from the
         Conference at the conclusion of the contest.

   6.15 Meeting of Coaches. There shall be an annual in-person meeting of the head football coaches to be
   held at the site of the Mountain West Spring Meetings. Attendance by each head coach at the in-person
   meeting is mandatory. Head football coaches will also be required to participate in meetings (e.g.,
   monthly calls or virtual meetings) during the academic year as scheduled by the Conference office.
   (Revised July 2021)
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   Regulation 7
   MEN’S GOLF
   7.1 General Rules. Men’s golf Conference competition shall be conducted in accordance with the rules of
   the NCAA, the United States Golf Association, the Mountain West Handbook and the Mountain West
   Men’s Golf Championship Handbook.

   7.2 Conference Schedule. There shall be no required regular season Conference schedule in the sport of
   men’s golf.

   7.3 Championship Tournament. A Conference tournament shall be conducted to determine the Mountain
   West champion.

        7.3.1 Tournament Dates. The Conference championship shall be held the Thursday – Sunday one
        week prior to the NCAA Men’s Golf Selections. (Revised June 2008, January 2011, July 2013,
        December 2013, April 2018)

        7.3.2 Automatic Qualification. The winner of the Conference championship shall be the
        Conference’s automatic representative to the NCAA Division I Men’s Golf Regionals.

        7.3.3 Cancellation of Championship. In the event the Conference championship cannot be
        completed, the team with the highest national ranking reflected on the official NCAA scoring and
        ranking provider at the end of the season shall be the Conference’s automatic representative to the
        NCAA Division I Men’s Golf Regionals. Additional information and exceptions regarding the
        cancellation of the Championship can be found in the Mountain West Men’s Golf Championship
        Handbook. (Revised April 2004, June 2005)

        7.3.4 Minimum Number of Participants. Member institutions that sponsor the sport of men’s golf
        shall take a minimum of five participants to the Conference Men’s Golf Championship. Institutions
        that do not meet the minimum number of participants requirement shall be assessed a fine of
        $5,000 plus the costs associated with the team traveling to the Championship site. The Conference
        office shall determine the cost of traveling to the Championship site. If failure of the member
        institution to bring the minimum number of participants to the Conference Men’s Golf
        Championship results in a loss to the host institution, the fine shall be used to cover the expenses
        incurred by the host institution. If failure to bring the minimum number of participants to the
        Conference Men’s Golf Championship does not result in a loss to the host institution, the fine shall
        be included in the Conference championships budget. Waivers of the minimum number of
        participants rule may be granted by the Commissioner.

        7.3.5 Tie-Breaking Procedure. If at the conclusion of 54 holes of play there is a tie for both the team
        and individual championships, the team championship playoff shall be conducted first. Additional
        information regarding tie-breaking procedures can be found in the Mountain West Men’s Golf
        Championship Handbook.

        7.3.6 Pre-Championship Meeting. A pre-championship meeting shall be held the day prior to the
        start of the Championship. The head coaches of all participating institutions shall attend the
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         meeting. A head coach who fails to attend the mandatory pre-championship meeting shall have
         written notification sent to their director of athletics and institutional sport administrator. If a head
         coach provides the Conference office advanced notification of their absence at the meeting, the
         Commissioner (or designee) may approve of a substitute. Conference office staff and an institutional
         representative also shall attend the meeting. (Adopted October 2006; Revised May 2017)

   7.4 Pin Placement Sheets. Pin placement sheets shall be provided prior to each day of competition to
   each participant and head coach. The depth of pin placements shall be identified in paces.

   7.5 Playing Rules. All rules related to Conference championship play shall be conducted according to the
   NCAA Division I Men’s Golf Championship and USGA Rules except as modified by local ground rules or
   Conference regulations.

   7.6 Competition Roster. Regulations for competition rosters are set forth in Regulation 1.14.)

   7.7 Disqualification Penalties. A student-athlete who is disqualified for reasons other than misconduct
   shall be permitted to resume play in the next and subsequent rounds.

   7.8 Awards. The Conference golf coaches shall select recipients for all men’s golf awards. Coaches shall
   not vote for themselves or any of their student-athletes. Should a coach fail to complete the entire ballot,
   the student-athletes from that team shall not be eligible to receive an award. Policies and procedures
   governing awards selection are outlined in the Mountain West Men’s Golf Championship Handbook.

         7.8.1 All-Conference Team. The All-Conference team shall consist of 10 players selected on regular-
         season and championship play.

         7.8.2 Individual Awards. Individual awards shall be provided to the Coach of the Year, the Golfer of
         the Year and the Freshman of the Year.

         Head coaches shall be the only viable coach of the year candidates. There shall not be a tie for
         Mountain West Coach of the Year. In the event of a tie, coaches shall re-vote between the two (or
         more) highest vote receivers. Co-awards for the individual student-athlete awards are permitted,
         but there shall not be more than two. In the event of a three-way tie for an “Of the Year” award,
         the coaches shall re-vote amongst the three to get to one or two recipients.

         To be considered for the Golfer of the Year, the recipient shall have been a first-team All-Conference
         selection. To be considered for the Freshman of the Year, the recipient shall have been the highest-
         ranking freshman on any All-Conference team. (Clarified August 2017)

   7.9 Meeting of Coaches. There shall be an annual meeting of the golf coaches to be held each year at a
   site and on a date to be determined in consultation with the administrative liaison. Attendance by each
   head coach is mandatory. (Revised November 2019)
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   Regulation 8
   WOMEN’S GOLF
   8.1 General Rules. Women’s golf Conference competition shall be conducted in accordance with the rules
   of the NCAA, the United States Golf Association, the Mountain West Handbook, and the Mountain West
   Women’s Golf Championship Handbook.

   8.2 Conference Schedule. There shall be no required regular season Conference schedule in the sport of
   women’s golf.

   8.3 Championship Tournament. A Conference tournament shall be conducted to determine the Mountain
   West champion.

        8.3.1 Tournament Dates. The Conference championship shall be held Tuesday – Thursday (or Friday
        – Sunday when course availability permits) two weeks prior to the NCAA Division I Women’s Golf
        Regionals or earlier as course availability permits. (Revised May 2011, July 2018, April 2022)

        8.3.2 Automatic Qualification. The winner of the Conference Championship shall be the
        Conference’s automatic representative to the NCAA Division I Women’s Golf Regionals.

        8.3.3 Cancellation of Championship. In the event the Conference championship cannot be
        completed, the team with the highest national Spikemark ranking at the end of the season shall be
        the conference’s automatic representative to the NCAA Division I Women’s Golf Regionals.
        Additional information and exceptions regarding the cancellation of the Championship can be found
        in the Mountain West Women’s Golf Championship Handbook. (Revised April 2004, June 2005, July
        2023)

        8.3.4 Minimum Number of Participants. Member institutions that sponsor the sport of women’s
        golf shall take a minimum of five participants to the Conference Women’s Golf Championship.
        Institutions that do not meet the minimum number of participants requirement shall be assessed a
        fine of $5,000 plus the costs associated with the team traveling to the Championship site. The
        Conference office shall determine the cost of traveling to the Championship site. If failure of the
        member institution to bring the minimum number of participants to the Conference Women’s Golf
        Championship results in a loss to the host institution, the fine shall be used to cover the expenses
        incurred by the host institution. If failure to bring the minimum number of participants to the
        Conference Women’s Golf Championship does not result in a loss to the host institution, the fine
        shall be included in the Conference championships budget. Waivers of the minimum number of
        participants rule may be granted by the Commissioner.

        8.3.5 Tie-Breaking Procedure. If at the conclusion of 54 holes of play there is a tie for both the team
        and individual championship, the team championship playoff shall be conducted first. Additional
        information regarding tie-breaking procedures can be found in the Mountain West Women’s Golf
        Championship Handbook.

        8.3.6 Pre-Championship Meeting. A pre-championship meeting shall be held the day prior to the
        start of the Championship. The head coaches of all participating institutions shall attend the
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         meeting. A head coach who fails to attend the mandatory pre-championship meeting shall have
         written notification sent to their director of athletics and institutional sport administrator. If a head
         coach provides the Conference office advanced notification of their absence at the meeting, the
         Commissioner (or designee) may approve of a substitute. Conference office staff and an institutional
         representative also shall attend the meeting. (Adopted October 2006; Revised May 2017)

   8.4 Pin Placement Sheets. Pin placement sheets shall be provided prior to each day of competition to
   each participant and head coach. The depth of pin placements shall be identified in paces.

   8.5 Playing Rules. All rules related to Conference championship play shall be conducted according to the
   NCAA Division I Women’s Golf Championship and USGA Rules except as modified by local rules or
   Conference regulations.

   8.6 Competition Roster. Regulations for competition rosters are set forth in Regulation 1.14.

   8.7 Disqualification Penalties. A student-athlete who is disqualified for reasons other than misconduct
   shall be permitted to resume play in the next and subsequent rounds.

   8.8 Awards. The Conference golf coaches shall select recipients for all women’s golf awards based on a
   predetermined set of criteria. Coaches shall not vote for themselves or for their own student-
   athletes. Should a coach fail to complete the entire ballot, the student-athletes from that team shall not
   be eligible to receive an award. Policies and procedures governing awards selection are outlined in the
   Mountain West Women’s Golf Championship Handbook.

         8.8.1 All-Conference Team. The All-Conference team shall consist of five first-team and five second-
         team recipients for a total of 10 student-athletes. Each shall be provided an award from the
         Conference. (Revised August 2012)

         8.8.2 Individual Awards. Individual awards shall be provided to the Coach of the Year, the Golfer of
         the Year, and the Freshman of the Year.

         Head coaches shall be the only viable coach of the year candidates. There shall not be a tie for
         Mountain West Coach of the Year. In the event of a tie, coaches shall re-vote between the two (or
         more) highest vote receivers. Co-awards for the individual student-athlete awards are permitted,
         but there must not be more than two. In the event of a three-way tie for an “Of the Year” award,
         the coaches shall re-vote amongst the three to get to one or two recipients.

         To be considered for the Golfer of the Year, the recipient shall have been a first-team All-Conference
         selection. To be considered for Freshman of the Year, the recipient shall have been the highest-
         ranking freshman on any All-Conference team. (Clarified August 2017)

   8.9 Meeting of Coaches. There shall be a virtual meeting of the women’s golf head coaches to be held
   annually. Any changes shall be subject to approval by the Joint Council. Attendance by each head coach
   is mandatory.
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   Regulation 9
   WOMEN’S GYMNASTICS
   9.1 General Rules. Women’s gymnastics Conference competition shall be conducted in accordance with
   the rules of the NCAA as well as Mountain West Bylaws, Handbook, and Women’s Gymnastics
   Championship Handbook.

   9.2 Championship Meet. The Championship meet shall conform to the NCAA Women’s Gymnastics
   Regional rules and format except where otherwise noted in these Bylaws and Mountain West Women’s
   Gymnastics Championship Handbook. There shall be no qualifying standards. The five highest individual
   scores count for each team scoring event. The individual champions will be determined based on the
   highest score in each event.

   9.2.1 Championship Site Rotation. The host site of the Championship meet will rotate amongst the
   participating institutions as follows:
              2025: San José State
              2026: Boise State
              2027: Air Force

   9.2.2 Meet Date and Time. The Mountain West Women’s Gymnastics Championship shall be held the
   Saturday two weeks prior to the NCAA regionals. The meet time will be set by the host institution in
   collaboration with Mountain West sport administrator(s).

   9.2.3 Format. The Championship meet will be conducted in one session and all four Conference teams
   will compete. The order of events will follow the Olympic order (Vault, Uneven Bars, Balance Beam, Floor).
   A random draw will determine the starting event rotation in 2024 (year one). Team event starting
   positions will rotate from the 2024 assignments in future years.

   9.2.4 Travel Party and Competition Roster. The travel party limit for the championship shall consist of a
   maximum of 25 total individuals who will attend the Championship in a working or team capacity. There
   is no limit on the number of student-athletes who may be included within the travel party maximum of
   25. The competition roster of student-athletes who are eligible to compete shall not exceed 15. Additional
   non-competing student-athletes may march out with their team and be announced during introductions.
   They are to remain with the team in the corral areas during competition except for when assisting the
   team as needed. All members of the championship travel party shall receive credentials and be permitted
   on the floor during competition within the corrals. Staff on the floor must be in appropriate attire.

   9.2.5 Entries. Coaches shall submit the list of entries for the championship at least 48 hours prior to the
   Championship.

   9.2.6 Lineups. Lineups must be turned in to the championship director at least one hour prior to the start
   of the championship. Changes in the lineup shall be made prior to the beginning of each event as long as
   the order remains in compliance with NCAA rules.
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   9.2.7 Introductions. Before the start of the meet, teams shall march in by competitive order according to
   their starting event rotation. All student-athletes, competing or not, may march in and be announced.
   Student-athletes will be introduced shortest to tallest, followed by the name of the head coach.

   9.2.8 Team Corrals. There will be a designated team corral at each event. Teams must keep their bags and
   equipment inside their corrals. Teams will move to the respective event corral after each rotation and
   must take all belongings with them. Non-competing student-athletes are to stay with the team but can
   help as needed.

   9.2.9 Uniforms. All competitors must wear, exclusively, the official uniform of their institution in
   competition, warm-ups, and during the award ceremony. Uniforms must conform to NCAA requirements,
   including jewelry being limited to one pair of stud earrings.

   9.2.10 Warm-Ups. In the warm-up prior to the start of competition, a 20-minute general stretch and four
   15-minute rotations, with two-minute transition between rotations, shall take place on the competitive
   floor. Teams will be assigned to a practice session according to their competitive starting events. As
   competitors arrive at each event for competition, there will be a four-minute touch warm-up on each
   event.

   9.2.11 Practice. A two-hour practice matching the NCAA regional format will take place the Friday before
   the Championship. The host shall set the time in collaboration with the other coaches and Mountain West
   sport administrator(s).

   9.2.12 Pre-Championship Meeting. A pre-championship meeting shall be held in person on the Friday
   prior to the start of the Championship. The head coaches of all participating institutions are required to
   participate in the meeting. A head coach who fails to participate in the mandatory pre-championship
   meeting shall have written notification sent to their director of athletics and institutional sport
   administrator. If a head coach provides the Conference office advanced notification of their absence from
   the meeting, the Commissioner (or designee) may approve a substitute. Conference office staff and an
   institutional representative shall also participate in the meeting.

   9.3 Judges. Judges for Mountain West competition shall be selected as follows:

   9.3.1 Championship. Judges shall be secured by the Mountain West through the NCAA judges assigning
   system. Sixteen (16) (four per event) judges and one meet referee will be selected for the championship
   with the request that individuals from each of the four states in which Mountain West teams reside are
   selected.

   9.3.2 Regular Season. The host institution is responsible for securing and covering the cost of all judges
   for meets during the regular season.

   9.4 Awards. The Conference women’s gymnastics awards shall be determined as set forth below. Policies
   and procedures governing selection of the regular season and championship awards are outlined in the
   Mountain West Women’s Gymnastics Championship Handbook.

   9.4.1 All-Conference Team. The MW women’s gymnastics all-conference team is based on National
   Qualifying Scores.
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              9.4.1.1 First Team. Gymnasts ranked 1-3 on each apparatus (all-around, vault, bars, beam,
   floor), according to National Qualifying Scores, shall be named First-Team All-Mountain West.

   9.4.1.2 Second Team. Gymnasts ranked 4-6 on each apparatus (all-around, vault, bars, beam, floor),
   according to National Qualifying Scores, shall be named Second-Team All-Mountain West.

   9.4.2 Individual Awards. Individual awards shall be provided to the Coach of the Year, Gymnast of the
   Year, Freshman of the Year, and Specialist of the Year on each apparatus.

   Head coaches shall be the only viable coach of the year candidates. There shall not be a tie for Mountain
   West Coach of the Year. In the event of a tie, coaches shall re-vote between the two (or more) highest
   vote receivers. In the event of a tie for an “Of the Year” award, the coaches shall re-vote to determine the
   winner.

   9.5 Meeting of Coaches. There shall be two virtual meetings of the gymnastics coaches each year. The
   meetings shall be in addition to the meeting that takes place at the annual coaches’ convention.
   Attendance by each head coach at all meetings referenced in this regulation is mandatory.
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   Regulation 10
   WOMEN’S SOCCER
   10.1 General Rules. Women’s soccer Conference competition shall be conducted in accordance with the
   rules of the NCAA and the Bylaws, the Mountain West Handbook, the Mountain West Women’s Soccer
   Game Management Handbook and the Mountain West Women’s Soccer Championship Handbook.

   10.2 Format. The Conference regular-season champion shall be determined through a single round-robin
   schedule.

   10.3 Regular-Season Team Champion. The regular-season team champion shall be the institution with
   the highest number of points accumulated in Conference competition (3 points for a win, 1 for a tie, 0 for
   a loss). In the event of a tie, there shall be co-champions.

   10.4 Championship Tournament. A six-team, single-elimination Conference tournament shall be held
   with the tournament champion representing the Conference as its automatic representative to the
   NCAA Division I Women’s Soccer Championship. (Revised October 2005, December 2012, February
   2014)

         10.4.1 Minimum Number of Participants. Member institutions that sponsor the sport of women’s
         soccer shall take a minimum of 11 participants to the Conference Women’s Soccer Championship.
         Institutions that do not meet the minimum number of participants requirement shall be assessed a
         fine of $5,000 plus the costs associated with the team traveling to the Championship site. The
         Conference office shall determine the cost of traveling to the Championship site. If failure of the
         member institution to bring the minimum number of participants to the Conference Women’s
         Soccer Championship results in a loss to the host institution, the fine shall be used to cover the
         expenses incurred by the host institution. If failure to bring the minimum number of participants to
         the Conference Women’s Soccer Championship does not result in a loss to the host institution, the
         fine shall be included in the Conference championships budget. Waivers of the minimum number
         of participants rule may be granted by the Commissioner.

         10.4.2 Cancellation of Championship. In the event the Conference championship cannot be started
         or, if started, cannot be completed, the Conference regular-season champion shall represent the
         Conference as the automatic representative to the NCAA Division I Women’s Soccer Championship.
         Additional information and exceptions regarding the cancellation of the Championship can be found
         in the Mountain West Women’s Soccer Championship Handbook. (Revised October 2001)

         10.4.3 Championship Game Ball. The official game ball for all Championship contests shall be
         determined by the Conference.

         10.4.4 Tournament Date. The Conference championship shall be held the Sunday – Saturday
         immediately preceding the day of selection for the NCAA Division I Women’s Soccer Championship.
         (Revised December 2010, February 2013, February 2014, April 2022)

         10.4.5 Tournament Seeding. Tournament Seeding shall be determined based on the final regular-
         season Conference results. Teams shall be seeded according to the number of Mountain West
         points accumulated (3 points for a win, 1 for a tie, 0 for a loss). Additional information regarding
         tournament seeding can be found in the Mountain West Women’s Soccer Championship Handbook.
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         10.4.6 Pre-Championship Meeting. A pre-championship meeting shall be held on the Saturday prior
         to the start of the Championship. The head coaches of all participating institutions are required to
         participate in the conference call. A head coach who fails to participate in the mandatory pre-
         championship conference call shall have written notification sent to their director of athletics and
         institutional sport administrator. If a head coach provides the Conference office advanced
         notification of their absence from the meeting, the Commissioner (or designee) may approve of a
         substitute. Conference office staff and an institutional representative also shall participate in the
         conference call. (Adopted October 2006; Revised December 2010, February 2013, February 2014,
         May 2017)

   10.5 Automatic Qualifier. The Conference tournament champion shall be the automatic representative
   to the NCAA Division I Women’s Soccer Championship.

   10.6 Playing Rules. All Conference soccer contests shall be conducted according to the NCAA Women’s
   Soccer Rules except as modified by Conference regulations.

   10.7 Video Exchange. The dissemination of game video and/or scouting information on member
   institutions to non-conference institutions is prohibited. Video, film or motion pictures shall not be taken
   for scouting purposes unless the team recording is one of the competing teams. Exchanging video among
   Conference teams shall be governed by the policies outlined in the Mountain West Women’s Soccer Game
   Management Handbook. (Revised October 2001, December 2007 and January 2009).

         10.7.1 Violations of Scouting Report Exchange Policy. A member institution that exchanges
         scouting reports in the sport of soccer with institutions outside the Conference shall be subject to
         the following:

               a. First Offense. Private reprimand of the head coach and the individual who sent the
                  video/report to the institution outside the Conference.

               b. Second Offense. Written notice to the Conference of the second offense. A copy of the
                  notice shall be kept in the personnel file of the individual in the office of the institution’s
                  director of athletics.

               c. Third Offense. The Commissioner shall suspend the head coach for one contest. Such
                  suspension shall occur immediately following receipt of notice by the Commissioner.


         10.7.2 National Video Exchange. Member institutions will comply with the NCAA DI Women’s
         Soccer National Exchange Bylaws. Every home match is to be uploaded to Wyscout by 10 a.m. local
         time the day after the match to adhere to the deadline outlined in the Nation Exchange Bylaws.
         Non-compliance may result in penalties set forth within the NCAA DI Women’s Soccer National
         Video Exchange Bylaws.

   10.8 Competition Roster. Regulations for competition rosters are set forth in Regulation 1.14.

   10.9 Awards. The women’s soccer coaches shall select recipients for Conference awards at the conclusion
   of the regular season. Nominees will be submitted by the coaches and distributed by the Mountain West
   media relations staff in conjunction with Conference-only stats at the end of the season. Should a coach
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   fail to complete the entire ballot, the student-athletes from that team shall not be eligible to receive an
   award. Awards shall be based on regular-season Conference-only performances. Coaches shall not vote
   for themselves or for their own student-athletes. Additional awards policies and procedures can be found
   in the Mountain West Women’s Soccer Game Management and Championship Handbooks. (Revised
   November 2014)

         10.9.1 All-Conference Team. The All-Conference team shall consist of 11 first-team student-
         athletes, 11 second-team student-athletes and 11 Newcomers-team student-athletes, regardless of
         position. There shall be a designated goalkeeper on each team. Each student-athlete shall be
         provided an award from the Conference. (Revised January 2006, February 2013, December 2014,
         February 2016)

         10.9.2 Individual Awards. Individual awards shall be provided to the Coach of the Year, the
         Offensive and Defensive Player of the Year and the Newcomer of the Year.

         Only head coaches are viable coach of the year candidates. There may not be a tie for Mountain
         West Coach of the Year. In the event of a tie, coaches shall re-vote between the two (or more)
         highest vote receivers. Co-awards for the individual student-athlete awards are permitted, but there
         must not be more than two. In the event of a three-way tie for an “Of the Year” award, the coaches
         shall re-vote amongst the three to get to one or two recipients.

         To be considered for the Offensive Player of the Year and/or Defensive Player of the Year, the
         recipient shall have been a first-team All-Conference selection. To be considered for Newcomer of
         the Year, the recipient shall have been the highest-ranking freshman or first year playing in the
         Mountain West on any All-Conference team. (Clarified August 2017)

         10.9.3 All-Tournament Awards. An all-tournament team shall consist of 11 student-athletes,
         regardless of position. In addition, a tournament Most Valuable Player shall be chosen.

         The all-tournament team shall be selected by the coaches as follows: the coaches of the teams
         losing in the semifinals shall select two student-athletes each from their respective teams, the
         coach of the runner-up team shall select three student-athletes from its team and the winning
         coach shall select four student-athletes from its team, including a Most Valuable Player. (Revised
         March 2006)

   10.10 Meeting of Coaches. There shall be an annual meeting of the soccer coaches to be held each year
   on a date to be determined in consultation with the administrative liaison. Any changes shall be subject
   to approval by the Joint Council. Attendance by each head coach is mandatory. (Revised December 2014,
   January 2018, July 2021)
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   Regulation 11
   SOFTBALL
   11.1 General Rules. Softball Conference competition shall be conducted in accordance with the rules of
   the NCAA, the Mountain West Handbook and the Mountain West Softball Game Management Handbook.

   11.2 Format. The Conference regular-season champion shall be determined through a single round-robin
   schedule. (Revised December 2010)

   11.3 Regular-Season Champion. The regular-season champion shall be the institution with the highest
   regular-season winning percentage in Conference competition. In the event of a tie, there shall be co-
   champions. (Revised June 2008)

   11.4 Championship Tournament. A six-team, single into double elimination Conference tournament shall
   be held with the tournament champion representing the Conference as its automatic representative to
   the NCAA Division I Softball Championship. (Revised June 2022)

      11.4.1 Minimum Number of Participants. Member institutions that sponsor the sport of softball shall
      take a minimum of nine (9) participants to the Conference Softball Championship. Institutions that do
      not meet the minimum number of participants requirement shall be assessed a fine of $5,000 plus
      the costs associated with the team traveling to the Championship site. The Conference office shall
      determine the cost of traveling to the Championship site. If failure of the member institution to bring
      the minimum number of participants to the Conference Softball Championship results in a loss to the
      host institution, the fine shall be used to cover the expenses incurred by the host institution. If failure
      to bring the minimum number of participants to the Conference Softball Championship does not
      result in a loss to the host institution, the fine shall be included in the Conference championships
      budget. Waivers of the minimum number of participants rule may be granted by the Commissioner.

      11.4.2 Cancellation of Championship. In the event the Conference championship cannot be started
      or, if started, cannot be completed, the Conference regular-season champion shall represent the
      Conference as the automatic representative to the NCAA Division I Softball Championship. Additional
      information and exceptions regarding the cancellation of the Championship can be found in the
      Mountain West Softball Championship Handbook. (Revised October 2001)

      11.4.3 Championship Game Ball. The official game ball for all Championship contests shall be
      determined by the Conference.

      11.4.4 Tournament Date. The Conference championship shall be held the Thursday – Saturday
      immediately preceding the day of selection for the NCAA Division I Softball Championship. (Revised
      December 2010, February 2013, February 2014, April 2022)

      11.4.5 Tournament Seeding. Tournament Seeding shall be determined based on the final regular-
      season Conference results. Teams shall be seeded according to regular season winning percentage.
      Additional information regarding tournament seeding can be found in the Mountain West Softball
      Championship Handbook.

      11.4.6 Pre-Championship Meeting. A pre-championship meeting shall be held prior to the start of the
      Championship. The head coaches of all participating institutions are required to participate in the
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       meeting. A head coach who fails to participate in the mandatory pre-championship meeting shall have
       written notification sent to their director of athletics and institutional sport administrator. If a head
       coach provides the Conference office advanced notification of their absence from the meeting, the
       Commissioner (or designee) may approve of a substitute. Conference office staff and an institutional
       representative also shall participate in the conference call. (Adopted October 2006; Revised
       December 2010, February 2013, February 2014, May 2017)

   11.5 Automatic Qualifier. The Conference tournament champion shall be the automatic representative
   to the NCAA Division I Softball Championship.

   11.6 Playing Rules. All Conference softball contests shall be conducted according to NCAA Softball Rules,
   including rules adopted for NCAA tournament competition, except as modified by Conference regulations.

   11.7 Scouting of Opponents. Scouting of a Conference opponent is prohibited. Coaches and/or
   administrators may attend contests versus a Conference opponent that involves a member of the coach’s
   or administrator’s immediate family provided no scouting activities take place. (Revised July 2002, June
   2008)

   11.8 Video/Scouting Report Exchange. A coach shall not send film, video or give a written or verbal
   scouting report on a Conference team to any institution outside the Conference.

         11.8.1 Violations of Video/Scouting Report Exchange Policy. A member institution that exchanges
         video or scouting reports in the sport of softball with institutions outside the Conference shall be
         subject to the following:

               a. First Offense. Private reprimand of the head coach and the individual who sent the
                  video/report to the institution outside the Conference.

               b. Second Offense. Written notice to the Conference of the second offense. A copy of the
                  notice shall be kept in the personnel file of the individual in the office of the institution’s
                  director of athletics.

               c. Third Offense. The Commissioner shall suspend the head coach for one contest. Such
                  suspension shall occur immediately following receipt of notice by the Commissioner.

   11.8 Competition Roster. Regulations for competition rosters are set forth in Regulation 1.14.

   11.9 Time Between Contests. The time between contests of a doubleheader shall be a minimum of 15
   minutes and a maximum of 30 minutes. The host institution shall inform the umpires as to the time
   between contests.

   11.10 Awards. The softball coaches shall select recipients for each Conference award. Coaches shall not
   vote for themselves or for their own student-athletes for any of the awards. Should a coach fail to
   complete the entire ballot, the student-athletes from that team shall not be eligible to receive an award.
   Policies and procedures governing awards selection are outlined in the Mountain West Softball Game
   Management Handbook.
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        11.10.1 All-Conference Team. The All-Conference team shall consist of 30 student-athletes (15 first-
        team and 15 second-team members). Each student-athlete shall be provided an award from the
        Conference. (Revised July 2013)

        11.10.2 Individual Awards. Individual awards shall be provided to the Coach of the Year, Player of
        the Year, Pitcher of the Year, Defensive Player of the Year and Freshman of the Year. (Revised July
        2013)

        Only head coaches are viable coach of the year candidates. There may not be a tie for Mountain
        West Coach of the Year. In the event of a tie, coaches shall re-vote between the two (or more)
        highest vote receivers. Co-awards for the individual student-athlete awards are permitted, but there
        must not be more than two. In the event of a three-way tie for an “Of the Year” award, the coaches
        shall re-vote amongst the three to get to one or two recipients.

        To be considered for the Player of the Year, the recipient shall have been a first-team All-Conference
        selection. To be considered for Freshman of the Year, the recipient shall have been the highest-
        ranking freshman on any All-Conference team. (Clarified August 2017)

        11.10.3 All-Tournament Awards. An 11-person all-tournament (nine players, one designated
        player, and a Tournament Most Valuable Player) shall be selected.

        The all-tournament team shall be selected by the coaches as follows: the coaches of the teams
        losing in game 6 and 7 shall select two student-athletes each from their respective teams, the
        coach of the runner-up team shall select three student-athletes from their team and the winning
        coach shall select four student-athletes from its team, including a designated player and Most
        Valuable Player.

   11.11 Meeting of Coaches. There shall be an annual meeting of the softball coaches to be held each year
   on a date to be determined in consultation with the administrative liaison. Any changes shall be subject
   to approval by the Joint Council. Attendance by each head coach is mandatory. (Revised April 2006, July
   2021)
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   Regulation 12
   WOMEN’S SWIMMING AND DIVING
   12.1 General Rules. Women’s swimming and diving Conference competition shall be conducted in
   accordance with the rules of the NCAA, the Mountain West Handbook and the Mountain West Women’s
   Swimming and Diving Championship Handbook.

   12.2 Championship Meet. The team Conference champion and individual event champions in women’s
   swimming and diving shall be determined at a Conference championship meet. (Revised December 2010)

         12.2.1 Minimum Number of Participants. Member institutions that sponsor the sport of women’s
         swimming and diving shall take a minimum of 11 participants to the Conference Women’s
         Swimming and Diving Championship. Institutions that do not meet the minimum number of
         participants requirement shall be assessed a fine of $5,000 plus the costs associated with the team
         traveling to the Championship site. The Conference office shall determine the cost of traveling to
         the Championship site. If failure of the member institution to bring the minimum number of
         participants to the Conference Women’s Swimming and Diving Championship results in a loss to the
         host institution, the fine shall be used to cover the expenses incurred by the host institution. If
         failure to bring the minimum number of participants to the Conference Women’s Swimming and
         Diving Championship does not result in a loss to the host institution, the fine shall be included in
         the Conference championships budget. Waivers of the minimum number of participants rule may
         be granted by the Commissioner. (Revised December 2010)

   12.3 Conference Swimming and Diving Championship Policies.

         12.3.1 Date and Site. The Conference championship shall be held a minimum of four weeks prior
         to the NCAA Division I Women’s Swimming and Diving Championship during dates that do not
         conflict with the WAC Men’s Swimming & Diving Championships. It is recommended that the
         Conference championship be conducted only in indoor facilities that provide adequate length and
         width as well as adequate competition areas for all events in both swimming and diving.
         Additionally, it is recommended that the facility have locker rooms as well as spectator facilities.
         (Revised October 2001, October 2006; November 2018, October 2023)


         12.3.2 Pre-Championship Meeting. A pre-championship meeting shall be held the day prior to the
         start of the Championship. The head coaches of all participating institutions shall attend the
         meeting. A head coach who fails to attend the mandatory pre-championship meeting shall have
         written notification sent to their director of athletics and institutional sport administrator. If a head
         coach provides the Conference office advanced notification of their absence at the meeting, the
         Commissioner (or designee) may approve of a substitute. Conference office staff and an institutional
         representative also shall attend the meeting. (Adopted October 2006; Revised May 2017)

   12.4 Site Responsibilities. The Conference office, in conjunction with the Championship site, shall notify
   the participating institutions of the time schedule for the meet, giving details on the meet and related
   information regarding hotel headquarters and the coaches’ meeting. This shall be done at least one month
   in advance of the Championship.
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   12.5 Playing Rules. The Conference Women’s Swimming and Diving Championship shall be conducted
   according to the NCAA Division I Women’s Swimming and Diving Rules except as modified by Conference
   regulations. (Revised December 2010)

   12.6 Competition Roster. Regulations for competition rosters are set forth in Regulation 1.14.

   12.6.1 Additional Student-Athletes at Swimming Championships. Student-athletes who are not a part of
   the championship squad shall not travel to the site of the Conference championship at their own expense
   to compete in time trials to qualify for the NCAA championships. Participation in the Conference
   championship by student-athletes who are not a part of the institution’s championship squad is
   prohibited.

   12.7 Awards. The Conference women’s swimming and diving coaches shall select recipients for all
   women’s swimming and diving awards. Coaches shall not vote for themselves or for any of their student-
   athletes. Should a coach fail to complete the entire ballot, the student-athletes from that team shall not
   be eligible to receive an award. Co-awards for the individual awards are permitted, but there shall not be
   more than two. In the event of a three-way tie for an “Of the Year” award, the coaches shall re-vote
   amongst the three to get to one or two recipients. Additional information regarding awards policies and
   procedures can be found in the Mountain West Women’s Swimming and Diving Championship Handbook.
   (Revised December 2010)

         12.7.1 Coach of the Year. The Swimming Coach of the Year and the Diving Coach of the Year shall
         be voted upon during the week following the NCAA championships. (Revised April 2016; Clarified
         August 2017)

         Only head coaches are viable coach of the year candidates. There shall not be a tie for Mountain
         West Coach of the Year. In the event of a tie, coaches shall re-vote between the two (or more)
         highest vote receivers.

         12.7.2 Outstanding Performer of the Meet. The Outstanding Swimmer, Diver and Freshman of the
         Meet shall be awarded at the conclusion of the Mountain West Women’s Swimming and Diving
         Championships. (Revised April 2016; Clarified August 2017)

         12.7.3 Individual Awards. The Swimmer of the Year and Diver of the Year shall be voted upon during
         the week following the NCAA championships. The Senior Recognition Award shall be based on
         performance during the entire academic year and will be presented at the conclusion of the
         Mountain West Women’s Swimming and Diving Championship. Additional information regarding
         awards policies and procedures can be found in the Mountain West Women’s Swimming and Diving
         Championship Handbook. (Revised October 2001, December 2010, October 2013, April 2016;
         Clarified August 2017)

         12.7.4 All-Conference Team – Individual. The All-Conference team shall consist of the top eight
         finishers in each event. (Revised April 2005)

         12.7.5 All-Conference Team – Relays. The All-Conference team shall consist of the top three
         finishers in each relay. (Revised April 2005)
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   12.8 Meeting of Coaches. There shall be an annual meeting of the women’s swimming and diving coaches
   to be held each year on a date to be determined in consultation with the administrative liaison.
   Attendance by each head coach is mandatory. (Revised December 2010, May 2017, July 2021)
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   Regulation 13
   MEN’S TENNIS
   13.1 General Rules. Men’s tennis Conference competition shall be conducted in accordance with the rules
   of the NCAA, Intercollegiate Tennis Association, the Mountain West Handbook, the Mountain West Men’s
   Tennis Game Management Handbook and the Mountain West Men’s Tennis Championship Handbook.

   13.2 Format. The Conference regular-season champion shall be determined through a single round-robin
   schedule. (Revised February 2013)

   13.3 Championship Tournament. A Conference tournament shall be held to determine the automatic
   representative to the NCAA Division I Men’s Tennis Championship.

        13.3.1 Regular-Season Tiebreaker. Conference tournament seeding shall be based on regular-
        season winning percentage in Conference competition. Additional information regarding tie-
        breaking procedures can be found in the Mountain West Men’s Tennis Championship Handbook.

        13.3.2 Championship Tournament Dates. The men’s tennis championship shall be conducted the
        Wednesday – Friday, two weeks prior to the start of NCAA postseason competition. (Revised
        December 2010, August 2013, May 2018, September 2023)

        13.3.3 Automatic Qualification. The winner of the Conference tournament champion shall be the
        Conference’s automatic representative to the NCAA Division I Men’s Tennis Championship.

        13.3.4 Cancellation of Championship. In the event the Conference championship cannot be
        completed, the Conference regular-season champion shall be the Conference’s automatic
        representative to the NCAA Division I Men’s Tennis Championship. Additional information and
        exceptions regarding the cancellation of the Championship can be found in the Mountain West
        Men’s Tennis Championship Handbook. (Revised April 2004, July 2013)

        13.3.5 Minimum Number of Participants. Member institutions that sponsor the sport of men’s
        tennis shall take a minimum of five participants to the Conference Men’s Tennis Championship.
        Institutions that do not meet the minimum number of participants requirement shall be assessed a
        fine of $5,000 plus the costs associated with the team traveling to the Championship site. The
        Conference office shall determine the cost of traveling to the Championship site. If failure of the
        member institution to bring the minimum number of participants to the Conference Men’s Tennis
        Championship results in a loss to the host institution, the fine shall be used to cover the expenses
        incurred by the host institution. If failure to bring the minimum number of participants to the
        Conference Men’s Tennis Championship does not result in a loss to the host institution, the fine
        shall be included in the Conference championships budget. Waivers of the minimum number of
        participants rule may be granted by the Commissioner.

        13.3.6 Championship Game Ball. The official game ball for all Championship contests shall be
        determined by the Conference.

        13.3.7 Pre-Championship Meeting. A pre-championship conference call shall be held prior to the
        start of the Championship. The head coaches of all participating institutions are required to
        participate in the conference call. A head coach who fails to participate in the mandatory pre-
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         championship conference call shall have written notification sent to their director of athletics and
         institutional sport administrator. If a head coach provides the Conference office advanced
         notification of their absence from the conference call, the Commissioner (or designee) may approve
         of a substitute. Conference office staff and an institutional representative also shall participate in
         the conference call. (Adopted October 2006; Revised May 2017)

   13.4 Playing Rules. All Conference men’s tennis contests shall be conducted according to the rules of the
   NCAA and ITA except as modified by Conference regulations.

   13.5 Competition Roster. Regulations for competition rosters are set forth in Regulation 1.14.

   13.6 Awards. The Conference men’s tennis coaches shall select recipients for all men’s tennis awards.
   Coaches shall not vote for themselves or any of their student-athletes for any of the awards. Should a
   coach fail to complete the entire ballot, the student-athletes from that team shall not be eligible to receive
   an award. Additional information regarding awards policies and procedures can be found in the Mountain
   West Men’s Tennis Championship Handbook.

         13.6.1 All-Conference Team. The All-Conference team shall consist of 12 singles student-athletes
         and six doubles teams selected based on Conference and non-conference results. (Revised May
         2005)

         13.6.2 Individual Awards. Individual awards shall be provided to the Coach of the Year, Player of
         the Year, and the Freshman of the Year.

         Only head coaches are viable coach of the year candidates. There may not be a tie for Mountain
         West Coach of the Year. In the event of a tie, coaches shall re-vote between the two (or more)
         highest vote receivers. Co-awards for the individual student-athlete awards are permitted, but there
         must not be more than two. In the event of a three-way tie for an “Of the Year” award, the coaches
         shall re-vote amongst the three to get to one or two recipients.

         To be considered for the Player of the Year, the recipient shall have been a first-team All-Conference
         selection. To be considered for Freshman of the Year, the recipient shall have been the highest-
         ranking freshman on any All-Conference team. (Clarified August 2017)

         13.6.3 All-Tournament Team. The all-tournament team shall consist of 6 singles players and three
         doubles teams. A tournament MVP shall be selected from among the all-tournament team
         members. (Revised September 2023)

   13.7 Meeting of the Coaches. There shall be an annual conference call of the men’s tennis coaches to be
   held each year on a date to be determined in consultation with the administrative liaison. Any changes
   shall be subject to approval by the Joint Council. Participation by each head coach is mandatory. (Revised
   July 2006, July 2008, July 2012, July 2021)
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   Regulation 14
   WOMEN’S TENNIS
   14.1 General Rules. Women’s tennis Conference competition shall be conducted in accordance with the
   rules of the NCAA, Intercollegiate Tennis Association, the Mountain West Handbook, the Mountain West
   Women’s Tennis Game Management Handbook and the Mountain West Women’s Tennis Championship
   Handbook.

   14.2 Format. The Conference regular-season champion shall be determined through a single round-robin
   pod schedule. (Revised July 2015, November 2018)

   14.3 Championship Tournament. A Conference tournament shall be held to determine the automatic
   representative to the NCAA Division I Women’s Tennis Championship.

        14.3.1 Championship Tournament Seeding. Conference tournament seeding shall be based on
        Conference winning percentage. Additional information regarding seeding can be found in the
        Mountain West Women’s Tennis Championship Handbook. (Revised February 2014, July 2014,
        November 2019)

        14.3.2 Championship Tournament Dates. The women’s tennis championship shall be conducted
        the Wednesday – Saturday, two weeks prior to the start of NCAA postseason competition. (Revised
        December 2010, August 2013, November 2018, September 2023

        14.3.3 Automatic Qualification. The Conference tournament champion shall be the Conference’s
        automatic representative to the NCAA Division I Women’s Tennis Tournament.

        14.3.4 Cancellation of Championship. In the event the Conference championship cannot be
        completed, the number one seeded team at the Conference championship shall be the
        Conference’s automatic representative to the NCAA Women’s Tennis tournament. Additional
        information and exceptions regarding the cancellation of the Championship can be found in the
        Mountain West Women’s Tennis Championship Handbook. (Revised April 2004, July 2013)

        14.3.5 Minimum Number of Participants. Member institutions that sponsor the sport of women’s
        tennis shall take a minimum of five participants to the Conference Women’s Tennis Championship.
        Institutions that do not meet the minimum number of participants requirement shall be assessed a
        fine of $5,000 plus the costs associated with the team traveling to the Championship site. The
        Conference office shall determine the cost of traveling to the Championship site. If failure of the
        member institution to bring the minimum number of participants to the Conference Women’s
        Tennis Championship results in a loss to the host institution, the fine shall be used to cover the
        expenses incurred by the host institution. If failure to bring the minimum number of participants to
        the Conference Women’s Tennis Championship does not result in a loss to the host institution, the
        fine shall be included in the Conference championships budget. Waivers of the minimum number
        of participants rule may be granted by the Commissioner.

        14.3.6 Championship Game Ball. The official game ball for all Championship contests shall be
        determined by the Conference.
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         14.3.7 Pre-Championship Meeting. A pre-championship conference call shall be held prior to the
         start of the Championship. The head coaches of all participating institutions are required to
         participate in the conference call. A head coach who fails to participate in the mandatory pre-
         championship conference call shall have written notification sent to their director of athletics and
         institutional sport administrator. If a head coach provides the Conference office advanced
         notification of their absence from the conference call, the Commissioner (or designee) may approve
         of a substitute. Conference office staff and an institutional representative also shall participate in
         the conference call. (Adopted October 2006; Revised May 2017)

   14.4 Playing Rules. All Conference women’s tennis contests shall be conducted according to the rules of
   the NCAA and ITA except as modified by Conference regulations.

   14.5 Competition Roster. Regulations for competition rosters are set forth in Regulation 1.14.

   14.6 Awards. The Conference women’s tennis coaches shall select recipients for all women’s tennis
   awards. Coaches shall not vote for themselves or any of their student-athletes for any of the awards.
   Should a coach fail to complete the entire ballot, the student-athletes from that team shall not be eligible
   to receive an award. Additional information regarding awards policies and procedures can be found in the
   Mountain West Women’s Tennis Championship Handbook.

         14.6.1 All-Conference Team. The All-Conference team shall consist of 16 singles student-athletes
         and eight doubles teams selected based on Conference and nonconference results. (Revised May
         2005, June 2007, June 2013)

         14.6.2 Individual Awards. Individual awards shall be provided to the Coach of the Year, Player of
         the Year and Freshman of the Year. (Revised May 2004)

         Only head coaches are viable coach of the year candidates. There may not be a tie for Mountain
         West Coach of the Year. In the event of a tie, coaches shall re-vote between the two (or more)
         highest vote receivers. Co-awards for the individual student-athlete awards are permitted, but there
         must not be more than two. In the event of a three-way tie for an “Of the Year” award, the coaches
         shall re-vote amongst the three to get to one or two recipients.

         To be considered for the Player of the Year, the recipient shall have been a first-team All-Conference
         selection. To be considered for Freshman of the Year, the recipient shall have been the highest-
         ranking freshman on any All-Conference team. (Clarified August 2017)

         14.6.3 All-Tournament Team. The all-tournament team shall consist of 6 singles players and three
         doubles teams. A tournament MVP shall be selected from among the all-tournament team
         members. (Revised September 2023)


   14.7 Meeting of the Coaches. There shall be an annual meeting of the women’s tennis coaches to be held
   each year on a date to be determined in consultation with the administrative liaison. Any changes shall
   be subject to approval by the Joint Council. Participation by each head coach is mandatory. (Revised July
   2006, July 2008, July 2012, July 2014, July 2021)
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   Regulation 15
   MEN’S AND WOMEN’S TRACK AND FIELD
   15.1 General Rules. Conference track and field competition shall be conducted in accordance with the
   rules of the NCAA, the Mountain West Handbook, the Mountain West Indoor Track and Field
   Championships Handbook and the Mountain West Outdoor Track and Field Championships Handbook.

   15.2 Conference Schedule. There shall be no required regular-season Conference schedule in the sports
   of men’s and women’s track and field.

   15.3 Championship Determination. The team and individual Conference champion in men’s and women’s
   track and field shall be determined at a Conference championship meet. Indoor track and field and
   outdoor track and field shall be considered separate sports and a Conference championship shall be held
   in each sport.

   15.4 Conference Championship.

        15.4.1 Date and Site.

              15.4.1.1 Indoor. The Conference Indoor Track and Field Championships shall be conducted
              the Thursday – Saturday two weeks prior to the start of NCAA postseason competition.
              Additional information regarding hosting requirements can be found in the Men’s and
              Women’s Indoor Track and Field Championships Hosting Guidelines.

              15.4.1.2 Outdoor. The Conference Outdoor Track and Field Championships shall be
              conducted the Thursday – Saturday two weeks prior to the start of NCAA postseason
              competition. Additional information regarding hosting requirements can be found in the
              Men’s and Women’s Outdoor Track and Field Championships Hosting Guidelines. (Revised
              September 2023)

        15.4.2 Minimum Number of Participants.

              15.4.2.1 Indoor. Member institutions that sponsor the sport of indoor track and field shall
              take a minimum of 14 participants to the Conference Indoor Track and Field Championships.
              Institutions that do not meet the minimum number of participants requirement shall be
              assessed a fine of $5,000 plus the costs associated with the team traveling to the
              Championships site. The Conference office shall determine the cost of traveling to the
              Championships site. If failure of the member institution to bring the minimum number of
              participants to the Conference Indoor Track and Field Championships results in a loss to the
              host institution, the fine shall be used to cover the expenses incurred by the host institution.
              If failure to bring the minimum number of participants to the Conference Indoor Track and
              Field Championships does not result in a loss to the host institution, the fine shall be included
              in the Conference championships budget. Waivers of the minimum number of participants
              rule may be granted by the Commissioner.

              15.4.2.2 Outdoor. Member institutions that sponsor the sport of outdoor track and field shall
              take a minimum of 14 participants to the Conference Outdoor Track and Field Championships.
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               Institutions that do not meet the minimum number of participants requirement shall be
               assessed a fine of $5,000 plus the costs associated with the team traveling to the
               Championships site. The Conference office shall determine the cost of traveling to the
               Championships site. If failure of the member institution to bring the minimum number of
               participants to the Conference Outdoor Track and Field Championships results in a loss to the
               host institution, the fine shall be used to cover the expenses incurred by the host institution.
               If failure to bring the minimum number of participants to the Conference Outdoor Track and
               Field Championships does not result in a loss to the host institution, the fine shall be included
               in the Conference championships budget. Waivers of the minimum number of participants
               rule may be granted by the Commissioner.

         15.4.3 Pre-Championship Meeting. A mandatory pre-championship meeting shall be conducted on
         Thursday two hours prior to the start of combined events in indoor and the evening prior to the
         start day of combined events in outdoor track. Each institution shall have at least one representative
         participate in the meeting. Should an institution fail to participate in the mandatory pre-
         championship meeting, the head coach shall have written notification sent to their director of
         athletics and institutional sport administrator. Conference office staff and an institutional
         representative shall also participate in the meeting. (Adopted October 2006; Revised February 2008,
         April 2009, January 2012, September 2015, May 2017, September 2023)

   15.5 Playing Rules. The Conference championships shall be conducted according to the NCAA Men’s and
   Women’s Track & Field/Cross Country Rules except as modified by Conference regulations.

   15.6 Competition Roster. Regulations for competition rosters are set forth in Regulation 1.14.

   15.7 Awards.

         15.7.1 Coach of the Year. The Coach of the Year shall be voted on by the coaches at the conclusion
         of the Championships. A coach shall not vote for himself or herself. Only head coaches are viable
         coach of the year candidates. There may not be a tie for Mountain West Coach of the Year. In the
         event of a tie, coaches shall re-vote between the two (or more) highest vote receivers. (Clarified
         August 2017)

         15.7.2 Outstanding Performer of the Indoor or Outdoor Track and Field Championships. The
         Outstanding Performer of the Indoor or Outdoor Track and Field Championships shall be voted on
         by the coaches at the conclusion of the Championships. In the event of a tie, the coaches shall re-
         vote between the two (or more) highest vote receivers. (Revised February 2013, November 2019,
         July 2021)

         15.7.3 Student-Athlete of the Year. The Student-Athlete of the Year shall be selected by Mountain
         West track and field coaches. Should a coach fail to complete the entire ballot, the student-athletes
         from that team shall not be eligible to receive an award. Co-awards for the individual student-
         athlete awards are permitted, but there shall not be more than two. In the event of a three-way tie
         for an “Of the Year” award, coaches shall re-vote between the three to get to one or two
         recipients. Additional information regarding awards policies and procedures can be found in the
         applicable Mountain West Indoor Track and Field Championships Handbook or Mountain West
         Outdoor Track and Field Championships Handbook. (Revised December 2004, January 2007;
         Clarified August 2017)
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        15.7.4 All-Conference Team. The All-Conference team shall consist of the top three finishers in each
        event.

        15.7.5 All-Conference Team – Relays. The All-Conference team shall consist of the top three
        finishers in each relay.

   15.8 Meeting of Coaches. There shall be an annual meeting of the men’s and women’s track and field
   coaches to be held each year on a date to be determined in consultation with the administrative liaison.
   Any changes shall be subject to approval by the Joint Council. Attendance by each head coach is
   mandatory. (Revised July 2006, July 2012, November 2014, July 2021)
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   Regulation 16
   WOMEN’S VOLLEYBALL
   16.1 General Rules. Women’s volleyball Conference competition shall be conducted in accordance with
   the rules of the NCAA, the Mountain West Handbook and the Mountain West Women’s Volleyball Game
   Management Handbook.

   16.2 Format. The Conference regular-season champion shall be determined through a modified double
   round-robin schedule.

   16.3 Regular-Season Champion. The regular-season champion shall be the institution with the highest
   regular-season winning percentage in Conference competition. In the event of a tie, there will be co-
   champions.

   16.4 Championship Tournament. A six-team single elimination Conference tournament shall be
   conducted to determine the automatic representative to the NCAA Division I Women’s Volleyball
   Championship. (Revised March 2007, July 2021)

          16.4.1 Minimum Number of Participants. Member institutions that sponsor the sport of women’s
          volleyball shall take a minimum of six participants to the Conference Women’s Volleyball
          Championship. Institutions that do not meet the minimum number of participants requirement
          shall be assessed a fine of $5,000 plus the costs associated with the team traveling to the
          Championship site. The Conference office shall determine the cost of traveling to the
          Championship site. If failure of the member institution to bring the minimum number of
          participants to the Conference Women’s Volleyball Championship results in a loss to the host
          institution, the fine shall be used to cover the expenses incurred by the host institution. If failure
          to bring the minimum number of participants to the Conference Women’s Volleyball
          Championship does not result in a loss to the host institution, the fine shall be included in the
          Conference championships budget. Waivers of the minimum number of participants rule may be
          granted by the Commissioner.

   16.5 Automatic Qualifier. The Conference tournament champion shall be the automatic representative
   to the NCAA Division I Women’s Volleyball Championship. Other Conference teams may accept invitations
   to participate in postseason tournaments only when conducted or approved by the NCAA. (Revised
   March 2007, July 2021)

   16.6 Cancellation of Championship. In the event the Conference championship cannot be started or, if
   started, cannot be completed, the Conference regular season champion shall represent the Conference
   as the automatic bid representative to the NCAA Division I Women’s Volleyball Championship. In the event
   two or more teams tied for the regular-season championship, Tournament Seeding will be used to
   determine the Conference’s automatic bid representative to the NCAA Division I Women’s Volleyball
   Championship. (Revised July 2021)

   16.7 Tournament Seeding. Tournament Seeding shall be based on regular season winning percentage in
   Conference competition. Additional information regarding seeding policies can be found in the Mountain
   West Women’s Volleyball Game Management Handbook and the Mountain West Women’s Volleyball
   Championship Handbook.
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   16.8 Playing Rules. All Conference volleyball contests shall be conducted according to NCAA Women’s
   Volleyball Rules except as modified by Conference regulations.

   16.9 Scheduling. To continue to improve institutional and conference RPI, each team shall schedule and
   play no non-Division I opponents and no more than two provisional or reclassifying Division I opponents
   per year.

         16.9.1 Penalty – Exceeding Maximum Number of Non-Conference Opponents. The institution shall
         be assessed a penalty of $50,000 per occurrence if a team schedules and plays in a given year: (1)
         any non-Division I opponents, and/or (2) more than two provisional or reclassifying Division I
         opponents per year. (Revised October 2004, August 2004)

   16.10 Complimentary Admissions. Twenty-four complimentary tickets shall be provided for the visiting
   team. The official party size entering without tickets shall be 18 individuals.

         16.10.1 Ticket Distribution. Complimentary tickets shall be distributed according to the policies of
         the host institution’s ticket office. These policies must be included in the event management
         information.

   16.11 Competition Roster. Regulations for competition rosters are set forth in Regulation 1.14.

   16.12 Video/Scouting Report Exchange. The dissemination of game video and/or scouting information
   on member institutions to non-conference institutions is prohibited. Only representatives of the
   competing teams may record the contest. Exchanging video among Conference teams shall be governed
   by the policies outlined in the Mountain West Women’s Volleyball Game Management Handbook.

         16.12.1 Violations of Video/Scouting Report Exchange Policy. A member institution that exchanges
         video or scouting reports in the sport of volleyball with institutions outside the Conference shall be
         subject to the following:

               a. First Offense. Private reprimand of the head coach and the individual who sent the
                  video/report to the institution outside the Conference.

               b. Second Offense. Written notice from the Conference of the second offense. A copy of the
                  notice shall be kept in the personnel file of the individual in the office of the institution’s
                  director of athletics.

               c. Third Offense. The Commissioner shall suspend the head coach for one contest. Such
                  suspension shall occur immediately following receipt of notice by the Commissioner.

   16.13 Awards. The Conference volleyball coaches shall select recipients for all awards. Coaches shall not
   vote for themselves or for their own student-athletes. Should a coach fail to complete the entire ballot,
   the student-athletes from that team shall not be eligible to receive an award. Additional information
   regarding awards policies and procedures can be found in the Mountain West Women’s Volleyball Game
   Management Handbook. (Revised February 2016)

         16.13.1 All-Conference Team. The All-Conference Team shall consist of 18 student-athletes. Each
         student-athlete shall receive an award from the Conference. (Revised February 2007, April 2014)
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        16.13.2 All-Conference Honorable Mention. Up to six student-athletes may receive All-Conference
        Honorable Mention recognition. (Revised April 2014)

        16.13.3 Individual Awards. Individual awards shall be provided to the Coach of the Year, Player of
        the Year, Newcomer of the Year and Freshman of the Year.

        Head coaches shall be the only viable coach of the year candidates. There may not be a tie for
        Mountain West Coach of the Year. In the event of a tie, coaches shall re-vote between the two (or
        more) highest vote receivers. Co-awards for the individual student-athlete awards are permitted,
        but there must not be more than two. In the event of a three-way tie for an “Of the Year” award,
        the coaches shall re-vote amongst the three to get to one or two recipients.

        To be considered for the Player of the Year, the recipient shall have been a first-team All-Conference
        selection. To be considered for Freshman and/or Newcomer of the Year, the recipient shall have
        been the highest-ranking freshman and/or newcomer on any All-Conference team. (Revised
        January 2010; Clarified August 2017)

        16.13.4 All-Tournament Team. The all-tournament team shall consist of 8 players. A tournament
        MVP shall be selected from among the 8 all-tournament team members. (April 2022)


   16.11 Meetings of Coaches. There shall be an annual meeting of the women’s volleyball coaches to be
   held each year on a date to be determined in consultation with the administrative liaison. Any changes
   shall be subject to approval by the Joint Council. Attendance by each head coach is mandatory (Revised
   November 2018).
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                                                 APPENDICES


   Appendix A – Chair of the Board of Directors Rotation                           Appendix A-1

   Appendix B – Joint Council Executive Committee Rotation                         Appendix B-1

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   Appendix D – Recognition Committee Composition                                  Appendix D-1

   Appendix E – Sport Committees                                                   Appendix E-1

   Appendix F – National Letter of Intent Signing Dates                            Appendix F-1

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   Appendix I – Staff Holiday Calendar                                             Appendix I-1
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                                                  APPENDIX A

                                        Chair of the Board of Directors


   The President of a Mountain West (MW) institution shall serve as the chair of the Board of Directors and
   Board of Directors Executive Committee each academic year and shall rotate as listed below. A president
   new to the MW shall not serve as chair of the Board of Directors until his or her respective institution has
   been a member of the MW for at least one academic year. A newly appointed president shall not serve
   as chair of the Board of Directors until at least one academic year has passed since the beginning of his or
   her tenure. If the new president’s tenure begins during a year in which the former president was
   scheduled to rotate onto the Board of Directors Executive Committee (and ultimately into the Board of
   Directors chair position), the Board of Directors shall adjust the rotation accordingly to allow the new
   president sufficient time to acclimate. In the event the current chair is unable to complete his or her term
   as chair, the incoming chair shall move into the chair position and the remainder of the rotation shall be
   moved upward for that academic year. At the conclusion of that academic year, the Board of Directors
   shall review the Board of Directors Executive Committee composition and the chair position to determine
   the Board of Directors Executive Committee and chair rotation for the next and subsequent academic
   years.


   2024-2026:      UNLV
   2026-2028:      Wyoming
   2028-2030:      Air Force
   2030-2032:      Colorado State
   2032-2034:      Nevada
   2034-2036:      Boise State
   2036-2038:      San Diego State
   2038-2039:      Fresno State
   2039-2040:      Utah State
   2040-2042:      San José State
   2042-2044       New Mexico

   Committee terms shall be a minimum of two years.

   Effective July 1, 2024, the composition of MW Board of Directors committees is as follows:


    Executive Committee                                    Legal and Finance Committee
    Keith Whitfield – Chair                                Amy Parsons
    Marlene Tromp – NCAA Board Representative              Elizabeth Cantwell
    Edward Seidel – Incoming Chair                         David Lassner
    Garnett Stokes – Immediate Past Chair                  Adela de la Torre


    Strategic Vision Committee
    Cynthia Teniente-Matson
    Tony Bauernfeind
    Brian Sandoval
    Saúl Jiménez-Sandoval
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                                            APPENDIX B

                          Joint Council Executive Committee Rotation



   2024-25          FAR – Boise State
                    AD – Wyoming
                    SWA – Nevada

   2025-26          FAR – Nevada
                    AD – Air Force
                    SWA – San José State

   2026-27          FAR – San José State
                    AD – Boise State
                    SWA – Fresno State

   2027-28          FAR – Utah State
                    AD – Colorado State
                    SWA – Boise Sate

   2028-29          FAR – UNLV
                    AD – Fresno State
                    SWA – San Diego State

   2029-30          FAR – Wyoming
                    AD – New Mexico
                    SWA – Utah State

   2030-31          FAR – San Diego State
                    AD – Nevada
                    SWA – Air Force

   2031-32          FAR – Air Force
                    AD – Utah State
                    SWA – Wyoming

   2032-33          FAR – New Mexico
                    AD – San Diego State
                    SWA – Colorado State
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                                                   APPENDIX C

                                                   Committees


   Joint Council Executive Committee                 (Rule 1.3.7.1)                Institution

   FAR       Roger Munger (Chair)                                                  BSU
   AD        Tom Burman                                                            WYO
   SWA       Casey Stangel                                                         NEV

             Conference Liaisons – Bret Gilliland/Julie Owen

   Directors of Athletics Competition Committee      (Rule 1.3.7.3.5)              Institution

   Not Currently Active

             Conference Liaison – Bret Gilliland

   Directors of Athletics Media Rights Committee (Rule 1.3.7.3.6)                  Institution

   Not Currently Active

             Conference Liaison – Bret Gilliland


   Recognition Committee                             (Rule 1.3.7.6)                Institution

   Jeff Konya                                                                      SJSU
   Carrie Coll                                                                     FS
   TBD                                                                             USU
   Roger Munger                                                                    BSU
   Erick Harper                                                                    UNLV
   Taylor Stuemky                                                                  WYO
   Kyle Saunders                                                                   CSU

             Conference Liaison – Chris Brown


   Student-Athlete Advisory Committee                (Rule 1.3.7.7)                Institution

   Alexis Odom                                                                     AFA
   Milahnie Perry

   Annie Buffolino                                                                 BSU
   Maggie Shirazi
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   Giles Pooler
   Elijah Scott*                                                               CSU

   Ella Rud                                                                    FS
   Garrett Otrinski

   Hannah Hartley (NCAA Division I SAAC Representative)                        NEV
   Jasmine Harris

   Georgi Samaha                                                               UNM
   Sophia Zamarripa

   Bright Thongsom                                                             SDSU
   Hannah Waller

   Kayla Fortenberry                                                           SJSU
   TBD

   Pilar Cohen                                                                 UNLV
   Erica Collins

   Kaylee Erickson                                                             USU
   Joshua Hartvigsen

   Allyson Fertig                                                              WYO
   Hannah Giles

   Paul Mitchell (Mountain West Joint Council Liaison)                         NEV

             *MW SAAC Chair
             ^MW SAAC Vice-Chair

             Conference Liaison – Andrew Simms/Jessica FitzWilliam
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                                     APPENDIX D

                            Recognition Committee Rotation


                                       2024-25
   UNLV AD                        WYO SWA                           CSU FAR
   BSU AD                         NEV SWA                           UNM FAR

                                       2025-26
   BSU AD                         NEV SWA                           UNM FAR
   USU AD                         AFA SWA                           FS FAR

                                       2026-27
   USU AD                         AFA SWA                           FS FAR
   CSU AD                         UNM SWA                           SDSU FAR

                                       2027-28
   CSU AD                         UNM SWA                           SDSU FAR
   WYO AD                         BSU SWA                           NEV FAR

                                       2028-29
   WYO AD                         BSU SWA                           NEV FAR
   FS AD                          SDSU SWA                          SJSU FAR

                                       2029-30
   FS AD                          SDSU SWA                          SJSU FAR
   AFA AD                         CSU SWA                           UNLV FAR

                                        2030-31
   AFA AD                         CSU SWA                           UNLV FAR
   NEV AD                         SJSU SWA                          USU FAR

                                        2031-32
   NEV AD                         SJSU SWA                          USU FAR
   UNM AD                         UNLV SWA                          WYO FAR
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                                                 APPENDIX E

                                              Sport Committees

   Baseball                                                               Institution
   Mike Kazlausky                                                         Air Force
   Ryan Overland                                                          Fresno State
   Jake McKinley                                                          Nevada
   Tod Brown                                                              New Mexico
   Shaun Cole                                                             San Diego State
   Brad Sanfilippo                                                        San José State
   Stan Stolte                                                            UNLV
   Nathan Choate                                                          Washington State
           Conference Liaison – Sean Harris
           Joint Council Administrator – Jenny Bramer

   Men’s Basketball                                                       Institution
   Joe Scott                                                              Air Force
   Leon Rice                                                              Boise State
   Niko Medved                                                            Colorado State
   Vance Walberg                                                          Fresno State
   Steve Alford                                                           Nevada
   Richard Pitino                                                         New Mexico
   Brian Dutcher                                                          San Diego State
   Tim Miles                                                              San José State
   Kevin Kruger                                                           UNLV
   Danny Sprinkle                                                         Utah State
   Jeff Linder                                                            Wyoming
            Conference Liaison – Niko Roberts
            Joint Council Administrator – John David Wicker

   Women’s Basketball                                                     Institution
   Stacy McIntyre                                                         Air Force
   Gordy Presnell                                                         Boise State
   Ryun Williams                                                          Colorado State
   Jaime White                                                            Fresno State
   Amanda Levens                                                          Nevada
   Mike Bradbury                                                          New Mexico
   Stacie Terry-Hutson                                                    San Diego State
   April Phillips                                                         San José State
   Lindy La Rocque                                                        UNLV
   Kayla Ard                                                              Utah State
   Heather Ezell                                                          Wyoming
           Conference Liaison – Julie Owen
           Joint Council Administrator – Stephanie Rempe

   Football                                                               Institution
   Troy Calhoun                                                           Air Force
   Spencer Danielson                                                      Boise State
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   Jay Norvell                                                               Colorado State
   Tim Skipper                                                               Fresno State
   Timmy Chang                                                               Hawaii
   Jeff Choate                                                               Nevada
   Bronco Mendenhall                                                         New Mexico
   Sean Lewis                                                                San Diego State
   Ken Niumatalolo                                                           San José State
   Barry Odom                                                                UNLV
   Nate Dreiling                                                             Utah State
   Jay Sawvel                                                                Wyoming
           Conference Liaison – John Sullivan
           Joint Council Administrator – Tom Burman

   Men’s Golf                                                                Institution
   Tyler Goulding                                                            Air Force
   David Trainor                                                             Boise State
   Luke Vivolo                                                               Colorado State
   Chad Spencer                                                              Fresno State
   Trake Carpenter                                                           Nevada
   Jake Harrington                                                           New Mexico
   Ryan Donovan                                                              San Diego State
   John Kennaday                                                             San José State
   Jean-Paul Hebert                                                          UNLV
   Dean Johansen                                                             Utah State
   Joseph Jensen                                                             Wyoming
           Conference Liaison – Sean Harris
           Joint Council Administrator – Laura Alexander

   Women’s Golf                                                              Institution
   Kailin Downs                                                              Boise State
   Laura Cilek                                                               Colorado State
   Lisa Ferrero                                                              Fresno State
   Kathleen Takaishi                                                         Nevada
   Jill Trujillo                                                             New Mexico
   Lauren Dobashi                                                            San Diego State
   Dana Dormann                                                              San José State
   Amy Bush-Herzer                                                           UNLV
   Josey Stender                                                             Wyoming
              Conference Liaison – Sean Harris
              Joint Council Administrator – Amy Beggin

   Women’s Gymnastics                                                        Institution
   Jennifer Green                                                            Air Force
   Tina Bird                                                                 Boise State
   Joanne Bowers                                                             San José State
   Kristin White                                                             Utah State
            Conference Liaison – Macy Gilliland
            Joint Council Administrator – Jennifer Block/Christina Van Tol
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   Women’s Soccer                                                    Institution
   Laura Busby                                                       Air Force
   Jim Thomas                                                        Boise State
   Keri Sanchez                                                      Colorado College
   Keeley Hagen                                                      Colorado State
   Brian Zwaschka                                                    Fresno State
   Vanessa Valentine                                                 Nevada
   Heather Dyche                                                     New Mexico
   Mike Friesen                                                      San Diego State
   Tina Estrada                                                      San José State
   Jenny Ruiz Williams                                               UNLV
   Manny Martins                                                     Utah State
   Josh Purdum                                                       Wyoming
           Conference Liaison – Macy Gilliland
           Joint Council Administrator – Jen Block

   Softball                                                          Institution
   Justin Shults                                                     Boise State
   Jen Fisher                                                        Colorado State
   Stacy May-Johnson                                                 Fresno State
   Victoria Hayward                                                  Nevada
   Nicole Dickson                                                    New Mexico
   Stacey Nuveman Deniz                                              San Diego State
   Tammy Lohmann                                                     San José State
   Kristie Fox                                                       UNLV
   Todd Judge                                                        Utah State
            Conference Liaison – Macy Gilliland
            Joint Council Administrator – Shalini Shanker

   Women’s Swimming and Diving                                       Institution
   Colleen Murphy                                                    Air Force
   Chris Woodard                                                     Colorado State
   Jeanne Fleck                                                      Fresno State
   Brendon Bray                                                      Nevada
   Naya Higashijima                                                  New Mexico
   Mike Shrader                                                      San Diego State
   Sage Hopkins                                                      San José State
   Ben Loorz                                                         UNLV
   Russell Whitaker                                                  Washington State
   Dave Denniston                                                    Wyoming
           Conference Liaison – Macy Gilliland
           Joint Council Administrator – Laura Alexander

   Men’s Tennis                                                      Institution
   Evan Urbina                                                       Air Force
   Luke Shields                                                      Boise State
   Sylvain Malroux                                                   Nevada
   Rob Bareford                                                      New Mexico
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   Gene Carswell                                                         San Diego State
   Andy Jackson                                                          UNLV
   Aaron Paajanen                                                        Utah State
          Conference Liaison – Lance Pedersen
          Joint Council Administrator – Casey Stangel

   Women’s Tennis                                                        Institution
   Taylor Hollander                                                      Air Force
   Beck Roghaar                                                          Boise State
   Mai-Ly Tran                                                           Colorado State
   Denise Dy                                                             Fresno State
   Guillaume Tonelli                                                     Nevada
   Vicky Maes                                                            New Mexico
   Peter Mattera                                                         San Diego State
   Chad Skorupka                                                         San José State
   Kevin Cory                                                            UNLV
   Veronika Golanova                                                     Utah State
   Dean Clower                                                           Wyoming
           Conference Liaison – Lance Pedersen
           Joint Council Administrator – Christina Van Tol

   Men’s and Women’s Track and Field/Cross Country                       Institution
   Ryan Cole (T&F/CC)                                                    Air Force
   Pat McCurry (T&F/CC)                                                  Boise State
   Brian Bedard (T&F)                                                    Colorado State
   Kelly Hart (CC)                                                       Colorado State
   Jason Drake (T&F/CC)                                                  Fresno State
   Shantel Twiggs (T&F)                                                  Nevada
   Kirk Elias (CC)                                                       Nevada
   Darren Gauson (T&F/CC)                                                New Mexico
   Shelia Burrell (T&F/CC)                                               San Diego State
   Charles Ryan (T&F)                                                    San José State
   Charmaine Darden (CC)                                                 San José State
   Carmelita Jeter (T&F/CC)                                              UNLV
   Artie Gulden (T&F/CC)                                                 Utah State
   Bryan Berryhill (T&F)                                                 Wyoming
   Scott Dahlberg (CC)                                                   Wyoming
            Conference Liaison – Sean Harris (T&F) Lance Pedersen (CC)
          Joint Council Administrator – Mallory Poole/Taylor Stuemky

   Volleyball                                                            Institution
   Macey Donathan                                                        Air Force
   Shawn Garus                                                           Boise State
   Emily Kohan                                                           Colorado State
   Leisa Rosen                                                           Fresno State
   Shannon Wyckoff-McNeal                                                Nevada
   Jon Newman-Gonchar                                                    New Mexico
   Brent Hilliard                                                        San Diego State
   Todd Kress                                                            San José State
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   Malia Shoji                                                       UNLV
   Rob Neilson                                                       Utah State
   Kaylee Prigge                                                     Wyoming
           Conference Liaison – Sean Harris
           Joint Council Administrator – Carrie Coll
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                                                      APPENDIX F

     National Letter of Intent Signing Dates for Division I Student-Athletes Signing 2024-25 and Enrolling
                                                    2025-26



           Sport(s)                                    Initial Signing Date   Final Signing Date

   Division I Basketball (Early Period)                November 13, 2024      November 20, 2024
   Division I Basketball (Regular Period)              April 16, 2025         May 21, 2025
   Division I Football (Early Period)                  December 4, 2024       December 6, 2024
   Division I and II Football (Midyear JC Transfer)    December 4, 2024       January 15, 2025
   Division I and II Football (Regular Period)         February 5, 2025
   Division I:                                                                April 1, 2025
   Division II:                                                               August 1, 2025
   All Other Division I and II Sports                  November 13, 2024      August 1, 2025
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                                          APPENDIX G

                                  MOUNTAIN WEST CHAMPIONSHIPS

                                            2024-25


    Date               Sport                      Location          Host

                                                  Colorado
    November 1         M/W Cross Country                            Air Force
                                                  Springs, CO
    November 3 -
                       Women’s Soccer             San Diego, CA     San Diego State
    November 9

    November 27-30     Women’s Volleyball         Las Vegas, NV     UNLV

    December 6         Football Championship      TBD               TBD

                         Women’s Swimming &                         MW/University of
    February 19-22                                Houston, TX
                         Diving                                     Houston
                         M/W Indoor Track &       Albuquerque,
    February 27- March 1                                            New Mexico
                         Field                    NM

    March 9-15         M/W Basketball             Las Vegas, NV     MW/TMC

    March 22           Women’s Gymnastics         San Jose, CA      San Jose State

                                                  Rancho Mirage,
    April 15-17        Women’s Golf                                 MW/Mission Hills CC
                                                  CA
                                                                    MW Darling Tennis
    April 23-26        Women’s Tennis             Las Vegas, NV
                                                                    Center
                                                                    MW Darling Tennis
    April 23-25        Men’s Tennis               Las Vegas, NV
                                                                    Center
                                                                    MW/Emerald Valley
    April 25-27        Men’s Golf                 Eugene, OR
                                                                    Golf Club
                       M/W Outdoor Track &
    May 9-11                                      Clovis, CA        Fresno State
                       Field

    May 8-10           Softball                   San Diego, CA     San Diego State

    May 23-26          Baseball                   Mesa, AZ          MW/Sloan Park
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                                                   APPENDIX H

                                        Air Force Academy Third Verse


   Mountain West Policy Regarding Air Force Academy Third Verse

   All teams visiting the Air Force Academy in the following Mountain West sponsored sports are
   encouraged to participate as outlined below in the Third Verse ceremony at the conclusion of the
   contest. During its December 10, 2018, meeting, the MW Board of Directors reaffirmed its support for
   the Air Force Academy Third Verse (which was originally endorsed by the Mountain West Joint Council).

   Basketball (Men’s), Basketball (Women’s), Football, Soccer (Women’s) & Volleyball –
   Air Force team will form and hold hands in front of the Cadet Drum and Bugle Corp (band) or, if the
   band is not present, in front of the Air Force cheering section.

   Swimming & Diving (Women’s) – Air Force team will line-up on the Western bulkhead of the
   natatorium.

   Tennis (Men’s), Tennis (Women’s) – Air Force team will line-up on Court Two.

   At the present time, teams in the sports of baseball, men’s and women’s track and field, men’s and
   women’s cross country and men’s and women’s golf do not sing the Third Verse after competitions.

   In each case where the Third Verse is played, the visiting team should line up behind the Air Force team
   (or in an appropriate location if that is not possible) while the song is being played/sung. Information
   will be provided by Air Force in its game management documents and an Air Force representative will
   work with visiting teams to further explain the process and specifics for each sport.

   After the song is finished, the Air Force team will raise arms as a final salute to those brave men and
   women who have fallen in the line of duty.

   [NOTE: The Air Force football team is the only team which participates in the singing of the Third Verse
   at away games. When this occurs, fellow Conference teams are encouraged to take the same approach
   as they would for a game at the Air Force Academy. The respective administrators should communicate
   in advance to confirm plans – including if there is a home team fight song/alma mater which may be
   played first.]

   Participation by opposing teams in the Third Verse ceremony is not required nor is this policy intended
   to be prescriptive. How each fellow Conference member chooses to approach the Third Verse shall be
   determined via guidance from the institution’s administration (e.g., president, director of athletics).
   Those teams or individuals who choose not to participate are asked to exit the competition venue
   immediately or, at a minimum, provide two minutes of quiet for the completion of the song. If fellow
   Conference member institutions have similar traditions for which they would like to experience
   reciprocation, they are encouraged to communicate this with Air Force and other league opponents.

   Finally, during the Mountain West Men’s & Women’s Basketball Championships no alma maters
   (including the Third Verse) will be permitted.
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   Background and Context for The Third Verse: A Toast to the Host

   In order to facilitate education and understanding, the following background information is provided
   regarding the Third Verse.

   Singing the Third Verse of the Air Force Song is a time-honored tradition at many Air Force home
   sporting events. The Third Verse is part of the original Air Force Song and is sung as a separate piece.
   The verse honors those who have fallen in service to our great nation. It’s not a song to honor the game
   that Air Force just played, but to honor those who have given the ultimate sacrifice to protect freedoms
   everyone in our great nation enjoys.

   Verse Three
   Here’s a toast to the host
   Of those who love the vastness of the sky.
   To a friend we send a message of his brother men who fly.
   We drink to those who gave their all of old,
   Then down we roar to score the rainbow’s pot of gold.
   A toast to the host of men we boast, the U.S. Air Force!

   History of the Air Force Song

   In 1938, Liberty magazine sponsored a contest for a spirited, enduring musical composition to become
   the official Army Air Corps song. Robert Crawford’s song was selected from 757 scores submitted. The
   song was officially introduced at the Cleveland Air Races on September 2, 1939.
   Fittingly, Crawford sang it in its first public performance. The first page of the score, which Crawford
   submitted to the selection committee in July 1939, was carried to the surface of the moon on July 30,
   1971, aboard the Apollo 15 “Falcon” lunar module by Colonel David R. Scott and Lieutenant Colonel
   James B. Irwin.

   Interestingly, at the moment the “Falcon” blasted off the surface of the moon with Scott and Irwin on
   board, a rendition of the “Air Force Song” was broadcast to the world by Major Alfred M. Worden, who
   had a tape recorder aboard the “Endeavor” command module which was in orbit around the moon.
   Scott, Irwin and Worden comprised the first and only “All-Air Force” Apollo crew and arranged to take
   the page of sheet music with them as a tribute to Crawford and the United States Air Force.

   This video link provides additional context: Air Force Third Verse
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                                                  APPENDIX I

                                      Conference Office Holiday Schedule


   The Conference office will be closed on the following holidays:


           New Year’s Day

           Martin Luther King Jr.’s Birthday

           Memorial Day

           Independence Day

           Labor Day

           Thanksgiving Day

           Thanksgiving Friday

           Christmas Eve

           Christmas Day

           Day After Christmas

                   1. If a holiday falls on a Saturday, the office will be closed the preceding Friday.

                   2. If a holiday falls on a Sunday, the office will be closed the following Monday.

                   3. The office will be closed on the workday immediately preceding and the workday
                      immediately following Christmas; this action results in the following Christmas
                      holiday schedule:

                       a. 2024 – December 24, 25, 26

                       b. 2025 – December 24, 25, 26
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                                                       Appendix J

                                   Mountain West Transgender Participation Policy

The focus of the Conference policy will be on-site competition considerations.

Conference game management procedures and the existing provisions of MW Rule 4 – Sportsmanship will also be
applicable if necessary.

The decision as to whether a transgender athlete(s) will be permitted to participate in intercollegiate athletics for a
particular MW member shall be a matter of that individual institution’s discretion in the context of its interaction
with the individual, the application of state law, etc. A MW member may not, however, preclude student-athletes
from other MW member institutions from participation in accordance with the policy outlined herein.

The institution shall be responsible for identifying transgender student-athletes in its program. Just as is the case for
all other areas of eligibility, the institution shall be responsible for certifying the student-athlete’s eligibility for
competition per the applicable NCAA transgender participation standards and procedures and competing with only
those individuals who are eligible. Failure to do so could result in consequences related to NCAA championships
participation.

In the interest of inclusion, a transgender student-athlete may be a member of a team and participate in practice
activities without certification of eligibility. To compete, however, the student-athlete must complete the NCAA
process and meet the applicable eligibility threshold.

For intraconference competition, a transgender athlete who has been deemed eligible by the NCAA and has been
included on a MW member institution’s team shall be permitted to participate in all Conference competitions.

If a MW member institution’s team refuses to compete in an intraconference contest against a fellow MW member
institution’s team which includes an eligible transgender student-athlete(s), the team refusing to participate shall be
deemed to have forfeited the contest. The forfeiting team will be charged with a loss and the opposing team
credited with a win – for the purposes of Conference records, standings, tie-breaking formulas and MW
championships participation.

The status of any such contest with regard to NCAA records, statistics and postseason eligibility shall be determined
by the NCAA standards in effect.

The application of the policy is straightforward for team sports competition. For individual sports which involve both
individual results and a team score component, an institution (or its individual student-athletes) may choose to
withdraw from a particular event(s) without triggering the team forfeit provision. Should the entire team choose
not to compete, it would forfeit its position in the event/final standings.

For interconference competition, the applicable NCAA playing rules for the sport shall apply should a non-
conference opponent refuse to compete.

Any questions regarding the status or eligibility of a transgender student-athlete shall be directed to the certifying
institution, not the Conference nor the NCAA. Given the privacy considerations involved, the certifying institution is
not obligated to proactively notify the Conference nor other institutions (Conference or non-conference) regarding
the status of a transgender student-athlete. An opposing institution wishing to confirm the status of a student-
athlete may inquire and it shall be the discretion of the certifying institution whether or not to provide pertinent
information. The certifying institution may simply respond that it has ensured all of its student-athletes are eligible
prior to competition. The NCAA will not entertain inquiries or challenges regarding the eligibility of transgender
student-athletes.
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                                                 Appendix K

                               Board of Directors Conflict of Interest Policy

             Board Members must carefully balance their fiduciary responsibilities to their respective
    institutions and the Mountain West. While the fiduciary obligations of Board Members to their own
    institutions and Mountain West are ordinarily not in conflict, integrity is critical to the decision-
    making process and includes transparency, trust, confidentiality and honesty in all issues and
    aspects of service and representation. Board Members must disclose any conflict or potential
    conflict of interest between their respective personal, professional, institutional, Conference or
    business interests that may affect or otherwise threaten such integrity.

            A Board Member is responsible for advising the Chair of any actual or potential conflicts of
    interest or obligations which he/she may have hereunder, and should recuse him/herself from
    participating in proceedings, as may be warranted by this policy. A Board Member shall not
    participate in any discussion or vote on any action that might bring direct or indirect personal
    financial benefit to the member or any organization (other than the member’s institution) in which
    the member is financially interested. A Board Member should also not participate in a discussion
    or vote for which the member’s institution is to be accorded a special benefit beyond benefits
    shared with other institutions or is to receive a penalty or disqualification. A violation of either of
    the above rules by a Board Member shall not invalidate the action taken by the Mountain West, if,
    following disclosure of the conflict of interest, the Board authorizes, ratifies or approves the action
    by a vote sufficient for the purpose, without counting the vote of the member with the conflict of
    interest.

                                       Board Member Confidentiality

            Board Members have a duty to the Mountain West not to use Confidential Information
    obtained solely due to service on the Mountain West Board to the disadvantage of Mountain
    West. Confidential Information includes, but is not limited to business plans, customer lists,
    marketing programs, price lists, salary and human resource information, technology
    development information, drawings, reports, inventions, and other material that contain,
    embody or disclose trade secrets, confidential business technical information and proprietary
    business information of the Mountain West, its affiliated organizations, athletes, students,
    customers, or third parties to whom Mountain West owes obligations of confidentiality
    (collectively, the “Business Confidential Information”), provided, however, that Business
    Confidential Information does not include information that: (A) is or becomes known to the
    public, other than as a result of disclosure in violation of this Policy or of any other person’s
    breach of a legal or contractual obligation to Mountain West or its affiliates; (B) was
    demonstrably known to a Board Member prior to his or her service on the Board and not as a
    result of anyone else’s breach of a legal or contractual obligation or; (C) arises from a Board
    Member’s general training, knowledge, skill or experience; (D) pertains to reports of illegal
    conduct to any government agency; (E) pertains to discriminatory or unfair employment
    practices or (F) which a Board Member otherwise has a right to disclose as legally protected
    conduct.

            Board Members must not (i) disclose or furnish to any person any Business Confidential
    Information; (ii) use any Business Confidential Information for their own benefit or the benefit of
    others. Board Members may disclose Confidential Information to their own institutions if: (1)
    they inform the Board that they intend to do so in advance and (2) they disclose the Confidential
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    Information only to individuals within their own institutions who have a need to know; and (3)
    they secure an agreement that the individual will maintain the confidentiality in advance of
    disclosure. Confidential Information must never be disclosed to the media or public without a
    vote of the Board.


                                      Annual Disclosure Statement

    Each director shall annually sign a statement, which affirms that person:
       • Has received a copy of the conflicts of interest and confidentiality policies,
       • Has read and understands the policy,
       • Has agreed to comply with the policy, and
       • Has disclosed any potential conflicts of interest.
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                                                    BYLAWS

                                                       OF

                                        MOUNTAIN WEST CONFERENCE

                                       A Colorado Nonprofit Corporation


                                                   ARTICLE I
                                                   MEMBERS


   1.01 Members: Qualifications.

         (a) Initial Members. Mountain West Conference (the “Conference”) shall have eight regular
             members, hereinafter referred to as the “Member Institutions,” which shall be those academic
             institutions identified in Article V of the Conference’s articles of incorporation (as amended
             from time to time, the “Articles of Incorporation”).

         (b) Qualifications. Each Member Institution shall be an institution of higher education which
             includes within its educational programs intercollegiate athletics under the same or
             substantially similar administrative and academic controls as exist in its other educational
             programs.

         (c) Compliance with Rules. All Member Institutions and all future members of the Conference
             agree to abide by and fully comply with the rules and regulations of the National Collegiate
             Athletic Association (“NCAA”) and the Mountain West Conference Handbook (as described in
             Section 2.15 and hereinafter called the “Handbook”).

   1.02 Admission of New Members. Upon the affirmative vote of three-fourths (3/4) or more of the
   members of the Conference’s board of directors (the “Board of Directors”), an institution of higher
   education which meets the qualifications set forth in the Articles of Incorporation and these bylaws may
   be admitted as a new Member.

         (a) Entrance Fee. Upon the affirmative vote of three-fourths (3/4) or more of the members of the
             Board of Directors, an entrance fee (as determined by the Board of Directors) may be assessed
             to a new member. (Adopted June 2011)

   1.03 Voting Rights of Members. Each Member Institution shall be entitled to appoint one (1) director to
   the Board of Directors in accordance with Section 2.03. Member Institutions shall be entitled to vote with
   respect to the dissolution of the Corporation pursuant to C.R.S. § 7-134-102. The affirmative vote of three-
   fourths (3/4) of the Member Institutions shall be required to dissolve the Conference. Member
   Institutions shall have no other voting rights.
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   1.04 Resignation.

         (a) Any Member Institution may resign from membership in the Conference (such resigning
             Member Institution, the “Resigning Member”) June 30th of each year (the “Effective Date”) by
             delivering (i) written notice (the “Exit Notice”) to the Conference and the other Member
             Institutions on or before June 1st of the preceding year (the “Resignation Deadline”) and (ii) a
             non-refundable $5,000 payment by wire transfer of immediately available funds to an account
             specified by the Conference (the “Exit Deposit” and, together with the Exit Notice, the “Notice
             of Resignation”) that will be applied to the Exit Fee (as defined below). Both the Exit Notice and
             the Exit Deposit must be received for the Notice of Resignation to become effective. The period
             from the date the Resigning Member delivers the Notice of Resignation (such date, the
             “Resignation Date”) through the Effective Date is referred to herein as the “Interim Period.” The
             resignation of a Member Institution does not relieve the such Resigning Member Institution
             from any obligations such Resigning Member Institution may have to the Conference as a result
             of obligations incurred or commitments made prior to the Effective Date. (Revised June 2011,
             April 2021, December 2023)

         (b) Effective April 30, 2021 and thereafter any notice of resignation given by any Member shall be
             subject to the Notice Date referenced in subparagraph (a) above and the following: the
             resigning Member shall pay to the Conference as an Exit Fee an amount equal to three times
             the average per Member Conference distribution payment for the preceding year. (the “Timely
             Notice Exit Fee”) If the resigning member gives notice after the established “Notice Date”, the
             resigning Member shall pay to the Conference as an Exit Fee an amount equal to double the
             Timely Notice Exit Fee. After receiving Notice of Resignation from a Member, all payments due
             that Member from the Conference shall be withheld and applied to that Member’s Exit Fee.
             The balance of the Member’s Exit Fee as provided above, shall be paid by the Member to the
             Conference on or before the Effective Date. (Revised June 2011, January 2013, July 2016, April
             2021)

         (c) A resigning Member shall play all athletic competitions included in the Conference schedules
             until the Effective Date of the resignation.

         (d) On the Notice Date a director appointed by a resigning Member shall be deemed to have
             resigned as a director effective on the Notice Date.

         (e) During the Interim Period,

               (i) the Board of Directors shall be deemed to be reduced by the number of resigning
                   Members and shall be fully empowered to act, as then constituted, to manage the
                   business and affairs of the Conference; and

               (ii) a resigning Member shall be neither obligated nor entitled to appoint a representative to
                    the Board of Directors.

   1.05 Expulsion, Suspension, and Probation. By the affirmative vote of at least three-fourths (3/4) of the
   members of the Board of Directors, taken not less than fifteen (15) days after written notice to the
   Member Institution of the proposed action and the reasons for it and not less than five (5) days after the
   Member Institution has had an opportunity to be heard by the Board of Directors, the Conference may
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   expel or suspend a Member Institution, or place such Member Institution on probation, for any violation
   of any of the provisions of the Code. Expulsion means a permanent and complete severance from the
   Conference in all sports. Suspension means a temporary severance from the Conference in one (1) or
   more sports. Probation means that a Member Institution has been informed by the Conference that it
   has violated one or more provisions of the Handbook and that continuation or recurrence of such
   violation(s) will be grounds for suspension or expulsion. During any period of suspension or probation,
   the Member Institution shall continue to be represented on the Board of Directors.

   1.06 Reinstatement of Members. By the affirmative vote of at least three-fourths (3/4) of the members
   of the Board of Directors, any Member Institution who has resigned or has been expelled or suspended
   may be restored to full membership.

   1.07 Assessments and Distribution.

         (a) Assessments. Each Member Institution will pay an equal share of any assessment approved by
             a majority of the members of the Board of Directors, to fund the operations of the Conference.

         (b) Distributions. Each Member Institution will share equally in all of the Conference’s net
             revenues, except for revenues which the Board of Directors determines (by the affirmative vote
             of three-fourths (3/4) of the members of the Board of Directors) will be distributed on a
             performance basis and/or other criteria established by the Board of Directors. A copy of the
             Conference revenue distribution parameters shall be kept on file in the Conference office.
             (Revised January2013)

   1.08 No Annual Meeting. No annual meeting of the Member Institutions shall be required.

   1.09 Affiliate Members. The Board of Directors may, by resolution, establish one or more classes of
   affiliate members for such purposes, with such designations, manner of election or appointment,
   qualifications, tenure and terms of membership as the Board of Directors may determine. Except as may
   otherwise be permitted by the Mountain West Conference Handbook, the affiliate members shall have
   no voting rights.

   1.10 Member Institutions. Member Institutions that are governmental agencies of their respective states
   or the United States do not, and shall not be deemed to, expressly or impliedly, waive the sovereign
   immunity (including, but not limited to, immunity under the Eleventh Amendment to the Constitution of
   the United States) of their respective states or the United States, and shall not be deemed to consent to
   suit or to consent to the jurisdiction of the state of Colorado or any other state in which the Conference
   is located or to the jurisdiction of their courts. All Member Institutions that are state or federal
   governmental agencies expressly disclaim any authority or intent to waive the sovereign immunity of their
   respective governments.
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                                                 ARTICLE II
                                             BOARD OF DIRECTORS

   2.01 General Powers. All corporate powers shall be exercised by or under the authority of, and the
   business and affairs of the Conference shall be managed under the direction of, the Board of Directors.

   2.02 Number. Subject to subparagraph 1.04(e)(I), the number of members of the Board of Directors shall
   equal the number of Member Institutions in the Conference.

   2.03 Manner of Appointment: Authority. Subject to subparagraph 1.04(e)(ii), each Member Institution
   shall be entitled to appoint one (1) representative to the Board of Directors. The representative appointed
   must be the Chief Executive Officer (President, Superintendent, Chancellor or similar position) of the
   Member Institution.

   2.04 Term. Each Director shall hold office until the earlier of:

         (a) the effective of his or her actual resignation as a director or his or her deemed resignation by
             virtue of paragraph 1.04(d);

         (b) the effective date of his or her removal by the Member Institution which appointed him or
             her;

         (c) the date he or she ceases to be the CEO of the Member Institution that appointed him or her;

         (d) the Notice Date of the withdrawal of the Member Institution which appointed him or her from
             membership in the Conference; or

         (e) the effective date of expulsion of the Member Institution which appointed him or her from
             membership in the Conference.

   2.05 Compensation. Directors shall not receive compensation from the Conference for their services as
   members of the Board of Directors, but they shall be reimbursed for reasonable expenses incurred by
   them in attending meetings of the Board of Directors.

   2.06 Regular Meetings. A regular annual meeting of the Board of Directors shall be held in May or June
   of each year at the time and place determined by the Board of Directors, for the purpose of electing
   officers and for the transaction of such other business as may come before the meeting. The Board of
   Directors may provide by resolution for the holding of additional regular meetings.

   2.07 Special Meetings. Special meetings of the Board of Directors may be called by or at the request of
   the Chairperson of the Board or fifty percent (50%) or more of the members of the Board of Directors
   then in office. The person or persons authorized to call special meetings of the Board of Directors may
   determine the place as the place, within or outside Colorado, for holding any special meeting of the board
   called by them.

   2.08 Notice. Notice of each meeting of the Board of Directors stating the place, date and time of the
   meeting shall be delivered in accordance with Section 7.03, to all directors at least seven (7) days before
   the date of the meeting. The method of notice need not be the same for each director. The business to
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   be transacted at and the purpose of any special meeting of the Board of Directors must be specified in the
   notice or waiver of notice of such meeting.

   2.09 Waiver of Notice. A director may waive any notice of a meeting required by these bylaws before, at
   or after the date or time of the meeting stated in the notice. Except as provided in the next sentence, any
   such waiver must be in writing, signed by the director entitled thereto and delivered to the Conference
   for filing with the corporate records, but such delivery and filing shall not be conditions to its effectiveness.
   A director’s attendance at or participation in a meeting waives any required notice to such director of the
   meeting unless, at the beginning of the meeting or promptly upon the director’s later arrival, the director
   objects to holding the meeting or transacting business at the meeting because of lack of notice or
   defective notice and does not thereafter vote for or assent to action taken at the meeting.

   2.10 Quorum and Voting. Three-fourths (3/4) of members of the Board of Directors shall constitute a
   quorum for the transaction of business at any meeting of the Board of Directors, and the vote of a majority
   of the directors present in person at a meeting at which a quorum is present shall be the act of the Board
   of Directors, except where the vote of a specified percentage of the members of the Board of Directors is
   required for approval. The Chairperson shall be counted for purposes of determining a quorum and shall
   be entitled to vote. If less than a quorum is present at a meeting, a majority of the directors present may
   adjourn the meeting from time to time and shall give absent directors notice of each such adjournment.
   Except as otherwise requested by a director, the vote of individual directors on any matter shall not be
   recorded in the minutes of the meeting. The individual votes of directors shall not be divulged in press
   announcements. For purposes of determining a quorum with respect to a particular proposal, and for
   purposes of casting a vote for or against a particular proposal, a director may be deemed to be present at
   a meeting and to vote if the director has granted a signed written proxy to another director who is present
   at the meeting, authorizing the other director to cast the vote that is directed to be cast by the written
   proxy with respect to the particular proposal that is described with reasonable specificity in the proxy.
   Except as provided in this Section 2.10 and as permitted by C.R.S. section 7-128-202, no director may vote
   or otherwise act by proxy.

   2.11 Presumption of Assent. A director who is present at a meeting of the Board of Directors at which
   action on any corporate matter is taken is deemed to have assented to all action taken at the meeting
   unless the director (a) objects at the beginning of the meeting, or promptly upon the director’s arrival, to
   holding the meeting or transacting business at the meeting and does not thereafter vote for or assent to
   any action taken at the meeting; (b) contemporaneously requests that his or her dissent or abstention as
   to any specific action taken be entered in the minutes of the meeting; or (c) causes written notice of such
   dissent or abstention as to any specific action to be received by the presiding officer of the meeting before
   adjournment of the meeting or by the corporation within 24 hours after adjournment of the meeting. The
   right of dissent or abstention pursuant to this section as to specific action is not available to a director
   who votes in favor of the action taken.

   2.12 Delegation of Authority. To the extent permitted by law, the Board of Directors may delegate any
   of its duties to such committees or other advisory councils, auxiliaries or other bodies appointed by it for
   any designated purpose and any such committee shall have and may exercise all of the powers and
   authority granted to them by the Board of Directors. The members, terms and authority of such bodies
   shall be established by resolution of the Board of Directors; except that, if any such committee or other
   body has one or more members thereof who are entitled to vote on committee matters and who are not
   then also directors, such committee or other body may not exercise any power or authority reserved to
   the Board of Directors under the Colorado Revised Nonprofit Corporation Act as it now exists or may
   hereafter be amended (the “Act”), in the Articles of Incorporation or in these bylaws.
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   2.13 Action Without a Meeting. Any action which is required to be or may be taken at a meeting of the
   Board of Directors or any committee thereof may be taken without a meeting if Consents in writing,
   setting forth the action so taken are signed by all of the directors or committee members entitled to vote
   with respect to the subject matter thereof. Such consents (which may be signed in counterparts) shall
   have the same force and effects as a unanimous vote of the directors or committee members.

   2.14 Other Authorized Action. To the extent permitted by law, members of the Board or of any committee
   created by the Board of Directors may participate in a meeting by, or conduct the meeting through the
   use of, any means of communication by which all directors participating may hear each other during the
   meeting. A director participating in a meeting by this means is deemed to be present in person at the
   meeting.

   2.15 Adoption, Approval of Mountain West Conference Handbook. The Board of Directors shall
   promulgate, adopt and approve a Handbook of rules, policies and procedures to govern and control the
   day-to-day operations of the Conference. The Handbook may be amended only by the affirmative vote
   of three-fourths (3/4) of the members of the Board of Directors. Any provision of the Handbook which is
   contrary to these bylaws shall be treated as being superseded by these bylaws.

   2.16 Actions Requiring Board Approval. The approval of a majority of a quorum of the Board of Directors,
   or such higher vote as may be specified by other provisions of these bylaws, shall be required to:

         (a) Employ the Commissioner and other Conference officers, prescribe their duties and fix the
             compensation, terms and conditions of their employment.

         (b) Approve the terms of major contracts and agreements for the purchase, sale or lease of real
             property, and television or radio broadcast and bowl contracts.

         (c) Initiate, determine, or repeal any rules, regulations or policies of or pertaining to the
             Conference.

         (d) Review, approve, revise or disapprove any action taken by any committee, advisory council,
             auxiliary or other bodies established by it.

         (e) Approve the budget of the Conference and established annual dues for each fiscal year.

         (f) Determine to initiate, defend and settle litigation involving the Conference or submit any such
             matters to arbitration or mediation.

         (g) Approve the admission of a Member.

         (h) Expel, suspend or place on probation a Member Institution as provided in Section 1.05.

         (i) Authorize the Conference to incur indebtedness for borrowing money.
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                                                   ARTICLE III
                                                   OFFICERS

   3.01 Officers. The elected officers of the Conference shall consist of a Chairperson of the Board (the
   “Chairperson”) and President, a Vice-Chairperson, a Secretary, and a Treasurer. The Board may also elect
   or the President may appoint, one or more Vice Presidents, one or more Assistant Secretaries, one of
   more Assistant Treasurers, and one or more subordinate officers. Any two or more offices may be held
   by the same person.

   3.02 Authority and Duties. All officers of the Conference shall have the authority and shall exercise the
   powers and perform the duties specified below and as may be additionally specified by the Board of
   Directors or these bylaws, except that in any event each officer shall exercise such powers and perform
   such duties as may be required by law or as are established by resolution of the Board of Directors.

         (a) Chairperson of the Board and President. The Chairperson and President shall be a member of
             the Board of Directors and shall be the chief executive officer of the Conference. Each
             Chairperson shall serve for a term of one year but may be elected to additional one-year terms
             provided at least one year elapses between terms. The initial Chairperson and President shall
             be elected by the affirmative vote of a majority of the Board of Directors. Thereafter, the Vice-
             Chairperson shall succeed to the Chairpersonship and Presidency. The Chairperson shall preside
             at meetings of the Board of Directors, and, as President, shall perform such other duties as may
             be prescribed by the Board of Directors from time to time.

         (b) Vice Chairperson of the Board. The Vice-Chairperson shall be elected annually from the
             members of the Board of Directors. In the absence of the Chairperson at a meeting, the Vice-
             Chairperson or other member of the Board of Directors designated by the Chairperson shall
             preside at such meeting. The vice Chairperson shall be chairperson-elect for the next fiscal
             year.

         (c) Secretary. The Secretary shall keep the minutes of the Board of Directors; see that all notices
             are duly given in accordance with the provisions of these bylaws or as required by law; be
             custodian of the corporate records and of the seal of the Conference; and in general shall
             perform all duties customarily incident to the office of Secretary and such other duties as from
             time to time may be assigned to him or her by the Board of Directors.

         (d) Treasurer. The Treasurer shall serve as the chief financial officer of the Conference and shall
             have supervision of the funds, securities, receipts and disbursements of the Conference; cause
             all moneys and other valuable effects of the Conference to be deposited in its name and to its
             credit in such depositories as shall be selected by the Board of Directors or pursuant to authority
             conferred by the Board of Directors; cause to be kept correct books of count, proper vouchers
             and other papers pertaining to the Conference’s business at the accounting office of the
             Conference; render to the Board of Directors annually an audited account of the financial
             condition of the Conference; and perform any other duties as from time to time may be
             assigned by the Board of Directors.

         (e) Assistant Secretary and Assistant Treasurer. The Assistant Secretary and Assistant Treasurer (or
             in the event there be more than one Assistant Secretary or Assistant Treasurer, in the order of
             their seniority, designation or election) shall, in the absence or disability of the Secretary or
             Treasurer, respectively, perform the duties and exercise the powers of the Secretary or
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             Treasurer and shall perform such other duties as the Board of Directors or the President shall
             prescribe.

   3.03 Election and Term of Office. The elected officers of the Conference shall be elected by the Board of
   Directors at a regular annual meeting. If the election of officers is not held at such meeting, such election
   shall be held as soon as convenient thereafter. Each officer shall hold office until the officer’s successor
   shall have been duly elected and shall have qualified, or until the officer’s earlier death, resignation or
   removal.

   3.04 Compensation. The salaries or other compensation of the officers shall be fixed from time to time
   by the Board of Directors. The power to establish salaries of officers, other than the President, may be
   delegated by the Board of Directors to the President, or a committee of the Board of Directors.


                                                  ARTICLE IV
                                                COMMISSIONER

   4.01 Commissioner. The administrative head of the Conference shall be its Commissioner, who shall
   report to the Board of Directors. Subject to the direction and under the supervision of the Board of
   Directors, and in a manner consistent with these bylaws as they may be amended from time to time, the
   Commissioner shall:

         (a) Serve as the Commissioner and chief operating officer of the Conference and have general
             charge
             of the business, affairs and property of the Conference and control over its agents and
             employees.

         (b) Be responsible for general supervision of the operations of The Conference and employ such
             support personnel as are necessary, consistent with the bylaws and the Handbook.

         (c) Serve as the principal enforcement officer of the Handbook, with responsibility for and
             authority to provide rulings and interpretations of the Handbook and to conduct such
             investigations of Member Institutions as may be necessary.

         (d) Exercise such power and authority as may be reasonably necessary to discharge the duties and
             responsibilities of the Commissioner’s office in the resolution of a controversy or violation of
             immediate urgency.

         (e) Serve as the principal enforcement officer of the Conference.

         (f ) Have charge of the Conference offices and authority to employee office personnel and procure
              equipment as may be necessary and proper for efficient operation.

         (g) Be empowered to enter into contracts and legal documents affecting routine and day-to-day
             operations and duties of the Conference and the Conference office. Significant contracts and
             legal documents that constitute major matters (i.e., television contracts, bowl contracts) shall
             require approval of a majority of the Directors then in office and the signatures of the President
             and the Commissioner.
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         (h) At all times devote best efforts to advance the affairs of the Conference in a manner consistent
             with the aims, purposes and principles of the Conference, and perform such other duties and
             exercise such other powers as from time to time may be assigned to him or her by these bylaws
             or by the Board of Directors.

   4.02 Employment Contract: Term. Employment of the Commissioner shall be by employment contract.
   The affirmative vote of not less than three-fourths (3/4) of the members of the Board of Directors shall
   be required to approve such contract or any modification or renewal thereof. The Board of Directors, in
   its discretion, by the affirmative vote of a majority of all directors then in office may determine not to
   approve any annual automatic extension provided for in the Commissioner’s employment contract.


   4.03 Termination. The Board of Directors may terminate the employment of the Commissioner at any
   time, with or without cause, by the affirmative vote of not less than three-fourths (3/4) of the members
   of the Board of Directors, but the Conference shall honor its financial obligations, if any, set forth in the
   Commissioner’s employment contract.

                                                   ARTICLE V
                                               INDEMNIFICATION

   5.01 Indemnification. Pursuant to the Articles of Incorporation, the Conference has undertaken an
   obligation to indemnify members, directors and officers of the Conference to the maximum extent
   permitted by law. Such indemnification obligation shall be subject to the following understandings:

         (a) Advance of Expenses. In the event of any proceeding in which a party is involved or which may
             give rise to a right of indemnification under the Articles of Incorporation, following written
             request to the Conference by the party, the Conference shall pay to the party, to the fullest
             extent permitted by law (including without limitation in circumstances in which, in the absence
             of this Section (a), advance of expenses would be discretionary under the laws of Colorado or
             limited or subject to particular standards of conduct under such laws), amounts to cover
             expenses incurred by the party in, relating to or as a result of such proceeding in advance of its
             final disposition.

         (b) Settlements. The Conference shall not be liable under this Article for any amounts paid in
             settlement of any proceeding effected without its written consent.

         (c) Burden of Proof. If under applicable law the entitlement of a party to be indemnified or
             advanced expenses pursuant to this Article depends upon whether a standard of conduct has
             been met, the burden of proof of establishing that the party did not meet such standard shall
             rest with the Conference. A party shall be presumed to have acted in accordance with such
             standard and to be entitled to indemnification or advance of expenses (as the case may be)
             unless, based upon a preponderance of the evidence, it shall be determined that the party has
             not met such standard. Such determination and any evaluation as to the reasonableness of
             amounts claimed by a party shall be made by the Board of Directors or such other body or
             persons as may be permitted by law.

         (d) Notification and Defense of Claim. Promptly after receipt by a party of notice of the
             commencement of any proceeding, the party shall, if a claim for indemnification in respect
             thereof may or will be made against the Conference under this Article, notify the Conference in
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           writing of the commencement thereof; provided, however, that delay in so notifying the
           Conference shall not constitute a waiver or release by the party of any rights under this Article.
           With respect to any such proceeding: (a) the Conference shall be entitled to participate therein
           at its own expense; (b) any counsel representing the party to be indemnified in connection with
           the defense or settlement thereof shall be counsel mutually agreeable to the party and to the
           Conference; and (c) if the Conference admits that such party would be entitled to
           indemnification under this Article in connection with such proceeding, the Conference shall
           have the right, at its option, to assume and control the defense or settlement thereof, with
           counsel satisfactory to the party. If the Conference assumes the defense of the proceeding, the
           party shall have the right to employ its own counsel, but the fees and expenses of such counsel
           incurred after notice from the Conference of its assumption of the defense of such proceeding
           shall be at the expense of the party unless (I) the employment of such counsel has been
           specifically authorized by the Conference, (ii) the party shall have reasonably concluded that
           there may be a conflict of interest between the Conference and the party in the conduct of the
           defense of such proceeding, or (iii) the Conference shall not in fact have employed counsel to
           assume the defense of such proceeding. Notwithstanding the foregoing, if an insurance carrier
           has supplied directors and officers liability insurance covering a proceeding and is entitled to
           retain counsel for the defense of such proceeding, then the insurance carrier shall retain counsel
           to conduct the defense of such proceeding to the extent the terms of the insurance policy so
           provide.

       (e) Payment Procedures: Enforcement. The Conference shall promptly act upon a party’s written
           request for indemnification or advance of expenses. The right to indemnification and advance
           of expenses granted by this Article shall be enforceable in any court of competent jurisdiction
           if the Conference denies the claim, in whole or in part, or if no disposition of such claim is made
           within sixty days after the written request for indemnification or advance of expenses is made.
           If successful in whole or in part in such suit, the party’s expenses incurred in bringing and
           prosecuting such claim shall also be paid by the Conference.

       (f) Other Payments. The Conference shall not be liable under this Article to make any payment in
           connection with any proceeding against or involving a party to the extent the party has
           otherwise actually received payment (under any insurance policy, agreement or otherwise) of
           the amounts otherwise indemnifiable hereunder. A party shall repay to the Conference the
           amount of any payment the Conference makes to the party under this Article in connection with
           any proceeding against or involving the party, to the extent the party has otherwise actually
           received payment (under any insurance policy, agreement or otherwise) of such amount. In the
           event of any payment under this Article, the Conference shall be subrogated to the extent of
           such payment to all of the rights of recovery of the indemnified party, who shall execute all
           papers and do everything that may be necessary to assure such rights of subrogation to the
           Conference.

       (g) Other Rights and Remedies. The right to indemnification and advance of expenses provided by
           this Article shall be in addition to, and shall not be in limitation of, any other rights a party may
           have or hereafter acquire under any law, provision of the Articles of Incorporation, any other or
           further provision of these bylaws, vote of the directors, agreement or otherwise.

       (h) Applicability: Effect. The rights to indemnification and advance of expenses provided by the
           Articles of Incorporation shall be applicable to acts or omissions undertaken on the
           Conference’s behalf or with a view to furthering the Conference’s interests that occurred prior
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           to the formation of the Conference, shall continue as to any party entitled to indemnification
           under this Article during the period such party occupies or serves in any one or more the
           capacities covered by this Article, shall continue thereafter so long as the party may be subject
           to any possible proceeding by reason of the fact that the party occupied or served in any one or
           more of the capacities covered by this Article, and shall inure to the benefit of the successors,
           assigns, estates and personal representatives of such parties. Any repeal or modification of this
           Article or of any Section or provision hereof shall not adversely affect any rights or obligations
           then existing. All rights to indemnification under the Articles of Incorporation shall be deemed
           to be provided by a contract between the Conference and each party covered thereby.

       (i) Severability. If any provision of this Article shall be held to be invalid, illegal or unenforceable
           for any reason whatsoever (a) the validity, legality and enforceability of the remaining
           provisions of this Article shall not in any way be affected or impaired thereby, and (b) to the
           fullest extent possible, the remaining provisions of this Article shall be construed so as to give
           effect to the intent of this Article that each party covered hereby is entitled to the fullest
           protection permitted by law. Notwithstanding any other provision of these bylaws, the
           Conference shall neither indemnify any person nor purchase any insurance in any manner or to
           any extent that would jeopardize or be inconsistent with the qualification of the Conference as
           an organization described in section 501(c)(3) of the Internal Revenue Handbook, or that would
           result in the imposition of any liability under section 4941 of the Internal Revenue Handbook.

       (j) Liability. Liability for indemnification shall be limited to the assets of the Conference and no
           Member, officer or director of the Conference shall have any liability whatsoever with respect
           to indemnification.
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                                                    ARTICLE VI
                                                   AMENDMENTS

           These bylaws may be altered, amended or repealed and new bylaws or amendments to the
   bylaws may be approved at any annual meeting or special meeting of the Board of Directors, called for
   that purpose, by the vote of three-fourth (3/4) of the members of the Board of Directors. The Board of
   Directors may also adopt emergency bylaws as provided by law.


                                                   ARTICLE VII
                                           MISCELLANEOUS PROVISIONS

   7.01 Books and Records. The Conference shall keep correct and complete books and records of its
   accounts and shall keep minutes of the proceedings of the Board of Directors and of any other duly
   appointed and authorized body or committee when exercising any of the powers of the Board of Directors.
   The books and records of the Conference may be in written form or in any other form which can be
   converted within a reasonable time into written form for visual inspection. Minutes shall be recorded in
   written form but may be maintained in the form of a reproduction.

   7.02 Fiscal Year. Except as from time to time otherwise provided by the Board of Directors, the fiscal year
   of the Conference shall extend from July 1 to June 30 of each year, both dates inclusive.

   7.03 Manner of Giving Notice: Effectiveness. Whenever notice is required by law, the Articles of
   Incorporation or these bylaws to be given to any Member or director, such notice shall be in writing
   (unless oral notice is reasonable under the circumstances) and may be given in person or by telephone,
   telegraph, teletype, electronically transmitted facsimile or other form or wire or wireless communication,
   first class, certified or registered mail, private courier or in any other manner permitted by law. If written,
   notice shall be effective as to each such Member or director, as the case may be made, as follows: (a) in
   the case of notice mailed by the Conference to the Members, upon deposit in the United States mail,
   addressed to the Member at the address as it appears in the Conference’s current record of Members
   and with first class postage prepaid; and (b) in all other cases, the earliest of (I) the date received, (ii) five
   days after deposit in the United States mail (properly addressed and with first class postage prepaid), and
   (iii) the date shown on the return receipt, if mailed by registered or certified mail, return receipt
   requested, and the receipt is signed by or on behalf of the addressee. Oral notice is effective when
   communicated.

   7.04 Reference to Statute. Except where a bylaw provision permissibly overrides the default language of
   the statute, in the event of a conflict between these bylaws and the Act, the Members hereby adopt and
   agree to abide by the provisions of the Colorado Revised Nonprofit Corporation Act, C.R.S. § 7-121-101,
   et seq., as it may be amended from time to time.

   7.05 Corporate Seal. The corporate seal of the Conference shall be circular in form and shall contain the
   name of the Conference and the words “Seal, Colorado.” The seal may be used by causing it or a facsimile
   thereof to be impressed, affixed, manually reproduced or rubber-stamped with indelible ink.

   7.06 Litigation. In any proceeding against the Conference commenced by a Member, the nonprevailing
   party shall pay the attorneys’ fees and costs of the prevailing party.
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   7.07 Limited Use of Names, Marks, and Logos. By becoming a member of the Conference, each Member
   Institution agrees that it grants the Conference a world-wide fully paid-up right and license to use and to
   authorize the use of the name, marks and logos associated with the athletic programs of the Member
   Institution, which conform to the configuration and color officially approved by the trademark licensing
   office of the Member Institution, for so long as the Member Institution is a member of the Conference,
   for the following and only the following purposes:

         (a) As a component of a Conference mark or logo approved in writing by the Member Institution.

         (b) For material advertising and promoting a Conference contest, tournament, play-off or
             championship and for display during the course of such tournament, play-off or championship.

         (c) As an integral part of any television or other media broadcast of a Conference contest,
             tournament, play-off or championship.

   The Conference shall not use or authorize the use of the name, marks, or logos of a Member Institution
   on any commercial product or merchandise, or for advertising or promoting any commercial product,
   merchandise, or service of any person, partnership, association, corporation, or other entity; except that
   the Conference shall not be prohibited from licensing the use of an approved Conference mark or logo
   that include the name, marks or logos of all of the Member Institutions.


                                                     [END]
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                                           CONSENT OF DIRECTORS

                                                      OF

                                       MOUNTAIN WEST CONFERENCE


           Pursuant to Section 7-128-202 of the Colorado Revised Nonprofit Corporation Act, the
   undersigned, being all of the directors of Mountain West Conference, a Colorado nonprofit corporation
   (the “Corporation”), hereby consent to, vote in favor of and adopt the following resolutions:

                                                      I.
                                              Adoption of Bylaws

           RESOLVED, that the Bylaws for the regulation of the affairs of the Corporation, as circulated to
   the board of directors on November 16, 1998 and containing such amendments as were adopted by the
   board of directors on December 3, 1998 in substantially the form attached hereto, are hereby approved
   and adopted as the Bylaws of the Corporation, and that a copy of such Bylaws be certified by the Secretary
   of the corporation and placed in the Corporation’s minute book.




                                                     II.
                                            Counterpart Execution

           FURTHER RESOLVED that this Consent of Directors may be executed in any number of
   counterparts, all of which together shall constitute one original, to be effective as of the date of first
   signature.
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                                              RESOLUTIONS OF
                                        THE BOARD OF DIRECTORS OF
                                    THE MOUNTAIN WEST CONFERENCE
          WHEREAS, the Board of Directors (the “Board”) of the Mountain West Conference (the
   “Corporation”) desires that Boise State University (“BSU”) be admitted as a voting member of the
   Corporation;
           WHEREAS, the Board now accepts the admission of BSU (Effective July 1, 2011).
           WHEREAS, Brigham Young University (BYU) (effective Jun 30, 2011), Texas Christian University
   (TCU) (effective June 30, 2012) and the University of Utah (Utah) (effective June 30, 2011) resigned from
   the Corporation in accordance with the Bylaws of the Corporation;
           NOW THEREFORE, the Board hereby accepts the resignations of BYU, TCU and Utah.
           WHEREAS, the Board of Directors (the “Board”) of the Mountain West Conference (the
   “Corporation”) desires that California State University, Fresno (“FSU”) be admitted as a voting member of
   the Corporation;
           WHEREAS, the Board now accepts the admission of FSU (effective July 1, 2012).
          WHEREAS, the Board of Directors (the “Board”) of the Mountain West Conference (the
   “Corporation”) desires that the University of Nevada (“Nevada”) be admitted as a voting member of the
   Corporation;
           WHEREAS, the Board now accepts the admission of Nevada (effective July 1, 2012).
          WHEREAS, the Board of Directors (the “Board”) of the Mountain West Conference (the
   “Corporation”) desires that San Jose State University (“SJSU”) be admitted as a voting member of the
   Corporation;
           WHEREAS, the Board now accepts the admission of SJSU (effective July 1, 2013).
          WHEREAS, the Board of Directors (the “Board”) of the Mountain West Conference (the
   “Corporation”) desires that Utah State University (“USU”) be admitted as a voting member of the
   Corporation;
           WHEREAS, the Board now accepts the admission of USU (effective July 1, 2013).
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        FURTHER RESOLVED, the voting members of the Corporation shall be as follows:
        1.     United States Air Force Academy
        2.     Boise State University
        3.     California State University, Fresno
        4.     Colorado College (women’s soccer only)
        5.     Colorado State University
        6.     University of Nevada, Reno
        7.     University of Hawaii (football only)
        8.     University of New Mexico
        9.     San Diego State University
        10.    San Jose José State University
        11.    University of Nevada, Las Vegas
        12.    Utah State University
        13.    University of Wyoming
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                                                 EXHIBIT A
                                           AMENDMENT TO THE
                                     ARTICLES OF INCORPORATION OF
                                   THE MOUNTAIN WEST CONFERENCE
          Article V(c) of the articles of incorporation of the Mountain West Conference, a Colorado
   nonprofit corporation, is hereby amended in its entirety to read as follows:
           (c)     The voting members of the Corporation shall be as determined by the Board of Directors
   of the Corporation from time to time. Any action by the Board of Directors to admit or remove a voting
   member of the Corporation must be approved by the vote of at least three fourths (3/4) of the members
   of the Board of Directors of the Corporation.
